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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

                                                          §
U.S. COMMODITY FUTURES TRADING                            §
COMMISSION, et al.                                        §
                                                          §
                        Plaintiffs,                       §
                                                          §     CIVIL ACTION NO.
                          v.                              §       3:20-CV-2910-L
                                                          §
TMTE, INC. a/le/a METALS.COM, CHASE                       §
METALS, INC., CHASE METALS, LLC,                          §
BARRICK CAPITAL, INC., LUCAS THOMAS                       §
ERB a/le/a LUCAS ASHER a/le/a LUKE ASHER,                 §
and SIMON BATASHVILI,                                     §
                                                          §
                       Defendants,                        §
                                                          §
TOWER EQUITY, LLC,                                        §
                                                          §
                       Relief Defendant.                  §
                                                          §


                         APPENDIX IN SUPPORT OF RECEIVER'S
                              SIXTH FEE APPLICATION

        Kelly M. Crawford, as the Court appointed Receiver, submits the following Appendix in

Support of the Receiver's Sixth Fee Application, as follows:

Exhibit A       Invoices of Receiver's time and expense         pages 3 to 16

Exhibit B      Invoices of Scheef & Stone                       pages 17 to 66

Exhibit C      Invoices of Brown Fox, PLLC                      pages 67 to 80

Exhibit D      Invoices of Frost Brown Todd                     pages 81 to 87

Exhibit E      Invoices of Ahuja & Clark, PLLC                  pages 8 8 to 92

Exhibit F      Invoices of CFSI                                 pages 93 to 96



APPENDIX IN SUPPORT OF RECEIVER'S SIXTH FEE APPLICATION                              PAGE   I


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 Exhibit G      Declaration of Receiver Kelly Crawford                      pages 97 to 99



 Dated: June 20, 2022


                                                Respectfully submitted,

                                                          SCHEEF & STONE, L.L.P.


                                                          By: Isl Peter Lewis
                                                              Peter Lewis
                                                              State Bar No. 12302100
                                                              Peter.Lewis@solidcounsel.com

                                                          500 North Akard, Suite 2700
                                                          Dallas, Texas 75201
                                                          Telephone: (214) 706-4200
                                                          Telecopier: (214) 706-4242

                                                          ATTORNEYS FOR RECEIVER
                                                          KELLY M. CRAWFORD




                                  CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on June 20, 2022, I electronically filed the

foregoing document with the clerk of the U.S. District Court, Eastern District of Texas, using the

electronic case filing system of the court, which provided a "Notice of Electronic Filing" to all

attorneys of record.


                                                          Isl Peter Lewis
                                                          PETER LEWIS




APPENDIX IN SUPPORT OF RECEIVER'S SIXTH FEE APPLICATION                                      PAGE2



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                                                                                         SCHEEF & STONE, LLP

Invoice: 109212                                                                                         May 5, 2022

PROFESSIONAL SERVICES


     Date   Atty    Description                                                                                Hours
  7/26/21   l<MC    Work on Claims Report and Appendix (1.00); telephone conference with CFTC                   3.50
                    regarding Defendants' counsel 's Insufficient disclosure of the source of their
                    retainer (.50); revise letter to investors regarding Claims Report and conference
                    with paralegal regarding same (.25); review letters from Defendants' counsel
                    regarding the source of the retainer and compare to the transcript of hearing
                    and obligations ordered by Judge Toliver and prepare letters to each of
                    Defendants' counsel regarding their failure to comply with the order (1.25);
                    communicate with Jessica and with CFTC regarding call from investor who was
                    solicited by former broker of Defendants for investment in new gold company
                    (.50).

  7/27/21   l<MC    Work on Claims Report, Appendix, and finalizing recommendations for claims                  4.25
                    (4.00); conference with G. Besen receiving three items of jewelry turned over by
                    Batashvili (,25).

  7/28/21   l<MC   Revise and finalize Claims Report (1.50); revise and finalize Appendix in Support            3.75
                   of Cla ims Report (1.00); conference with paralegal regarding metals claims (.50};
                   telephone conference with CFTC regardin13 receivership (.25); telephone
                   conference with P. Lewis regarding strategy for receivership (.25); prepare letter
                   to send to non-metals investors (.25).

  7/29/21   l<MC   Finalize claims forms and package to be distributed to claimants and oversee                 3.25
                   distribution (2.00); prepare First Supplement to Claim s Report to include in
                   package and conference with paralegal regarding same (1.00); respond to
                   attorneys for Defendants regarding disclosure of retainer Information being
                   insufficient and not in compliance with Judge Toliver's order (.25).

  7/30/21   l<MC   Review letter from Arnold Spencer regarding information provided by Lucas                   3,00
                   Asher in response to Receiver's questions and review court filing regarding same
                   and prepare draft of response (1.50); have Claims Report and First Amendment
                   to Claims Report and Appendix filed with the Court and send email to CFTC
                   regarding same (.SO); telephone conference with CFTC regarding claims (.25);
                   review response of MagicStar Arrow refusing to produce documents and
                   communicate with P. Lewis regarding strategy for same (.25); insure that all
                   claims are finalized and mailed and that the claims report, amendment to claims
                   report, and appendix are posted on the receivership website (.50).




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                                                                                           SCHEEF & STONE, LLP
                                                                                                              '
Invoice: 109212                                                                                            May 5, 2022


     Dc!te   Atty   Description                                                                                 Hours

  8/02/21    l<MC   Telephone conference with P. Lewis regarding letter to Arnold Spencer about                   4.00
                    discovery issues and other strategy decisions for recovering assets (.25); revise
                    and finalize letter to Arnold Spencer regarding discovery responses and send to
                    Arnold and others (1.00); conference with paralegal regarding handling calls after
                    investors receive their claims recommendation and how to handle objections to
                    recommendations and late filed claims (.SO}; prepare letter to general counsel of
                    lntrinio (.75); prepare draft of letter to brokers inviting settlement (.50); obtain
                    copy of Lucas Asher 2018 tax return and review (.25); conference with J. Rolls
                    regarding preparing first supplement to motion to sell properties to reflect new
                    contract on Wanamaker property (.25); communicate with broker about
                    accepting offer for another Philadelphia property (.25); communicate with
                    paralegal about getting utilities turned on a Philadelphia property under contract
                    (.25).

  8/03/21    l<MC   Conference with J. Brandl in regarding status of forensic accounting of bank                 3.00
                     records and send to J. Brandlin CD with bank records (.SO); telephone conference
                    with CFTC regarding records (.50); prepare letter to Quinn Emanuel responding
                    to its letter disclosing the sources of retainer funds (.50); prepare letter to Gene
                    Besen responding to his email disclosing the sources of retainer funds (,SO);
                    2ommunicate with A. Spencer regarding his need to amend notice to court and if
                    notice Is not being filed for me to file response to notice with the court (.25);
                    conference with paralegal regarding Montana investors included in restitution
                    judgment and communicate with James Stafford regarding same and consent
                    decree requested from Montana (.50); review scanned documents and
                    communicate with Alabama regulators regarding same (,25),

  8/04/21    l<MC   Prepare Response to Defendant Asher's Notice Regarding Court's July 1, 2021                  4.75
                    Order and prepare Appendix in Support of Response and have filed with the
                    Court (3.00); telephone conference with P. Lewis regarding Response and
                    regarding email to counsel for MagicStar Arrow (,50); review and revise motion
                    to sell Wanamaker property in Philadelphia (.50); conference with Andrea Cook
                    regarding settlement letters to brokers (.75).

 8/06/21     l<MC   Review email to attorney for Carlos Cruz and confer with P. Lewis regarding same             1.00
                    (.;?.5); attend to inquiries from investors regarding claims recommendation,
                    confer with paralegal regarding same, and communicate with N.M. regulator
                    regarding same (.75).

 8/09/21     l(MC   Review each item of jewelry obtained and compare to list of jewelry provided by              1.00
                    Fai11d1e McCc1rtl1y amt conrerence with P. Lewis regarding same; work on letter
                    to brokers regarding settlement.

 8/10/21     l<MC   Conference with P. Lewis regarding strategy as to Carlos Cruz and Portfolio                  2.00
                    Insider (1.00); prepare outline of motion for contempt to file regarding Portfolio
                    Insider (.50); conference with Avi Steinberg regarding broker's commissions and
                    commissions to David Bleeden (.25); communicate with investors answering
                    questions regarding claims (.25).



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                                                                                           SCHEEF & STONE, LLP
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Invoice: 109212                                                                                         May 5, 2022


     D€lte   Atty   Description                                                                              Hours

  8/11/21    KMC    Gather information regarding brokers and conference with Andrea Cook                       3.00
                    regarding sending letters to brokers as to settlement (.50); telephone conference
                    with CFTC regarding contempt of Asher and Batashvili and conference with P.
                    Lewis regarding same (2.00); review bank records and request counsel assisting
                    with BOA to request updated production (.25); begin preparing for hearing on
                    sale of properties and conference with J. Rolls and P. Lewis regarding same and
                    communicate with real estate brol<er regarding same (,50); conference with J.
                    Rolls regarding new motion to approve sales of two properties (.25) .

  8/12/21    l(MC   Prepare for hearing to approve sale of 6 properties and conference with J. Rolls          3.00
                    and P. Lewis regarding same (1.00); telephone conference with CFTC regarding
                    status of receivership (.SO); review DISCO and gather information for preparing
                    contempt motion against Defendants (1.00); review and revise motion to sell 2
                    additional properties and send to parties for purposes of conferencing (.50);
                    gather Information regarding commissions paid to David Bleeden and send to
                    counsel for D. Bleeden with form for Sworn Statement of Financial Condition to
                    determine whether D, Bleeden Is Interested in settling claim (1.00).

  8/13/21    l(MC   Prepare draft of email to send to attorney for Carlos Cruz and conference with P.         1.25
                    Lewis regarding same (,75); communicate with Andrea Cook regarding letters to
                    brokers (.25); telephone conference with C. Koonce regarding complaint against
                    brokers (.25).

  8/14/21    KMC    Work on Emergency Show Cause Motion against Defendants Asher and Simon                    4.00
                    and gather evidence in support of Motion,

 8/16/21     KMC    Work on Emergency Show Cause Motion against Defendants Asher and Simon                    4.00
                    and gather evidence in support of Motion, including prepare draft of Declaration
                    of Jeremiah McWright.

 8/17/21     l(MC   Telephone conference with CFTC regarding receivership assets under the Court              1.75
                    orders (1.00); research database of documents regarding Lucas Asher's use of
                    receivership assets (.50); listen to webinar given by L. Asher regarding his use
                    and development of receivership assets (.25).

 8/18/21     l<MC   Communicate with broker regarding repairs that need to be made to Chew                    4.25
                    property (.25); conferences with P. lewis and J. Rolls preparing for hearing to
                    approve sale of 6 properties (2.50); have Receivership website updated with
                    notice of hearing (.25); communicate with former employee of Retirement
                    Insider and prepare and obtain declaration from former employee (1.25),




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                                                                                         SCHEEF & STONE, LLP
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Invoice: 109212                                                                                         May 5, 2022


     Date   Atty    Description                                                                               Hours

  8/19/21   l(MC    Prepare for and attend hearing to approve sale of 6 properties (1.50); telephot1e          5.25
                   conference with CFTC regarding hearing (.50); have draft of Order sent to Judge
                    Lindsay (.25); communicate with broker regarding approval of sale of properties
                   and pay for trees to be trimmed at a property as required by lender (.25);
                   conference with paralegal regarding property insurance (.25); conference with P.
                   Lewis regarding motion to compel turnover of security deposits (.25); take
                   additional photographs of jewelry turned over as requested by Fainche's
                   attorney and communicate with P. Lewis regarding same (.25); communicate
                   with J. Hacker and prepare declaration based on communications(. 75);
                   communicate with witness to activities of defendants regarding declaration and
                   revise declaration (.75); telephone conferences with CFTC regarding status of
                   receivership assets used by Defendants and Relief Defendant (1.00); conference
                   with P. Lewis regarding violations of SRO by Carlos Cruz and response of attorney
                   for Carlos Cruz and investigate relationship of Carlos Cruz to Defendants (.75).

  8/20/21   l(MC   Review draft of complaint against broker and telephone conference with C.                   1.00
                   Koonce regarding same (.75); telephone conference with paralegal regarding
                   determining claim amounts for certain metals (.25) .

  8/23/21   KMC    Conference with P. lewis regarding strategy with respect by Carlos Cruz to                   .25
                   comply with SRO.

  8/24/21   l(MC   Prepare letter to Downtown Porsche LA regarding custom Porsche ordered by                   2.25
                   Defendant (.SO); obtain storage device from K. loquette of Images from
                   computers and communicate with J. Stafford regarding same (1.00); work on
                   declaration of former employee who worked for Defendants (.SO); obtain Order
                   authorizing sale of properties and send to title company and to broker for closing
                   together with wire instructions (.25).

 8/25/21    l(MC   Revise and finalize and have filed Motion for Approval of Sale of Wanamaker                3 .00
                   Property, together with proposed Order, and Appendix (1.0); numerous
                   communications with broker and with title company in preparation for closing on
                   the sale of 6 properties (1.50); review research regarding scope of "acting in
                   participation or concert with defendants" (.25); communicate with former
                   employee of defendant regarding declaration (.25).

 8/26/21    KMC    Communicate with broker regarding repairs to prope1ties to be sold (.25); secure             .75
                   and pay property insurance premium for 17 Philadelphia homes (,25); review,
                   revise, and execute Engagement Agreement for Kentucky law firm to file Notice
                   of Stay in pending litigation against receivership entities in Kentucky (.25),

 8/27/21    KMC    Review and execute 6 deeds for sale of Philadelphia properties and send to title           1.25
                   company with letter to keep deeds in escrow until closing (.50); send letter to
                   East West Bank for deposit of proceeds from equity investment (.25); prepare
                   letter to US Bank regarding additional entities added to receivership to
                   determine if accounts exist (.SO).




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                                                                                           SCHEEF & STONE,· LLP

Invoice: 109212                                                                                          May 5, 2022


     Date   Atty    Description                                                                               Hours

  8/30/21   KMC    Telephone conference with CFTC regarding potential contempt motion and facts                 4.50
                   regarding such contempt (1.00); work on contempt motion and gather facts in
                   suport of motion (2.25); receive letter from G. Besen regarding Asher providing
                   answers as required by the Court and prepare responsive letter and send to P.
                   Lewis for review (.75); numerous communications with broker and execute
                   Contract Amendments in preparation for closing of sale of properties in
                   Philadelphia (.50).

  8/31/21   l<MC   Revise and finalize let ter to Gene Besen (.25); work on Declaration in support of          1.75
                   Emergency Contempt Motion against Asher and Simon (1.50).

  9/01/21   l<MC   Continue work on declaration in support of contempt motion and gather                       4.00
                   documents to include as exhibits to declaration (3.00);

  9/02/21   l(MC   Work on broker complaint (1.50); attend to properties, pay Invoices, and                    3.25
                   cotnmunicate with broker (.25); telephone conference with accounting firm
                   regarding monies paid to consultants to assist with Portfolio Insider (.25);
                   telephone conference with CFTC regarding information for contempt Motion
                   (.25); prepare email to A. Spencer regarding him continuing to be the attorney of
                   record for the Defendants (.25); conference with D. Wills regarding letters to tax
                   entities (.25); conference with P. Lewis regarding Potifolio Insider (.50).

  9/06/21   l(MC   Prepare Receiver's Fifth Status Report                                                      2.50

 9/07/21    KMC    Telephone conference with CFTC regarding contempt motion (.SO); communicate                 1.50
                   with P. Lewis regarding call with lntrlnio attorney and communications with
                   attorney for David Bleed en (.25); communicate with broker regarding offers to
                   purchase Chew property and with title company regarding closings (.25); review
                   and revise draft of contempt motion (.25).

 9/08/21    l(MC   Work on broker complaint and communications with A. Cook and with C. Koonce                 2.25
                   regarding same (1.00); work on Status report (.50); communicate with P. Lewis
                   regarding settlement discussions with attorney for David Bleed en (.25);
                   communicate with CFTC regarding information gathered to support contempt
                   motion (.25); communicate with investor regarding tax issues related to claim
                   (.25).

 9/09/21    KMC    Telephone conferences with counsel for Pay Pai regarding production of records              2.00
                   (.50); communicate with parties regarding Motion to Sell Rosemar propetiy and
                   prepare Motion for filing with the Court (.50); revi~e and finalize Receiver's Fi~h
                   Status Report for filing with the Court (.25); communicate with A. Cook and with
                   C. l<oonce regarding Broker Complaint (.SO); communicate with Alabama
                   securities division regarding information to support contempt motion and
                   communicate with CFTC regarding same (.25).




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                                                                                         SCHEEF & STONE, LLP

Invoice: 109212                                                                                         May 5, 2022


     Date   Atty   :Description                                                                              Hotirs

  9/10/21   l(MC   Review and execute closing documents for sale of two properties in Philadelphia             3.00
                   (.75); telephone conference with l(elly (.25); finalize and file Receiver's Fifth
                   Status Report (.50); work on Broker's Complaint and schedules that are exhibits
                   to Broker's Complaint and communicate with C. Koonce regarding same (1.50);
                   worl< on obtaining and downloading PayPal records (.25); review Receiver's Fifth
                   Fee Application and send to parties for certificate of conference (no charge).

  9/12/21   KMC    Review and revise Broker complaint .                                                        3.00

  9/13/21   KMC    Revise and finalize Broker's Complaint and have filed (5.00); telephone                    7.00
                   conference with CFTC regarding receivership issues (.50); revise draft of
                   Emergency Motion for Contempt (1.00); communicate with broker regarding
                   contracts for the sale of properties, execute closing documents, and execute
                   termination of contract for Wanamaker property (.50).

  9/14/21   l<MC   Telephone conference with CFTC (2.75); communicate with broker regarding                   4.75
                   pending real estate issues (.25); communicate with paralegal regarding potential
                   objection of investor to claims recommendation (.25); work on Emergency
                   Motion for Show Cause Hearing to Hold Defendants Asher and Batasvhili in Civil
                   Contempt (1.25); communicate with J. Rolls regarding Notice of Withdrawal of
                   Motion to Approve sale of Wanamaker property because contract was
                   terminated by buyer and review same prior to It being filed with the Court (.25) ,

  9/15/21   KMC    Work on Emergency Motion for Show Cause Hearing to Hold Defendants Asher                  11.00
                   and Batashvili in Civil Contempt, Appendix in Support, and proposed Order.

 9/16/21    l(MC   Conference with P. Lewis regarding filing of Motion for Contempt and conferring            3,75
                   with opposing counsel (.50); telephone conferences with CFTC regarding Motion
                   for Contempt (.50); revise and finalize Motion for Contempt and review
                   Appendix in Support of Motion for Contempt (2.00); communicate with broker
                   regarding closing of sale of property and storm hazard declaration (.25);
                   conference with C. Koonce regarding filing lawsuit against C. Cruz to recover
                   fraudulent transfers and issues associated with same (.SO).

 9/20/21    l<MC   Telephone conference w.i th CFTC regarding receivership issues (.50); telephone            3.25
                   conference with CFTC and Pipedrive regarding preserving records (.50); prepare
                   letter to Piped rive regarding turnover of records (.50); prepare Certificate of
                   Interested Persons in broker lawsuit (.25); work on gathering information
                   regarding MagicStar Arrow and Carlos Cruz and conference with accountant and
                   P. Lewis (1.75).




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                                                                                          SCHEEF & STONE, LLP
                                                                                                                       '
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     Date   Atty   Description                                                                                 Hours

  9/21/21   l(MC   Revise and finalize Certificate of Interested Persons and have filed with the Court           5.00
                   in broker case (.50); telephone conference with C. l(oonce regarding call from
                   attorney representing Walter Vera about lawsuit and Portfolio Insider (.25);
                   research files to gather information regarding payments to MagicStar Arrow and
                   multiple telephone conferences with accounting firm regarding same (1.00);
                   research files regarding Perez Batashvlli and conference with paralegal regarding
                   same (.SO); receive and review letter from Gene Besen providing information
                   Defendant Asher promised to provide and respond to same (.25); conference
                   with P. Lewis regarding his call to Besen (.25); revise deposition notice for Carlos
                   Crul ,mu  cu111municale with Plalntffrs regarding dale for deposition (.50);
                   conference with CFTC regarding contempt motion and hearing of same (.25);
                   conference with P. Lewis and team regarding strategy for hearing on contehlpt
                   motion and prepare outline for hearing (1.00); conference with J. Stafford
                   regarding status of Jones Day production of documents (.25); communicate with
                   Utah securities attorney providing her with list of Utah claimants (.25),

  9/22/21   l<MC   Conference.with P. Lewis regarding obtaining hearing date for contempt motion                1.75
                   and conference with CFTC regarding same (.50); review and revise email to
                   attorney for Carlos Cruz and communicate with P. Lewis regarding same (.25);
                   review and revise Notice of Deposition of Carlos Cruz (.25); review and revise
                   subpoena for deposition of Carlos Cruz (.25); finalize and file with the Court
                   supplemental response to notice by Defendant Asher regarding Information to
                   provide to the Receiver (.25); finalize Fifth Fee Application, Appendix, and Order
                   and have filed with the Court (1.50 NO CHARGE); communicate with broker
                   regarding repairs to property and selling Rhawn property without permits being
                   cleared (.25).

  9/23/21   l(MC   Receive Order from Court setting hearing date and conference with P. Lewis                   2.25
                   regarding same (.SO); conference with P. Lewis regarding Notice of Deposition of
                   Carlos Cruz and subpoena and service of same on parties (.50); review and
                   approve summons for submission to court in broker lawsuit (.25); communicate
                   with Cort Thomas regarding BOA contempt motion and prospect for settlement
                   (.25); conference with paralegal regarding chart of transfers to MagicStar Arrow
                   and communicate with Andrea t·egardihg preparing draft complaint against
                   MagicStar Arrow (.75).

 9/24/21    l(MC   Telephone conference with CFTC regarding Portfolio Insider (.25); conference                 1.25
                   with P. Lewis regcirding same and regarding hiring private investigator to see if
                   assets moved out of Portfolio Insider office (.25); prepare letter· to owner of
                   office building where Portfolio Insider has its space to preserve video footage of
                   the building (.50); communicate with broker regarding approving new contract
                   for Wanamaker house (,25).

 9/26/21    l<MC   Gather information and provide to accountants to prepare and file receivership               1.00
                   tax return and respond to questions from accountants.




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                                                                                          SCHEEF & STONE, LLP
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Invoice: 109212                                                                                          May 5, 2022


     Date   Atty    Description                                                                               Hours

  9/28/21   l(MC   Prepare subpoena for information to be turned over by property owner of                      2.00
                   building occupied by Defendants (.50); telephone conferences with owner of
                   property where Defendants are working (.25); conference with J, Stafford and
                   computer consultant about retrieving information (.SD); telephone conference
                   with attorney for witness regarding Portfolio Insider (.50); telephone conference
                   with CFTC regarding Portfolio Insider (.SO); review and execute agreement to
                   hire consultant to image computers (.2S),

  9/29/21   l<MC   Receive and review documents produced by MagicStar Entertainment (.7S);                     3.25
                   communicate with A. Spencer regarding his conference on motion to withdraw
                   and review local rules regarding withdrawal as counsel (.SO); telephone
                   conference with C. Koonce regarding call from attorney representing broker
                   (.2S); conference witli P. Lewis regarding call from attorney representing Bleeden
                   (.2S); telephone conference with owner of Beverly Building regarding payment of
                   invoice (.25); telephone conference with Kelly regarding turnover of computers
                   (.25); telephone conference with attorney for Portfolio Insider employee (.25);
                   conferences with CFTC regarding receivership issues (.SO); communicate with
                   broker regarding repair credit for sale of Rhawh property because permits have
                   not been issued and violations cured (.25).

  9/30/21   l(MC   Communicate with paralegal regarding objections to claims report (.25);                     1.25
                   communicate with broker regarding Rhawn Street property repairs and
                   extension for closing date (.25); telephone conference with CFTC regarding
                   evidence In support of Motion for Contempt against Asher and Batashvili (.50);
                   communicate with general counsel of Pipedrive regarding production of
                   documents (.25).

10/04/21    l(MC   Telephone conference with Pipedrive regarding production of documents (.25);                2.00
                   prepare draft of letter requesting production of documents by third party for
                   show cmt:ie hcwring (.50); conference with A. Cook regarding draft complaint
                   against Carlos Cruz (.2S); review and execute amendment to Rhawn Street
                   contract for buyer to take care of outstanding code violations (.25); receive and
                   review offer for purchase of another Philadelphia property and execute contract
                   for sale of same (.25); review offer for sale of package of five propettles,
                   communicate with associate regarding appraised values of properties, and make
                   counter-offer for sale of properties (.25); conference with paralegal regarding
                   objections to claims and submission of late filed claim (.25).

10/05/21    KMC    Revise and finalize letter to attorney for third party requesting production of             2.00
                   documents to prepare for hearing and contempt motion and send to attorney
                   (.SO); conference with D. Wills regarding letters to taxing authorities in response
                   to tax assessments, revise letters, and finalize for sending to taxing authorities
                   (.50); review production from Carlos Cruz regarding MagicStar and have
                   paralegal compare invoices to payments and send production to CFTC (.75);
                   communicate with P. Lewis regarding call from attorney for David Bleeden and
                   Randall Kohl to discuss settlement of broker lawsuit (.25).




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                                                                                            SCHEEF & STONE, LLP

Invoice: 109212                                                                                             May 5, 2022


     fl.ate   Atty    Description                                                                                Hours    I
 10/06/21     l<MC    Telephone conference with CFTC regarding Order from court postponing hearing                 2.00
                      and staying proceedings, and preparatiot1 for hearing on show cause motion
                      (.75); execute agreement for structural engineer to review joists at Rhawn Street
                      for closing and send check and comhrnnicate with broker regarding same (,25);
                      negotiate with broker sale of 5 of Philadelphia properties in a package deal (.25);
                      review and execute contract for sale of additional Philadelphia property (,25);
                      conference with P. Lewis regarding call with attorney for Bleeclen and l<ohl
                      regarding settlement (.25); conference with A. Cook regarding
                                                    (.25).

 10/07/21     l<MC    Telephone conference with CFTC regarding evidence for hearing (.50);                        1.25
                      conference with P. Lewis regarding Stay Order issued by court and conversation
                      with Court clerk regarding scope of Stay Order (.50); communicate with counsel
                      for Pipeclrlve regarding Stay Order and confer with P. Lewis regarding same (.25)

 10/08/21     KMC     Receive and review response to Motion for Contempt filed by Defendants Asher                1.00
                      and Batashvili and conference with P. Lewis regarding same (.25); receive and
                      review Motion for Leave filed by Portfolio Insider and conference with P. Lewis,
                      and CFTC regarding same (.75),

 10/11/21     KMC     Review contract for sale of 5 properties and communicate with broker regarding              1.50
                      same (.25); prepare draft of Response to Motion for Leave and conference with
                      P. Lewis regarding same (1.00); communicate with P. Lewis regarding settlement
                      talks with attorney for Bleeden and Kohl (.25).

10/12/21      l<MC    Telephone conferences with CFTC regarding evidence in support of Motions in                 4.00
                      preparation for hearing (1.00); investigate deposits into Barrick Capital account
                      after receivership in response to claim of investor and communicate with
                      paralegal regarding same (.SO); telephone conference with Pipedrive as
                      requested by Piped rive (.25); telephone conference with former Pl employee
                      providing evidence in support of motion filed by Receiver and conference with P.
                      Lewis regarding same (1.00); receive Order from Court staying activities of
                      parties and Receiver until hearing on pending motions and conference with P.
                      Lewis regarding same (.50); telephone conference with CFTC regarding Order
                      (.50); telephone conference with C. l<oonce regarding stay Order a11d status of
                      broker lawsuit (.25).

10/14/21      l(MC    Telephone conference with CFTC regarding stay order and pending motions.                     .50

10/15/21      KMC .   Conference with P. Lewis regarding court approval to sign closing documents for              .so
                      sale of Rhawn property and execute documents to sell Rhawn property.

10/18/21      l<MC    Work on Reply to Defendant's Opposition to Contempt Motion.                                 2.50

10/19/21      l<MC    Work on Reply to Defendants' Opposition to Receiver's Motion for Contempt and               4.00
                      review Motion filed by Portfolio Insider.

10/20/21      KMC     Work on Reply and begin working on Response to Motion filed by Cruz:                        4.00
                      conference with P. Lewis regarding same; conference with CFTC regarding same.



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                                                                                         SCHEEF & STONE, LLP
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Invoice: 109212                                                                                        May 5, 2022


     0ate   Atty    0escription                                                                             Hours

 10/21/21   l<MC    Revise and finalize Reply to Defendants' Opposition to Receiver's Emergency               4.00
                    Motion for Show Cause Hearing to Hold Defendants Lucas Asher and Simon
                    Batashvili in Contempt, have filed with the Court, and conferences with P. Lewis
                    regarding same.

 10/22/21   l<MC   Work on Response to Portfolio Insider's Motion and conference with D. Wills                 .50
                   regarding legal research in support of Response .

 10/24/21   l(MC   Work on Response to Portfolio Insider's Motion to Prevent Receiver from Taking            4.00
                   Possession of Propertv of a Non-Receivership Entity.                       '

 10/25/21   KMC    Continue working on Response to Portfolio Insider Motion to Prevent Receiver              8.00
                   from Taking Possession of Property of a Non-Receivership Entity and prepare
                   Declaration In Support of Response.

10/26/21    l(MC   Review, revise and finalize Response to Portfolio Insider Motion and have filed           4.00
                   with the Court (2.50); prepare, revise, and finalize Appendix in Support of
                   Response to Portfolio Insider Motion and have file with the Court (1.50).

11/02/21    l(MC   Review Reply filed by Portfolio Insider to Response of Receiver to Portfolio               .25
                   insider Motion.

11/03/21    l<MC   Conference with P. Lewis regarding preparation for hearing on pending motions.            1.00

11/04/21    l<MC   Telephone conference with CFTC regarding preparing for hearing on motions.                 .25

11/08/21    l<MC   Communicate with attorney for witness regarding hearing on pending motions                 .25
                   and execute document required to receive shares from equity distribution on
                   behalf of receivership,

11/18/21    l(MC   Telephone conference with CFTC regarding strategy for hearing on pending                  1.25
                   motions (.75); conference with P. Lewis regarding strategy for hearing on
                   pending motions (.50).

12/01/21    l<MC   Telephone conference with C. Koonce regarding filing motion to extend deadline             .SO
                   for expiration of subpoenas to brokers and conference with P. Lewis regarding
                   same.

12/02/21    KMC    Conference with P. Lewis regarding filing motion in broker lawsuit to extend               ,25
                   timeliness of summons; communicate with C. l<oonce regarding same.

12/07 /21   l<MC   Conference with P. Lewis regarding seeking leave to close on sale of properties;           .25
                   review motion for leave to file motion for extension.

12/08/21    KMC    Review proposed motion for leave to extend deadline for serving summons in                 ,25
                   Crawford v. Bleeden lawsuit.

12/10/21    l(MC   Conference with CFTC and with IT experts regarding harddrives in preparation               .25
                   for hearing.




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                                                                                          SCHEEF & STONE, LLP
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Invoice: 109212                                                                                          May 5, 2022


     Date   Atty    Description                                                                               Hours

 12/16/21   l<MC    Telephone conference with Kelly L. regarding status of Information provided;                1.00
                    telephone conference with CFTC regarding same; review and revise proposed
                    motion for leave to file motions seeking approval of the sale of real properties
                    remaining in receivership and communicate with P. Lewis regarding same.

 12/20/21   KMC    Review Information from broker regarding prospective sales of real estate in                  .25
                   Philadelphia and conference with P. Lewis regarding filing motion for leave to
                   obtain order allowing sales of properties to go forward.

 12/21/21   KMC    Work on Receiver's Claims Objection Report.                                                   .50

 12/22/21   KMC    Work on Receiver's Response to Objections to Claims Report (2.00); revise and                2.25
                   finalize Motion for Leave to file Motion to Approve Appraisers and Sales of
                   Property (.25),

 12/27/21   KMC    Work on Receiver's Report Regarding Objections to Claims Report and                         4.00
                   conference with D. W (lls regarding legal research to include In Receiver's Report.

 12/28/21   KMC    Research regarding priority of investors over creditors for distribution to include           .75
                   in Report Regarding Objections to Claims Report and communicate with
                   paralegal regarding Report (.50); communicate with paralegal regarding entry of
                   appearance by attorney for investor whose money was deposited after
                   receivership and included in monies turned over to receiver (.25) .

12/29/21    l(MC   Review legal research regarding priority of investors over creditors in                     1.25
                   receivership distributions and add string cite of authorities to Receiver's Report
                   Regarding Objections to Claims Report (0.75); review proposed Order from
                   attorney for investor who wants monies released from receivership that were
                   deposited after freeze order and communicate with attorney regarding same
                   (.50).

 1/10/22    l(MC   relephone conference with J. Stafford regarding Montana Consent Decree;                      .i!:>
                   review and execute Montana Consent Decree.

 1/11/22    l<MC   Receive distributions from sale of real property interests and prepare letter to             .25
                   bank for deposit of monies in receivership account.

                   Communicate with J. Stafford regarding                                                       .25

                            •
 1/12/22    l<MC
                   L
 1/13/22    l(MC   Coordinate having hard drives sent to CFTC for viewing.                                      .25

 1/20/22    l(MC   Conference with Peter Lewis regarding stay of proceedings and preparing for                  .50
                   hearing; communicate with broker regarding person Interested In purchasing
                   one of the Philadelphia properties.

 1/24/22    l<MC   Telephone conference with CFTC regarding Montana Consent Judgment and                        .so
                   status of receivership; prepare and send email to CFTC attaching Consent
                   Judgment and explaining that reference to restitution is from Montana state
                   monies and not from receivership monies.



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                                                                                               SCHEEF & STONE, LLP
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     Date    Atty    Description                                                                               Hours

  1/26/22    l<MC   Communicate with attorney for Investor regarding non -opposition to order for                 .so
                    return of investor funds that were deposited with Wells Fargo after freeze order;
                    telephone conference with CFTC regarding same and send bank record and email
                    to CFTC regarding same.

  1/28/22    l(MC   Pay insurance, water, and electricity bills for Philadelphia properties.                      .25

  2/01/22    l(MC   Communicate with investors regarding status of receivership.                                  .25

  2/04/22    l<MC   Telephone conference with investor complaining about delay in proceedings;                    .25
                    communicate with broker regarding having locks ch anged on Philadelphia
                    property because of squatter.

  2/07 /22   l<MC   Listen to voicemail from••■aaregarding fraudulent activities of                              .25
                    defendants and communicate with P. Lewis regarding stay in case .

  2/09/22    l(MC   Receive numerous calls and emails from investors regarding status of                         ,so
                    receivership and respond to some and confer with attorneys and paralegal
                    regarding responding to others; communicate with Iowa Securities Department
                    regarding Iowa Investor.

  2/10/22    l(MC   Review Coutt's sua sponte dismissal of Bleeden lawsuit and review uµir1iu11 <1r1d           1,75
                    judgment regarding same (.SO); conference with CFTC regarding same (.SO);
                    conference with C. l<oonce regarding same (.25); conference with P. Lewis
                    regarding same (.25); prepare letter to Investors regarding stay (.25).

 2/11/22     l<MC   Review opinion from Court dismissing broker lawsuit and work on strategy for                 .50
                    response, with review of initial case law in support of vacating the Judgment.

 2/13/22     l(MC   Begin work on Motion for New Trial and begin research of cases in support of                2.00
                    vacating juclgm ent.

 2/14/22     l(MC   Conference with P. Lewis regarding Motion for New Trial(.50); conference with C.            1.25
                    l<oonce regarding Motion for New Trial (.25); telephone conference with
                    JonMarc Buffa regarding Motion for New Trial (.25); finalize letter to send to
                    investors regarding stay of receivership in response to numerous calls (.25),

 2/15/22     l(MC   Work on Motion for New Trial, including review of issues prepared by P. Lewis               1.00
                    and communications with C. l<oonce regarding same.

 2/16/22     l(MC   Communicate with C. l<oonce regarding Motion for New Trial.                                  .25

 2/17/22     KMC    Work on Motion for New Trial.                                                               3.00

 2/18/22     l(MC   Communicate with investors regarding status of receivership (.25); conference               1.75
                    with CFTC regarding motion for new trial (.50); conference with C. l<oonce
                    regarding motion for new trial (.25); work on Motion for New Trial (.50);
                    telephone conference with Utah Securities Department about its claim against
                    brokers (.25).

 2/19/22     l(MC   Work on Motion for New Trial.                                                               5.00



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                                                                                              SCHEEF 8t STONE, LLP

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      Date   Atty    Description                                                                              Hours

  2/21/22    l(MC    Work on Motion for New Trial.                                                              3.50

  2/22/22    l(MC   Communicate with C. Koonce regarding motion for new trial.                                   .25

  2/22/22    l(MC   Prepare Protest to franchise tax assessment by State of California against Barrick           .50
                    Capital.

  2/23/22    KMC    Conference with P. Lewis regarding Motion for New Trial and work on Motion for              1.00
                    New Trial.

  2/24/22    l<MC   Revise Motion for New Trial and send to P. Lewis and C. l<oonce for review                 3.00
                    (1.50); conference with P. Lewis regarding Motion for New Trial (.50); telephone
                    conference with Plaintiffs regarding Motion for New Trial (1.00).

  2/25/22    l(MC   Telephone conference with C. Koonce regarding Motion for New Trial (.25).                    .25

  2/28/22    l(MC   Communicate with East West Bank regarding diversifying deposits, review                    3.00
                    documents making such diversification for FDIC purposes, and conference with
                    associate regarding review (.75); conference with P. Lewis regarding Motion for
                    New Trial (.75); legal research in support of Motion for New Trial (1.50) .

  ?,/01/22   l(MC   r.onfP.rP.nr.P. with P. LP.Wis rP.g,miing Motion for NP.w Trial.                            .50

  3/01/22    l<MC   Conference with associate regarding review of ICS agreement to allocate monies              .75
                    on deposit in receivership account to various banks to obtain FDIC protection of
                    funds, and execute agreements with East West Bank regarding same.

  3/03/22    l<MC   Legal research for Motion for New Trial and continue drafting Motion for New               3.00
                    Trial.

  3/04/22    KMC    Work on Motion for New Trial.                                                              4.50

  3/05/22    l<MC   Work on Motion for New Trial.                                                              3.00

 3/07/22     l(MC   Work on Motion for New Trial.                                                              6.00

 3/08/22     l<MC   Finalize Motion for New Tric1I and file with the Court.                                    2.50

 3/17/22     l<MC   Pay bills of receivership to insure assets and pay utilities for properties;                .25
                    communicate with real estate broker regarding status of stay of case.

 4/18/22     l<MC   Communicate with accountants to confirm filing of extension for tax returns for            1.00
                    receivership; pay bills for Philadelphia properties in receivership; conference
                    with C. Thomas regarding whether entities were ever ordered to retain counsel
                    in receivership,

 4/19/22     KMC    Receive Order granting Motion for Leave to file Motion to seek authority to sell            .75
                    Philadelphia properti es and prepare Notice to the Court regarding offers being
                    withdrawn in light of the stay.




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                                                                                          SCHEEF & STONE, LLP

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       Date   Atty   Description                                                                                Hours

   4/20/22    l<MC   Review, finalize, and file Notice regarding Motion for Leave to seek approval to            1.00
                     sell properties in Philadelphia (.25); communicate with C. Thomas regarding
                     BOA's attorney accepting service of.show cause order and filing notice with court
                     regarding service (.251; receive and review show cause order as to Defendants,
                     docket same, and confer with P. Lewis regarding same (.25); communicate with
                     broker regarding Rosemar property contract and order for hearing to approve
                     sale of property (.25).

   4/21/22    l(MC   Review and revise publication of notice of sale of property and conference with               ,25
                     paralegal regarding publication of notice.

   4/25/22    KMC    Conference with P. Lewis regarding pending motions and regarding request for                 .25
                     counsel for defendants to have additional time to file response to show cause
                     order.

   4/27 /22   l<MC   Pay utility bills of Philadelphia properties and communicate with broker                     .50
                     regarding squatter being In one of the properties; communicate with paralegal
                     regarding terminating electrical service to property with squatter; review 60 day
                     status report required by federal court In California in lawsuit against
                     receivership entities.

   4/28/22    l<MC   Telephone conference with attorney for S. Austin regarding return of monies                 1.00
                     deposited after receivership was in place and form of order (.25); calculate
                     interest earned on monies since deposited with receivership account and
                     provide to attorney for S. Austin (.25); telephone conference with Philadelphia
                     broker and P. Lewis regarding status of remaining properties to sell and issue
                     with squatter (.SO).

   4/29/22    l(MC   Conference with P. Lewis regarding withdrawal of counsel for Portfolio Insider              1.00
                     and strategy In light of same (.25); receive Order from court to make payment to
                     Stephen Austin for monies deposited after receivership began, issue check to
                     same, and prepare letter to attorney for Stephen Austin regarding same (.25);
                     telephone conference with IRS Chief Counsel office regarding tax liability of
                     Chase Metals and communicate with Kelly regarding same and provide IRS with
                     Form 56 for receivership (.SO).


                                    TOTAL PROFESSIONAL SERVICES                                          $ 102,277.50


SUMMARY OF PROFESSJONAL SERVICES

Name                                                  Hours                  Ra.te                              Tot~I
Kelly M. Crawford                                     262.25               390.00                         102,277.50
Total                                                 262.25                                             $102,277.50




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                                                                                         SCHEEF & STONE, LLP
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PROFESSIONAL SERVICES


     Date   Atty    Description                                                                              Hours

  7/26/21   JLR     Research and contact the Clerk of the Court for Bullitt County, Kentucky to                 .so
                    ascertain the procedures for filing out-of-state Notice of Receivership and
                    Related Stay in the state circuit court.

  7/26/21   JLR     Receipt of and listen to voicemail from Investor Victim, D. Davenport, regarding            .25
                    claim of potential contact with Receivership Defendants.

  7/26/21   JLR     Receipt and revh?W of email correspondence from K. Crawford regarding request               .?S
                    for copy of Affidavit of Publication for March 2021 national Public Notice in USA
                    Today.

  7/26/21   JLR     Draft and send summa1y email to Receiver, K. Crawford, providing fact recap of              .25
                    telephone call with Investor Victim, D. Davenport, regarding claim of potential
                    contact with Receivership Defendants or prior Receivership Defendants'
                    employees/salesman.

  7/26/21   JLR    Follow-up telephone call to USA Today contact, T. Hage rich, requesting copy of             .25
                   Affidavit of Publication as to March 2021 Public Notice of Receivership claim bar
                   date.

  7/26/21   JLR    Prepare exhibits for Notice of Receivership and Related Stay for the three (3)              .so
                   pending Kentucky state court cases involving the Receivership Defendants.

  7/26/21   JLR    Incorporate revisions of J. Stafford into Notice of Receivership and Related Stay          1.25
                   in Commonwealth of Kentucky Case styled Bill Cravens et al. v. TMTE Inc., dba
                   Metals.com et al. involving Receivership Defendants.

  7/26/21   JLR    Receipt of and listen to voicemail from Investor Victim, C. Harney, regarding               .25
                   Receivership claim and tax question related to the same,

  7/26/21   JLR    Telephone call with Investor Victim, D. Davenport regarding claim of potential              .75
                   contact with Receivership Defendants or prior Receivership Defendants'
                   employees/salesman; Take notes regarding her allegations of the same.

 7/26/21    JLR    Revise exhibits for Notice of Receivership and Related Stay for the three (3)               .so
                   pending l(entucky state court cases involving Receivership Defendants; Revise to
                   include additional Docket Entry/Court Order of additional entities.

 7/26/21    JLR    Telephone call With Investor Victim, C. Harney, to provide status update and                .25
                   address questions over tax Issues as tu her Receivership dc1i111.

 7/26/21    JLR    Draft and send email to USA Today contact, T. Hagerich, requesting copy of                  .25
                   Affidavit of Publication as to March 2021 Public Notice of Receivership claim bar
                   date.

 7/26/21    CAM    Continue working on claim calculation forms, including revisions, research,                7.50
                   phone calls/emails etc. to accurately complete claim calculation forms.

 7/26/21    JSS    Review and revise Montana consent order in light of edits from Receiver.                    .25
                                                                                        EXHIBIT
                                                      2
                                                 APP00017                        iB
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                                                                                              SCHEEF & STONE, LLP

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      Pate    Atty    Description                                                                               I-fours

  7/26/21     JSS     Communications with CFTC regarding production of documents.                                  .25

  7/26/21     JSS    E-mail and telephonic communications with expert IT regarding production of                   .25
                     documents to CFTC.

  7/26/21     AE     Review, revise, finalize, and process claims and send out claims to Investors.               8.00

  7/26/21     PCL    Communications with I<. Crawford and S. Thomas regarding reply to documents                   .30
                     ihomas stated he was going to deliver

  7/27/21     JLR    Attend meeting with I<. Crawford and G. Besen regarding the turnover of                       .50
                     Receivership Defendants' assets.

  7/27/21     JLR    Draft and send email to Plaintiff's Counsel in Bullitt County, KY state court                 .50
                     providing the attached Notice of Receivership and Related Stay.

  7/27/21     JLR    Draft and send responsive email to USA Today contact, T. Hagerich, to confirm                 .25
                     receipt of the tear sheet and Affidavit of Publication for the March 2021
                     Receivership national Public Notice.

  7/27/21     JLR    Draft and send email correspondence to Counsel for Defendant New Direction in                 .25
                     Bullitt County, l<Y state court providing the attached Notice of Receivership and
                     Related Stay.

  7/27/21     JLR    Answer the return call of Investor Victim, M. Lalick, regarding Receivership status           .25
                     update and whether he can sell/transfer his remaining metals from the current
                     custodian.

  7/27/21     JLR    Draft and send responsive email to Investor Victim, M. La lick, providing summary            .25
                     of telephone call and Receivership status for his wife's reading and records.

  7 /27 /21   JLR    Return the call of Investor Victim, T. Morin, to provide status update as to the             .25
                     Receivership and his claim.

  7/27/21     JLR    Interoffice conference with C. Morris regarding outstanding claim calculations as            .so
                     to Investor Victim, J. Raganswood, as to receipt of her metals.

 7/27/21      JLR    Receipt of and listen to voicemail from Investor Victim, R. Reisner, regarding the           .25
                     Claim Report.

 7/27/21      JLR    Receipt of and listen to voicemail from Investor Victim, D. Davenport, providing             .25
                     additional supporting information regarding her interactions with individuals
                     akin to the Receivership Defendants.

 7/27/21      JLR    Telephone calls with various clerks of Bullitt County, l<Y to address filing of the          .50
                     Notice of Receivership and Related Stay for a pending cause in the circuit court
                     of Bullitt County,

 7/27/21      JLR    Return the call of Investor Victim, R. Reisner, regarding no receipt of her Claim            .. 25
                     Report; Inform here that such information will not be malled until 7 /30.




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                                                                                          SCHEEF & STONE, LLP
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     Date   Atty    Description                                                                               Ho1.1rs

  7/27/21   JLR    Prepare the Notice of Receivership and Related Stay for Special Delivery                      .25
                   necessary to filing the same via mail in accordance with the local rules of Bullitt
                   County, l<Y.

  7/27/21   CAM    Continue working on c.laim calculation forms, including revisions, research,                 7.50
                   phone calls/emails etc. to accurately complete claim calculation forms .

  7/27/21   AE     Review, revise, finalize, and process claims and send out claims to Investors.               8.00

  7/27/21   PCL    Communications with K. Crawford regarding turnover of watches by G.                           .80
                   Besen(.3); review of notice of no objection regarding fee app and related
                   communications with I<. Crawford(.2);communications with G. Besen and
                   I<. Crawford regarding additional retainer source lnformation(.3} .

  7/28/21   JLR    Answer telephone call from Investor Victim, I<. Weigel, in response to my                     .25
                   voicemail; Provide status update as to his claim in the Receivership.

  7/28/21   JLR    Receipt of and listen to voicemail from Investor, E. Cabacungan, requesting a                .25
                   status update as to her claim In the Receivership.

  7/28/21   JLR    Receipt and review of email from Investor Victim, K. Weigel, requesting status               .25
                   update as to the Receivership .

  7/28/21   JLR    Receipt of and listen to voicemail from Investor Victim, C. Wright, requesting a             .25
                   status update as to the Receivership.

  7/28/21   JLR    Draft and send responsive email to Investor Victim, I<. Weigel, providing a                  .25
                   timeline of upcoming Receivership actions and deadlines in response to his
                   request for a status update.

  7/28/21   JLR    Return the call of Investor Victim, C. Wright, to provide status update as to her            .50
                   Receivership claim and address issue as to the sale of her remaining metals;
                   Confer with I<. Crawford regarding the same.

 7/28/21    JLR    Draft and send email correspondence to Investor Victim, E. Cabacungan,                       .25
                   providing a timeline of upcoming Receivership dates and deadlines as a status
                   update for the Receivership.

 7/28/21    CAM    Finalize claim calculation forms for investors and prepare exhibit of all allowed           7.50
                   claims for Receiver's Claims Report (7.5),

 7/28/21    AE     Review, revise, finalize, and process claims and send out claims to investors.              6.75

 7/28/21    PCL    Communications with I<. Crawford regarding Jewelry issues.                                   .10

 7/29/21    JLR    Answer the call of Investor Victim, R. Rhyne, requesting status update as to his             .25
                   claim in the Receivership.

 7/29/21    JLR    Receipt and review of voicemail from Investor Victim, D. Davenport, regarding                .25
                   concerns over receipt of similar communications with the Receivership
                   Defendants as to the sale of precious metals.



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Invoice: 109213                                                                                                May 5, 2022


     Date    Atty      Description                                                                                  Hours

  7/29/21    JLR       Receipt and review of subsequent email from Investor Victim, L. Lalli<, regarding               .25
                       liquidation of remaining metals from New Direction.

  7/29/21    JLR       Draft and send responsive email to Investor Victim, I(. Weigel, regarding the                   .25
                       mailing of the Claim Report and respective information .

  7/29/21    JLR      Telephone call with Investor Victim, J. Raganswood, regarding need to                            .so
                      understand/confirm receipt of metals to the Delaware Depository necessary for
                      Receivership Claim.

  7/29/21    JLR      Receipt and review of email correspondence from Investor Victim, I<. Welgel, in                  .25
                      response to prior Receivership timeline and status email.

  7 /29/21   JLR      Return the call of Investor Victim, D. Davenport, regarding concerns over receipt                .25
                      of similar communications with the Receivership Defendants as to the sale of
                      precious 111etals.

  7/29/21    CAM      Prepare all investor claims to be mailed out and overseeing the mailout process                6.00
                      (6),

  7/29/21    AE       Review, revise, finalize, and process claims and send out claims to investors.                 6.00

  7/29/21    PCL      Communications with K. Crawford and G. Besen regarding failure to comply with                  1.10
                      Judge Tolliver order(.3); communications with I<. Crawford, J. McClay, D. Baer
                      regarding Jackson Street property(.2);communications with A. Spencer regarding
                      alleged compliance with Asher production/disclosure obligations(.6).

 7/30/21     JLR      Answer call from Investor Victim, C. Harris, requesting status update for his and               .25
                      his wife's respective Receivership Claims; Discuss the Claim Report mailing.

 7/30/21     JLR      Return the call of Investor Victim, G. Scott, regarding Receivership status update              .25
                      and explain the Receivership.

 7/30/21     JLR      Notified by Clerk of Bullitt County Circuit Court KY, of delivery issue with the                .25
                      filing, Notice of Receivership and Related Stay, in a pending matter in Circuit
                      Court in Bullitt County, l<Y involving Receivership Defendants.

 7/30/21     JLR      Return the call of Investor Victim, D. Davenport, as scheduled for today 7/30                   .so
                      regarding her concerns over recent communications with individuals that sound
                      like the Receivership Defendants; Listen to her concerns.

 7/30/21     CAM      Final quality check of all investor claims to be delivered to the post office and              6.00
                      overseeing the tinal mail out process.

 7/30/21     AE       Review, revise, finalize, and process claims and send out claims to investors.                 6.00

 7/30/21     PCL      Communications with K. Crawford regarding A. Spencer 7 /29/                                    1.70
                      letter(.3);comhumlcations with J. Buffa, R. Foelber and I(. Crawford regarding
                      claims package(.4) communications with S. Thomas and I<. Crawford regarding         c.
                      Cruz/MaglcStar document request(.4)communications with G. Besen and L.
                      Devaney regarding retainer background, C. Cruz connections(.6) .



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                                                                                           SCHEEF & STONE, LLP
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     Date    Atty    Desorlptlon                                                                                 lllours

  8/02/21   JLR      Draft and send responsive email to Investor Victim J, Ihrke, no_tifying him that the           .25
                     Claim Report was mailed on 7/30.

  8/02/21   CAM     Review emails and phone calls from investors and respond to all and prepare                    6.50
                    memo to file regarding same {3); begin work of preparing claims value
                    spreadsheet In anticipation of future interim distribution (3); download and
                    complete application for gas service to be established 404 N. Wanamaker St. in
                    Philadelphia and follow-up with additional documentation requested (.5).

  8/02/21   PCL     Communications with K. Crawford, D. Baer, J. MacClay regarding Penn                             .20
                    street, utilities, Wannamaker.

  8/02/21   AS      Catalogued broker commissions on excel.                                                       2.00

  8/03/21   CAM     Receive and review voicemails from investors requesting status of case and                    6.00
                    returning calls accordingly {1.2); respond to various emails from investors
                    seeking assistance with their claims and status of the case {.8); work on claims
                    value database post-claims mail out and begin process of preparing for future
                    processes (4).

  8/03/21   PCL     Communications with K. Crawford regarding status of hearings on pending                        .90
                    motions, retainer related correspondence to Quinn Emanuel and Bradley Arant,
                    et al(.4); draft/revise response to S. Thomas regarding C. Cruz/MagicStar
                    document request( .6); communications with J. Mcwright and K. Crawford
                    regarding case status(.3).

  8/03/21   AS      Obtain broker Information for their subpoenas.                                                2.50

  8/04/21   AEC     Conference with Kelly Crawford regarding demand letters to brokers; reviewed                   .60
                    motion to extend deadlines establishing claims for adjudicatiot1 process.

 8/04/21    JLR     Answer the call of Investor Victim, S. McCauley, to address his questions as to                .25
                    prior Information exchanged, status update, and explain the Claim Report
                    information he should be receiving shortly.

 8/04/21    JLR     Draft Receiver's Motion for Appointment of Appraisers, Approval of Appraisals of              1.75
                    Certain One Additional Real Property, and Setting Hearing Regarding Approval of
                    Sale as to the Wanamaker Property.

 8/04/21    JLR     Draft Proposed Order granting Receiver's Motion for Appointment of Appraisers,                 .so
                    Approval of Appraisals of Certain One Additional Real Property, and Setting
                    Hearing Regarding Approval of Sale as to the Wanamal<er Property.

 8/04/21    JLR     Draft Appendix in Support of Receiver's Motion for Appointment of Appraisers,                 1.00
                    Approval of Appraisals of Certain One Additional Real Property, and Setting
                    Hearing Regarding Approval of Sale as to the Wanamaker Property.

 8/04/21    CAM     Monitor receivership phone line and log In and return investor calls regarding                5.00
                    various claim issues; memo to file regarding same (2.5); continue work on claims
                    value database and begin process of removing investors who have not filed
                    formal claims (2.5),


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     Date   Atty    Description,                                                                             I-fours

  8/05/21   JLR     Receipt of and listen to multiple voicemails from Investor Victim, M . Strauss;             .25
                    Return the call of Investor Victim, M. Strauss, to discuss several points of
                    confusion regarding her receipt and review of the information in the Claim
                    Report mailing; Schedule follow-up call to address the same

  8/05/21   CAM    Receive and review email from investor J. Snider regarding his allowed claim               5.50
                   value, and follow -up phone conversation requestl t\g that his email be treated as
                   a formal objection; print off all emails and attachments concerning Mr. Snider's
                   claim and present to the Receiver as a formal objection and officially log in his
                   objectio11 and document file regarding same (1).      Receive, review and respond
                   to various other investor's calls/emails regarding claim values and provide
                   answers and possible solutions to all; memo to file regarding same (1.5); finalize
                   clean up of claims value database holding claims 900-1499 and bifurcate the
                   claims based on source of payment (2.5); telephone call to Brager Tax Law and
                   Cresa to determine if checks written to Tower/Lucas Asher are still valid and
                   email to Receiver regarding same (.5).

  8/05/21   PCL    Communications with I<. Crawford regarding response to 5, Thomas and                       1.50
                   drafting/revision of same.

  8/06/21   CAM    Continue working on database to prepare for future distribution of funds (1.5);            5.50
                   receive and return many calls from investors regarding their recommended
                   allowed claitn value; memo to file regarding same (4).

 8/06/21    PCL    Communications with ·S. Thomas and K. Crawford regarding Cruz/MagicStar                     .40
                   document request and related file review .

 8/09/21    CAM    Telephone call to Philadelphia Gas Works to finalize account for property                   .so
                   on Wanamaker St.; email to Receiver regarding same (.5).

 8/09/2l    CAM    T/c from many investors regarding claim packages received; return and                      4.50
                   document all calls, emails, revised claims and update call log and amended
                   claims log,

 8/09/21    PCL    Communications with 5. Thomas and I<. Crawford regarding Cruz/MagicStar                    3.10
                   document production request and/or related file review(.5); communications
                   with K. Crawford and B. Given regarding jewelry reconciliation, transmission of
                   related spreadsheets and related file review(l.0); communications with J, Buffa,
                   K. Crawford and R. Foelber regarding Asher publicity spots( .8); communications
                   with K. Crawford and A, Cook regarding broker demand letters and backup and/or
                   related review of same(.60); communications with I<. Crawford, J. Mcclay, D. Baer
                   regarding Wannaker utility issues(.2).

 8/10/21    PCL    Communications with K. Crawford, D. Baer, et al regarding Philadelphia                     1.20
                   properties(.3); comm unications with I<. Crawford regarding S.
                   Thomas/C.Cruz/MagicStar response to document production and related file
                   review( .5); communications with B. Skupln and I<. Crawford regarding Rule 65
                   research(.2); communications with !<.Crawford regarding patent research( .2) .

 8/11/21    AEC    Conference with Receiver regarding letters to brokers.                                      .80


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                                                                                             SCHEEF & STONE, LLP
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     Date    Atty    Description                                                                                 Hpurs

  8/11/21    ABS     Research regarding application of receivership order to non-parties (4) .                     4.00

  8/11/21   JLR      Revise Receiver's Motion for Appointment of Appraisers, Approval of Appraisals                1.00
                     of Certain One Additional Real Property, and Setting Hearing Regarding Approval
                     of Sale to incorporate the revisions of I<. Crawford for seller's assist

  8/11/21   JLR     Receipt of and listen to multiple voicemalls from Investor Victim, I<. Randall,                 ,so
                    regarding questions as to receipt of his Claim Report Information; Telephone call
                    with Investor Victim, I<. Randall, to answer his questions regarding the Claim
                    Report Information and explain the calculation of his total recommended claim
                    and what that means In terms of recovety.

  8/11/21   JLR     Receipt and review of email correspondence from Investor Victim, M. Smith and                   .so
                    his wife, K. Smith, detailing information In support of their contention that M.
                    Smith's Investor Claim was wrongfully calculated and review additional attached
                    documentation supporting substantially higher initial purchase Invoice with
                    Barrick; Prepare and provide to C. Morris for additional review; Draft and send
                    email notifying Investor Victim couple that we are reviewing the provided
                    information and attachments and will be in touch regarding Investor Claim .

  8/11/21   JLR     Draft Proposed Order Granting Receiver's Notice of Receivership and Related                   2.25
                    Stay and Ordering Stay in 8. Cravens et al. lawsuit in Bullet County, KY involving
                    Receivership Defendants; Telephone call with the Bullet County Clerk's Office to
                    correct prior filing via hardcopy mall; Incorporate said Instructions from the
                    Clerk; Contact the l(entucky Court of Appeals as the B. Cravens et al. lawsuit
                    Involving Receivership Defendants is pending appeal as to compel arbitration;
                    Answer return call from the Clerk of the Kentucky Court of Appeals and discuss
                    process to file Notice of Receivership and Related Stay; Interoffice email to
                    locate local counsel as is required to file In the Kentucky Appellate Coutt.

 8/11/21    JLR     Revise Receiver's Motion for Appointment of Appraisers, Approval of Appraisals                2.25
                    of Certain One Additional Real Property, and Setting Hearing Regarding Approval
                    of Sale to now incorporate second additional property (Rosemar); Revise
                    Appendix to reflect the addition of the Rosemar property; Revise adn re-prepare
                    the exhibits to reflect the Rose mar contract and respective appraisals; Revise
                    Order granting the same to reflect additional Rosemar Propetty.

 8/11/21    JLR     Receipt of and listen to voicemail from Investor Victim, R. Reisner, requesting                .25
                    explanation as to the Claim Report information and if any action is required;
                    Return the call of Investor Victim, R. Reisner, to explain that no action is required
                    and explain the calculation of her total recommended claim value.

 8/11/21    JLR     Receipt of and listen to voicemail from Investor Victim, C. Richardson, requesting             .25
                    explanation as to the Claim Report information and confusion as to whether or
                    not she had to complete and return something to the receiver; Return the call of
                    same and explain the Claim Report information and explain that no action is
                    required unless she elected to object to the total recommended claim value.




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     Date   Atty    Desc~lptlon                                                                                Hour.s

  8/11/21   JLR    Receipt of and listen to multiple voicemails from Investor Victim, T. Gallen,                  .25
                   regarding confusion as to the Claim Report information, if the total
                   recommended claim value was guaranteed to be received, and whether he had
                   to send anything back; Return the call of the same to explain the Claim Report
                   Information, recovery of the total recommended claim value, and whether action
                   was required .

  8/11/21   CAM    Receive and review numerous emails/phone calls regarding claims. Respond to                   6.00
                   each and every claim issue, update all databases and log sheets, generate
                   amended claims when necessary, memo to file regarding same.

  8/11/21   PCL    Communications with !<.Crawford regarding Carlos Cruz(.3); communications                    1.80
                   with !<.Crawford regarding contempt Asher and Batashvili new contempt motion
                   (.6);communications with K. Crawford and B. Skupin regarding Carlos Cruz Rule
                   65 cases research and related review of same(.6);communications with D. Baer,
                   J, McClay and K.Crawford regarding Wannamaker, et al., property issues(.4).

  8/12/21   AEC    Draft 24 letters to brokers regarding fraudulent commissions.                                1.50

  8/12/21   JLR    Receipt and review of email correspondences between interoffice partner and                   .25
                   referral attorney to potentially serve as local counsel in l<entucky as is required
                   to file a Notice of Receivership and Related Stay in the l<entucky Court of Appeals
                   for a pending case involving Receivership Defendants; Receipt and review of
                   email correspondence back regarding unavailability to file as no experience with
                   the l<entucky Court of Appeals; Draft and send responsive email seeking another
                   potential referral.

 8/12/21    JLR    Prepare and provide list of outstanding individuals with pending Bayside Metals               .50
                   inclusive on contact issues and contact attempt details.

 8/12/21    JLR    Review of Receivership Investor Confirmation Information to determine whether                 .so
                   individuals with pending Bayside Metals filed a claim in the Receivership; Draft
                   and send results of same to I<. Crawford.

 8/12/21    JLR    Receipt and review of email correspondence from potential, now unavailable                    .25
                   local counsel in l<entucky regarding referral of other local counsel; Telephone call
                   to now referred local counsel, T. Sturgeon, requesting assistance with filing in
                   Kentucky Court of Appeals as local counsel is required to file the Notice of
                   Receivership and Related Stay.

 8/12/21    CAM    Receive numerous emails/phone calls regarding claims. Respond to each and                    6.00
                   every claim issue, update all databases and log sheets, generate amended claims
                   when necessary, memo to file regarding same.

 8/12/21    PCL    Communications with !<.Crawford and J.Rolls regarding trial preparation for next             1.10
                   week's hearing on motion to approve sale(.4); communications with !<.Crawford,
                   D. Baer, regarding Wanamaker property(.2); communications with A. Bernstein
                   and K. Crawford regarding D. Bleeden(.3); communications with A. Spencer, J.
                   Buffa, et al. regarding motion to sell tow additional Philadelphia properties and
                   related review of same(.4) .


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     Date    Atty    Descrip~ion                                                                               lfours

  8/13/21   AEC      Finalize and mail letters to brokers regarding fraudulent commissions and                   2.90
                     to provide notice of a possible lawsuit against them.

  8/13/21   CAM     Receive numerous emails/phone calls regarding claims. Respond to each and                    5.75
                    every claim issue, update all databases and log sheets, generate amended claims
                    when necessary, memo to file regarding same.

  8/13/21   CAM     Telephone call to PGW to get meter installed In real property and follow-up                   .50
                    email to receiver and realtor regarding same; calendar follow-up on same (.5).

  8/13/21   PCL     Communications with S. Thomas and I<. Crawford regarding document request                     .40
                    and related follow up with K.Crawford.

  8/15/21   PCL     Communications with A. Bernstein and K. Crawford regarding D.Bleeden.                         .20

  8/16/21   AEC     Reviewed letter from Jeremy Brown advising us that he no longer represents                    .20
                    Ms. Hunter.

  8/16/21   AEC     Draft and mail new letter to Athena Hunter regarding fraudulent commissions.                 .20

  8/16/21   AEC     Reviewed letter from counsel regarding Alexander Flamer and that he no longer                .50
                    represents him; Revised letter and mailed new letter directly to A. ~lamer.

  8/16/21   CAM     Receive and respond to numerous emails and calls regarding claims and the need              5.50
                    to amend; spend time in database searching for investor's Information in order
                    to complete their calculations; log in all calls and log all amended claims and
                    prepare memo to file regarding all claims amended and calls logged.

 8/16/21    PCL     Review email/file history with S. Thomas, draft/finalize response to 5. Thomas              2.30
                    and related communications with K. Crawford(l.8); communications with B.
                    Given and I<. Crawford regarding missing jewelry(.2); communications with .I.
                    Brown, A. Cook, IC Crawford regarding Hunter letter(.3).

 8/17/21    JLR     Receipt of and listen to multiple voicemalls and review of email correspondence              .25
                    from Investor Victim, J. Gearhart, regarding questions as to his Claim Repott
                    Information packet; Return the call of Investor Victim, J. Gearhart, to address his
                    questions of calculation of claim, objection, and whether anything is required to
                    be returned.

 8/17/21    JLR     Receipt of and listen to multiple voicemails from Investor Victim, W. Eaci<er,               .25
                    regarding confusion as to his Claim Report information packet; Return the call of
                    the same to review the Claim Report together; Schedule additional time to speak
                    regarding the Claim calculation and recovery aspect of the same.

 8/17/21    CAM     Conference with Receiver regarding lntrinio and current mailing address;                     .20
                    research corporate records regarding sa,ne (.2).




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     Date   Atty    Description                                                                                     !fours

  8/17/21   CAM     Receive and review letters from five investors regarding their claims and the                    6.00
                    need to amend based on new information; amend claims and prepare letter to
                    forward amended claims to the five investors; log amended claim values for
                    fl,.tture reporting; memos to file (2.5); continue responding to many investor calls
                    concerning their claims and addressing all issues as well as noting the file
                    regarding same (2.5); research address and delivery issues for Receiver on
                    correspondence directed to lntrinio, Inc. and forward the necessary information
                    and contacts to Receiver regarding same (.5); receive email request from
                    Receiver and Realtor to get utilities turned on for 6616 Chew Avenue in
                    Philadelphia (.5).

  8/17/21   PCL    Communications with K. Crawford, J. Buffa and/or R. Foelber regarding Lucas                       2.60
                   Asher et al. Issues and research and related file review(l.9);communications with
                   D. Baer and K. Crawford regarding Rhawn,Rosemar and Cheltenham
                   properties(.4);communlcations with I<. Crawford regarding
                                      (.3).

  8/17/21   DW     Researching subordination of creditor claims to Investor claims.                                  2.00

  8/18/21   MHS    Review various communications between Receiver and Jennifer Hacker in light of                     .40
                   employment issues.

  8/18/21   JLR    Interoffice telephone call with P. Lewis regarding preparation (trial binders, script              .25
                   for cross examine, and powerpolnt etc.) for 8/19 Hearing on the Receiver's two
                   (2) applications for the six (6) Philadelphia Receivership Properties.

  8/18/21   JLR    Answer call from Investor Victim, W. Eacker, regarding further review and                          .25
                   explanation of his computed Claim Report value and information detailed
                   therein as scheduled.

 8/18/21    JLR    Prepare 5 hearing binders, hearing script, direct examination questions of I<.               10.25
                   Crawford, proposed Order Authorizing the Receiver's Sale of Certain Real
                   Property; Create hearing PowerPoint as to the Receiver's Two Motions for
                   Appointment of Appraisers, Appraisals, and Hearing for Sale of 6 Real Properties
                   in PA; Revise 5 Hearing Binders to include 3 additional Receivership Orders and a
                   copy of the Legal Notice ran in the Philadelphia Inquirer; Create Table of
                   Contents and Cover Page for the Hearing Binders.

 8/18/21    CAM    Work with PECO to establish utility service at 6616 Chew Ave in Philadelphia, and                2.20
                   send application for gas services to PG Works (1.5); receive and review the PGW
                   Invoice for 404 N. Wanamaker and forward to Receiver for payment {.2); create
                   excel chart to track and monitor Philadelphia real property sales and expenses
                   (.5) .

 8/18/21    PCL    Prepare for hearing tomorrow on motion to confirm sale of six Philadelphia                       2.90
                   properties, related communications with J. Rolls and K. Crawford and related file
                   review.

 8/18/21    ow     Finished researched, drafted and emailed memo to I<. Crawford.                                   1.00



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                                                                                           SCHEEF & STONE, LLP
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     Date    Atty    Description                                                                              Hours

  8/19/21   JLR     Prepare and review hearing binders for correct 21 exhibits, print copies of the             3.75
                    respective proposed Order, Script, Legal Notice, and Document Index for P. Lewis
                    and I<. Crawford; Transfer hearing PowerPolnt to laptop for presentation at the
                    hearing; Attend hearing as to set up and present PowerPoint.

  8/19/21   CAM     Follow-up with PG Works on recent invoice received on 404 Wanamaker as well                 6.30
                    as service request for property located at 6616 Chew Avenue and 5135 Jackson
                    St. and telephone call to realtor regarding same; document file (.5). Receive
                    official claim objection and log and document same (.2); receive and respond to
                    numerous emails and phone calls from investors on claims issues, including
                    providing information t·egardlng next steps, reviewing and amending claims as
                    appropriate, logging in all claim amendments for reporting purposes;
                    documenting file regarding same (5). Discussion with Receiver regarding real
                    property insurance needs and coordinate same with insurance broker J. Meehan,
                    and forward all necessary information needed (.6).

  8/19/21   PCL     Prepare for and attend hearing on motion to confirm sale of six Philadelphia               6.80
                    properties with J.Rolls and I( Crawford and related file review(
                    4.0);cornrnunications with D.Baer and K.Crawford regarding Jackson Street
                    lssues(.l);communications with J. Wright and !(.Crawford regarding declaration
                    and related review of same(.4);communicatlons with K. Crawford et al, regarding
                    C. Cruz/MagicStar and related file review(.5); communications with K. Crawford
                    regarding F.McCarthy jewelry and related review of jewelry pictures(.4); review
                    of NASDAQ document and related follow up with K.Crawford, J. Buffa and
                    R.Foelber(l.4) .

 8/20/21    CAM     Telephone call to and from J. Meeham regarding Philadelphia properties                     6.70
                    insurance coverage needs and email all details regarding same (.5); telephone
                    call and email exchange with investor regarding claim amendment, adjust claims
                    value in database and log Into claim amendments log sheet for reporting
                    purposes, and memo to file (8); telephone call with potential investor and
                    research same, memo to file (.5); research court filed documents on the notices
                    of sale for real properties in Philadelphia and update Philadelphia Prope,ties
                    detail spreadsheet (.4); organize and analyze claim data for top over priced coins
                    (2.5); receive numerous email/phone inquiries from investors and respond to
                    each (2).

 8/20/21    ow      Researched WL head notes of J.K. Publications. Researched receivership specific            2.90
                    cases dealing with general intangibles. Drafted memo and emailed same to K.
                    Crawford.

 8/23/21    WSY     Confer with James Stafford Ill concerning addresses from which Defendants' mail             .20
                    was diverted to the Receiver's office and sencl confirmation of the sah1e.

 8/23/21    JLR     Receipt and review of email correspondence from Investor Victim, S. Gaw,                    .25
                    regarding his claim and confusion as to timing of receipt of claim; Telephone call
                    to the same to address the emailed issues.




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                                                                                          SCHEEF & STONE, LLP
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     Date   Atty    Description                                                                                Hours

  8/23/21   JLR     Contact the Clerk's Office of the Bullitt County District Courts in Kentucky to               .25
                    confirm receipt of ou r as required mailed Notice of Receivership and Related Stay;
                    Clerk could not confirm receipt as a delay in mail due to personnel shortage.

  8/23/21   JLR    Receipt and review of email correspondences from potential local counsel in                    .25
                   Kentucky, T. Sturgeon, regarding serving as loca l counsel to file Notice of
                   Receivership and Related Stay In the Kentucky Court of Appeals as local Pro Hae
                   Counsel is required by the Court; Receipt of and listen to voicemail from T.
                   Sturgeon regarding the same.

  8/23/21   JLR    Draft and send responsive email to potential local counsel in Kentucky, T.                     .SO
                   Sturgeon, to provide the requested conflicts check Information and detail our
                   need for local counsel as is required to file the respective Notice of Receivership
                   and Related Stay in the Kentucky Court of Appeals; Advise J. Stafford of status
                   pend ing conflicts and the T. Sturgeon's response; Receipt and review of
                   responsive email back from T. Strugeon regarding conflicts check and potential
                   assistance; Draft and send responsive email to the same confirming receipt and
                   awaiting conflicts.

  8/23/21   CAM    Receive and return numerous telephone and email inquiries from investors on                  5.20
                   claims packages received, next steps, memo to file (2).

  8/23/21   CAM    Receive email from attorney for investor who just learned of the receivership                3.20
                   and discuss details concerning the claim and document same {.5); Follow- up
                   email sent to J. Meeham regarding Insurance quote needed for Philadelphia
                   properties and communicate back to Receiver {.2); Receive several calls from
                   investor and prepare letter to investor concerning her claim (.5); Continue
                   analysis of claims value data for additional reporting needs of the Receiver and
                   prepare chart for Receiver regarding same (2).

 8/23/21    DW     Reviewed email thread from P. Lewis; researched whether a larger transfer of                 5.10
                   funds counts as acting in "active concert or participation". Discussion with P.
                   Lewis on further research.

 8/24/21    AEC    Reviewed correspondence from attorney regarding representation of                             .20
                   Mr. Ferdman.

 8/24/21    JLR    Receipt and review of Invoice from the Philadelphia Inquirer regarding payment                ,50
                   for legal notice of the 6 Philadelphia Properties; Telephone call to and
                   subsequent email to Credit Account of the paper to address confusion as
                   payment was made prior to the legal notice running.

 8/24/21    JLR    Interoffice assistance to C. Morris with providing information as to individual               .25
                   Investors with pending Bayside metals necessary to address inquiries from
                   attorney of potential Investor Victim.




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                                                                                            SCHEEF & STONE, LLP

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     Date    Atty    Descr.iption                                                                                Hol.lrs

  8/24/21   JLR     Receipt and review of email correspondence from potential local counsel in                      .50
                    l<entucky confirming the clearing of conflicts and ability to act as local counsel to
                    file Notice of Receivership and Related Stay in the KY Court of Appeals as is
                    required to have local counsel; Draft and send responsive email to the same
                    regarding set up of teleconference to engage and begin the process of filing the
                    necessary aforementioned; Receipt and review of subsequent email from local
                    counsel, T. Sturgeon, regarding teleconference call for 8/25; Send responsive
                    email to the same providing teleconference confirmation and details.

  8/24/21   CAM     Follow-up on gas service for 5135 Jackson St. in Philadelphia as to why gas was               6.20
                    not turned on, email to realtor regarding same and memo to file (.5); Many
                    telephone calls to and from various investors on claim amendments, work in
                    amendments to database and log into claim adjustments log sheet for Receiver's
                    reporting purposes and memo to file regarding same {3.2); Email from Receiver
                    on utilities for 404 N. Wanamaker St. In Philadelphia; telephone call to PECO
                    regarding same; memo to file and log into Philadelphia Properties spreadsheet
                    (,5); Continue clean up efforts on the claims value databases and begin preparing
                    for next steps (1.5), telephone call to utility meter inspector regarding obtaining
                    an underwriting certificate prior to getting utility service and arrange payment
                    and schedule of same, email to Receiver and realtor regarding same (.5) .

  8/24/21   ow      Drafted memo and sent to P, Lewis.                                                            3.50

 8/25/21    JLR     Telephone conference with potential local counsel, T. Sturgeon, regarding                      .75
                    engagement and scope of enagement as local counsel for filing of Notice of
                    Receivership and Related Stay with J. Stafford as required by the KV Court of
                    Appeals; Receipt and review of subsequent email correspondence from T,
                    Sturgeon with attached proposed engagement letter; Provide to J. Stafford for
                    review and approval by I<. Crawford; Draft and send responsive email to T.
                    Sturgeon with attached Notice of Receivership and Related Stay.

 8/25/21    JLR     Receipt of and listen to voicernail from D. Stokes of the Philadelphia Inquirer                .25
                    Accounting Department regarding confirmation of disregarding outstanding
                    Invoice as to the running of the six (6) Philadelphia Properties July 2021 Legal
                    Notice.

 8/25/21    JLR     Receipt and review of email correspondence from Investor Victim, S. Altman,                    .25
                    regarding submission of her objection to Total Investor Claim Value and
                    questions as to the next step; Draft and send responsive email to the same.

 8/25/21    JLR     Interoffice conference with I<. Crawford regarding need for review of proposed                1.00
                    Deeds of the respective six (6) Philadelphia Propenies approved for sale; Review
                    of the respective Deeds to confirm value, buyer information, and property
                    address as to executed contracts; Notify K. Crawford of discrepancies in four (4)
                    properties' information; Draft email detailing the specific discrepancies for K.
                    Crawford for relaying the same tb the Title Company.




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                                                                                         SCHEEF & STONE, LLP

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     Date   Atty    Description                                                                              Hours

  8/25/21   JLR     Receipt of and listen to voicemail from Investor Victim, M. Strauss, requesting a           .so
                    return call regarding an unidentified Receivership Question; Return the call of
                    the same.

  8/25/21   JLR    Receipt and review of subsequent email correspondence from engaged local                     .25
                   counsel, G. Sumner, regarding update as to contact with the Clerk of the
                   Kentucky Appellate Court; Draft and send responsive email to the same
                   confirming receipt and awaiting direction as to the appropriate procedures of
                   filing the Notice of Receivership and Related Stay.

  8/25/21   CAM    Receive and respond to text from State Inspection Authority regarding meter                4,30
                   repairs needed for 404 N. Wanamaker and report back to Receiver and realtor
                   (.5); Receive email from Trustee Service Group regarding Insurance coverage
                   needs for Philadelphia properties and respond accordingly and memo to file (.8);
                   Telephone call from PGW regarding gas turn on for 5135 Jackson Street and
                   document repairs needed on flex lines leading from basement to stove and
                   heater and email to Receiver and realtor regarding same (.5); Receive and
                   respond to additional investors wanting to adjust their claims and documenting
                   same, amend claim calculation forms for several and log into claim amendments
                   report for the Receiver and memo to file regarding same (2.5).

  8/26/21   JLR    Receipt and review of two separate email correspondences from retained local                .25
                   Kentucky state court counsel, G. Sumner and T. Sturgeon, regarding contact with
                   the Chief Deputy Clerk of KY Court of Appeals and requesting telephone
                   conference; Draft and send responsive email to both setting telephone
                   conference and execution of the proposed Engagement Agreement.

 8/26/21    JLR    Telephone conference call with local KY counsel G. Sumner discussing the Deputy             .75
                   Clerk of the l<Y Court of Appeals procedural response to filing the necessary
                   Notice of Receivership and Related Stay as required by the Court.

 8/26/21    PCL    Communications with M. Goode and I<. Crawfo,·d i'egarding proposed order on                 ,20
                   Hearing to Approve Sale.

 8/27/21    JSS    Review proposed Notice of Stay in the appeal matter in Kentucky prepared by                 .so
                   local counsel.

 8/28/21    PCL    Communications with K. Crawford, D. Baer regarding Rosemar purchase offer.                  .30

 8/30/21    JLR    Receipt and review of multiple correspondences exchanged between local                      .25
                   retained l<Y counsel, G. Sumner and T, Sturgeon, regarding coordination of
                   Individual conference calls with parties Involved In the state/appealed matter
                   Involving Receivership Defendants.

 8/30/21    JLR    Receipt and review of email correspondence from retained local KY counsel, T.               .so
                   Sturgeon and G. Stunner, regarding Entry of Appearance, Notice of Receivership,
                   Exhibits A-D, and Executed Engagement Letter; Review and analysis of the
                   aforementioned documents; Interoffice conference with J. Stafford regarding
                   revisions to the documents acceptable to the Receivership as to correct
                   representation of the respective Receivership Defendants.


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     Date    Atty    Description                                                                                  l:tours
  8/30/21   JLR      Telephone conference call with J. Stafford, local retained l<Y Counsel, G. Sutrmer,             .so
                     and counsel for New Direction regarding curtesy call as to the filing of Notice of
                     Receivership and Related Stay in the l<entucky Court of Appeals; Discuss New
                     Direction's frustrations as to the same,

  8/30/21   JLR     Answer call from Investor Victim, W. Eacker, regarding three thousand dollar                     ,25
                    discrepancy In his calculated Investor Claim Value; Discussion as to his right to
                    object and coordination to speak w M. Morris regarding the same.

  8/30/21   JLR     Answer telephone call from Investor Victim, D. Burch, regarding question as to                   .SO
                    calculating his Total Recommended Claim Value and explained what that value
                    means in terms of recovery; Encourage him to contact New Direction to receive
                    purchase paperwork to verify the information provided on his Investor Claim
                    Calculation .

  8/30/21   JSS     Communications with local counsel in l<entucky appeal matter scheduling                          .25
                    conference with counsel of record in light of entry of Notice of Receivership,

  8/30/21   JSS     Telephone co11fere11ce with local counsel and adverse counsel regarding Notice                  .so
                    of Stay filing. E-mail communication regarding same.

  8/30/21   PCL     Communications with I<. crawford regarding letter to G. Besen regarding                        1.80
                    receivership contempt order issues and related review/revision of
                    letter(.4);comtnunicatlons with I<. Crawford and D. Baer regarding Chew and
                    Rhawn properties(.3);review G. Besen correspondence (.3); communications
                    with J Buffa, I<. Crawford, R. Foelber regarding status of receivership/related
                    lssues(.80).

 8/31/21    JLR     Telephone conference call with J. Stafford, local retained l<Y counsel, T. Sturgeon,            .75
                    and Plaintiffs' Counsel, M. Valenti, regarding Plaintiffs' opposition to the filing of
                    the Notice of Receivership and Related Stay; Discussion as to application of the
                    Stay over third-party New Direction; Provide to J. Stafford two (2) prior class
                    action cases filed against custodians Entrust and New Direction to review in
                    response to allegations made during the respective conference call.

 8/31/21    JLR     Draft Receiver's Motion for Appointment of Appraisers, Approval of Appraisals of               1.25
                    Certain Real Property, and Setting Hearing Regarding Approval of Sale as to the
                    Rosemar Property.

 8/31/21    JLR     Draft and prepare Appendix in Support of Receiver's Motion for Appointment of                   .50
                    Appraisers, Approval of Appraisals of Certain Real Property, and Setting Hearing
                    Regarding Approval of Sale.

 8/31/21    JLR     D1•aft Order Appointing Appraisers, Approving Appraisals, and Setting Hearing                   .25
                    Regarding Approval of Sale of Certain Real Property.

 8/31/21    PCL     Communications with I(, Crawford regarding show/cause contempt motion                           ,90
                    against Asher and Batashvili and begin review(.5); );communications with I<.
                    Crawford regarding letter to G. Besen regarding receivership contempt order
                    issues and related review(.4).


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     Date   Atty    Description                                                                               Hours

  9/01/21   JLR    Interoffice conference with C. Morris regarding objection made by Whipple Law                 .25
                   Firm on behalf of Investor Victim, D. Zeihen; Discussion as to how to respond to
                   claim of no receipt of metals via a Declaration.

  9/01/21   CAM    Analyze data from metals database and prepare chart showing four top                         2.50
                   overpriced coins and the average unit price as well as the over all dollars
                   invested for each over priced coin.

  9/01/21   CAM    Work on getting PECO utility service for 404 N. Wannamaker, Philadelphia;                   2.00
                   several telephone calls reeardine the underwriting certificate and the Inability of
                   applying for utilities on-line, and ultimately getting service set up by phone as
                   opposed to on line.

  9/01/21   CAM    Receive phone calls and emails from investors regarding metals claims and                   3.00
                   responding to all and memo to file for each, as well as prepare amended claims
                   for several.

  9/01/21   PCL    Communications with D, Baer, K. Crawford regarding Wanamaker and Rhawn                      1,10
                   properties(.3); communications with K. Crawford ,et al., regarding coin
                   prices/brokers compla1nt(.4); communications with L.l<umin, K. Crawford
                   regarding lntrinlo document production request(.4) .

  9/01/21   ow     Spoke to I<. Crawford regarding research for case law that supports our claim                .70
                   that a receiver can be a custodian for a business record in the exception to the
                   hearsay rule.

 9/02/21    AEC    Conference with K. Crawford regarding broker letters; Develop spreadsheet to                1.00
                   track letters.

 9/02/21    JLR    Answer call from Investor Victim, B. Revere, requesting explanation as to                    .25
                   recovery of her Investor Claim and statlls update as to the Receivership; Explain
                   to B. Revere recovery and the present Clain1 objections process.

 9/02/21    CAM    Extended phone calls to and from Philadelphia Water and email documet1ts                    6,70
                   necessary to get water turned on to 404 N. Wannamaker; follow up on the PECO
                   electric hook up; email to realtor regarding same (1.5); Research PayPal General
                   Counsel contact information and forwc1rd same to Receiver. (.2); Numerous
                   emails and phone calls from Investors regarding claims and respond to all, and
                   amend where necessary and document file for all (5).

 9/02/21    PCL    Communications with K. Crawford. D. Baer, et al., regarding Wannamaker                       .50
                   property issues(.2); communications with I<. Crawford, A. Spencer, R. Foelber, J.
                   Buffa, et al., regarding conditional withdrawal grounds, Asher production
                   deficiencies.

 9/02/21    ow     Spoke to I<. Crawford regarding: letter from CA Franchise Tax Board; letter from             .50
                   Oregon DOR; letter from Sacramento EDD; and Information Document Request
                   from IRS. We discussed the letters that he wants me to draft responding to each.




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     bate   Atty    Descr:lption                                                                             HOUl'S

  9/03/21   CAM    Review defendants' records to try and locate purchase information for investor              7.00
                   M. Johnson (.5); Email and telephone call with M. Rogers regarding non-metal
                   claim; review all documentation; email to Receiver regarding recommended
                   claim adjustment and finalize same to email to investor; memo to file regarding
                   same (1.2); Telephone calls and emails with three additional Investors who just
                   became aware of the receivership, and spend significant time searching
                   defendant records for any information regarding same; memo to file (1.5);
                   Continue reviewing and responding to investors' emails and phone calls
                   regarding their claims and the status of the case; memo to file regarding same
                   (3.5); Telephone call with attorney for investor D. Zeihen regarding formal claim
                   objection and discuss same; email to receiver to amend claim (,30).

  9/03/21   PCL    Communications with A. Cook and I<. Crawford regarding broker complaint                      .80
                   revlew(.3): communications with I<. Crawford and L. Kum in regarding lntrinio call
                   and document request and related file review(.S).

  9/03/21   DW     Drafted petition to challenge assessment by the California EDD in form of a letter         2.50
                   by I<. Crawford.

  9/04/21   PCL    Communications with K. Crawford regarding Asher/Batashvili contempt/show                   1.30
                   cause motion and related review/editing of same(.9); communications with I<.
                   Crawford regarding lntrinio production lssues(.4).

  9/07/21   AEC    Revise draft complaint to update all contact Information and ensure all of                 3.00
                   the brokers are added.

 9/07/21    CAM    Receive phone calls and emails from numerous investors regarding claims                    5.20
                   packages received and respond to all, as well as document file regarding same
                   (2.5); amend various claims according to new information and forward to
                   investors and document file regarding same (1.5); work with investor L. Yarter
                   regarding his wife's claim and analyze spreadsheets documenting all metals
                   transactions and update spreadsheet regarding same (1.2) .

 9/07/21    PCL    Communications with A. Bernstein regarding David Bleeden negotiatioils and                 1.90
                   related file review and follow up with l(elly Crawford; (8)communications with K.
                   Crawford regarding sale price for Philadelphia property (.2).

 9/07/21    PCL    Communications with J. Mcclay, D. Baer, I<. Crawford regarding Chew purchase               1.70
                   offer (.2);communications with I<. Crawford and L. l<umin regarding lntrinlo
                   production(.3); communications with I<. Crawford and A. Bernstein regarding D.
                   Bleeden(.3); review and revise Asher, Batashvili contempt motion and related
                   communications with I<. Crawford(.9).

 9/08/21    AEC    Draft email outlining the brokers, entities, and amounts they are bring sued               1.00
                   for to assist in drafting status report.

 9/08/21    AEC    Revise complaint to ensure accurate broker information .                                   1.50




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     Date   Atty   Description                                                                               Ho1.1rs
  9/08/21   CAM    Telephone call with investor L. Yarter on his wife's amended claim, finalize same           4.80
                   and email/mail out to investor and document file (.5); Receive and return phone
                   calls and emails from various investors requesting updates and claim changes (2);
                   Review Philadelphia properties detail spreadsheet and update all RP insurance
                   costs and other related expenses (1.5); Telephone call with two additional
                   unreported investors and obtain necessary information to add their metals
                   claims (.8),

  9/08/21   JSS    Prepare regulatory update to Receiver in preparation for Receiver's update to                .25
                   Court.

  9/08/21   PCL    Communications with I<. Crawford and L. Kumin regarding lntrlnio document                  3.40
                   production and related file review(.8) communications with A. Bernstein and I<.
                   Crawford regarding D. Bleeden broker commission settlement(l.0);
                   communications with J. Buffa, R. Foelber and I<. Crawford regarding status/ latest
                   developments and file review(.6); communications with I<. Crawford regarding
                   C.Cruz/MagicStar motion to compel document production and related file
                   review(.4): communications with D. Baer, I<. nawford regarding
                   Cheltenham/Chew property issues (.3); communications with A. Cook and I<.
                   Crawford regarding brokers complaint review/revisions(.3),

  9/09/21   AEC    Draft schedules to add to the complaint; Update broker information                         4.00
                   in complaint.

 9/09/21    CAM    Reviewing claim information from many investors to determine if an objection is            4.50
                   being lodged and add to respective investor files (1); return investor calls and
                   emails received concerning claim adjustments, update data base, email
                   confirmation to investor, document file (3.5) .

 9/09/21    PCL    Communications with A. Cook and I<. Crawford regarding Broker complaint                     .90
                   revisions/issues(,5);comrnunications With I<. Crawford, J, Buffa, R. Foelber
                   regarding J. McWright regarding declaration and/or related review of same(.4).

 9/10/21    AEC    Draft David Bleededn schedule based upon new information provided,                          ,80

 9/10/21    JLR    Receipt of and listen to multiple voicemalls from Investor Victim, S.                       .50
                   Hammerlund, regarding confusion as to receipt and understanding of Investor
                   Claim Packet and her recovery of the same; Schedule additional telephone
                   appointment to further explain the information and her individual claim and
                   recovery of the same.




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                                                                                          SCHEEF & STONE, LLP
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     Date    Atty    Description                                                                               Hours

  9/10/21   CAM     Review extension notice for change of address of defendants in CA and talk to                6.40
                    USPS regarding same (.5); telephone call from investor D. Spencer regarding late
                    filed claim, gather details, prepare claim form, update database, document file,
                    and email to Investor (1.5); Review email from J. Stafford regarding MT investors
                    and research same, locate discrepancies in total claims value and adjust
                    accordingly, report back to J. Stafford, and memo to file (1.2); telephone to
                    investor EH from Montana regarding metals claim, gather details, prepare claim
                    form, update database, document file, and email to investor (1 .5); Review email
                    from PayPal with encrypted files for two PayPal accounts, download files and
                    update file regarding same (.5); Receive and address many calls from investors
                    wanting to know the next steps in the claims process and addressing other
                    claims issues (1.2).

  9/10/21   PCL     Communications with J. Buffa, K. Crawford regarding latest                                  1.30
                    developments(.4):communlcations with I<. Crawford, R. Foelber, J. Buffa
                    regarding Fifth Fee Application draft and/or related review(.4); communications
                    with K. Crawford and A. Cool< regarding D. Bleeden commissions and broker
                    complaint and schedules and related review of file/ draft complaint(.5),

  9/13/21   AEC     Revise David Bleeden's schedule to attach to receiver's complaint; Work on                  1.75
                    exhibits for broker complaints specially information regarding payments.

  9/13/21   JLR     Answer call from Investor Victim, J. Gearhart, regarding confirmation as he                  .25
                    couldn't remember that if he wasn't contesting his Claim Value that no action
                    was required; Confirmed the same.

  9/13/21   JLR     Receipt of and listen to voice mail from Investor Victim, M. Peden, requesting               .25
                    confirmation as to no objection of the Investor Claim Package Information means
                    he concurs; Confirmed.

 9/13/21    JLR     Receipt and review of internal email correspondence from C. Morris regarding                 .25
                    Investor Victim, L. Schwartz, confirming as to whether or not Schwartz ever
                    responded to our pending Bayside metals correspondences as receipt/no receipt
                    of the same effects her claim value total; Draft and send email correspondence
                    to C. Morris addressing the same.

 9/13/21    JLR     Receipt and review of internal correspondence from C. Morris regarding Investor              .25
                    Victim, S. Gaw, regarding confirmation as to whether or not 5. Gaw received his
                    pending Bayside metals as such would impact his calculation form; Speak with C.
                    Morris regarding the same and send subsequent email correspondence detailing
                    the respective Bayside metals communications and transaction .

 9/13/21    JLR     Receipt of and listen to voicemail from Investor Victim, C. Harris, requesting               .25
                    status update as to his wife and his individual respective claim and status update;
                    Provide status update; Perform review of both Investor's total recommended
                    claim value to explain option to object.




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                                                                                         SCHEEF & STONE, LLP

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     Date   Atty    Description                                                                             Hours

  9/13/21   JLR    Receipt of and listen to multiple voicemails from Investor Victim, W. Eacker,               .25
                   regarding discrepancy in total calculated claim; Explain the discrepancy and
                   schedule appointment for him to speak with C. Morris to consider objecting.

  9/13/21   JLR    Receipt and review of responsive email correspondence from Investor Victim, S.              .25
                   Altman, wherein she discusses her confusion as to the calculation of her Total
                   Claim Value; Forward to C. Morris for further review and consideration as to a
                   response to the same.

  9/13/21   JLR    Receipt and review of multiple email correspondences between local retained                 ,25
                   l<entucky counsel, J. Stafford, and I confirming the l<Y Court of Appeals
                   temporary suspension of all actions in the Appeals Court following the filing of
                   the Notice of Receivership and Related Stay; Conference with J. Stafford
                   regarding the procedural issues with Plaintiff's Counsel's Opposition to the Stay
                   and options to address the same without necessitating briefing.

  9/13/21   JLR    Draft email correspondence to Plaintiff Counsel in the Kentucky Court of Appeals           .50
                   case involving Receivership Defendants in response to the KY Appellate Court's
                   September 2nd temporary suspension order of all appellate steps pending final
                   order of the court; Seek to schedule telephone conference to discuss present
                   procedural posture (stay) and the Receiver's position as to allowing the case to
                   proceed as against defendant New Direction; Provide to J. Stafford for final
                   review.

 9/13/21    JLR    Answer call from Investor Victim, B. Mitchell, notifying us that he had yet to             ,25
                   receive his Investor Claim Calculation; Inform him of us Total Recommended
                   Claim value over the telephone and explain the objection process; Address the
                   issue of delivery of Claim Information with C. Morris.

 9/13/21    JLR    Receipt of and listen to voicemail from Investor Victim, C. Snyder, requesting             .25
                   status update as to her Claim; Return the call of Investor; Provide status update
                   and confirm no objection to Claim Calculation.

 9/13/21    JLR    Receipt of and listen to voicemail from Investor Victim, M . Radney, requesting            .25
                   help as to understanding the Claim Packet Information; Unable to leave
                   voicen,ail; Send email correspondence regarding the same and requesting return
                   call to explain the Claim Report.




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                                                                                            SCHEEF & STONE, LLP
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     Date    At~y    Descr.ip~ion                                                                             Hour~

  9/13/21    CAM     Telephone call with investor who did not receive claims package, update                    5.00
                     address, send package back by email and by regular mail, memo to file regarding
                    same (.5); Receive and review renewal notice from Network Solutions and
                    discuss with J. Stafford, update account and initiate payment for additional year
                    of domain forwarding service, memo to file regarding same (.4); Interoffice
                    conference with J. Rolls regard claim issues (.2); Finish claim amendment for
                    investor and update database, revise claim calculation form and forward to
                    investor, add to amendment log and memo to file (.8); Review claim amendment
                    sent by regular mail from investor 00612 and made appropriate adjustments and
                    amend claim calculation form accordingly and send to Investor, update
                    amendment log sheet and memo to file (.5); Telephone call from investor who
                    wishes to lodge an objection to her claim, email details to receiver (.3);
                    Telephone call with CA attorney H. Stern to update his case with current
                    receivership status and additional information (.3); Receive and respond to an
                    increased number of investors requesting status of case and to review their
                    claims for possible amendments, log all details into case file (2.00).

  9/14/21   Pl<J    Research and review case law regarding                                     draft           1.70
                    email memo to l(elly Crawford regarding same.

  9/14/21   AEC     Draft chart showing broker accounts to add as an exhibit to petition.                       .70

  9/14/21   JLR     Draft Notice of Withdrawal of Receiver's Motion for Appointment of Appraisers,             1.00
                    Approval of Appraisals of Certain Real Propetty, and Setting Hearing Regarding
                    Approval of Sale.

  9/14/21   JLR     Answer telephone call from Investor Victim, M . Radney, requesting that we help             .25
                    wall< her through the Claim Calculation Information and Total Recommended
                    Claim; Explain the opportunity to object, If applicable.

  9/14/21   JLR     Receipt of and listen to voicemail from Investor Victim, J. Raganswood, regarding           .25
                    confusions as to Claim Calculation Information; Leave voicernail asking for return
                    call .

 9/14/21    JLR     Interoffice conference with J. Stafford regarding review of draft email                     .75
                    correspondence to Plaintiff Counsel in Kentucky Appellate/Circuit Court case
                    Involving Receivership Defendants following Appellate Court's 9/2/2021
                    Suspension Order of all appellate steps pending final Order and the Receiver's
                    position as to the stay; Telephone Conference with local retained KY Counsel, T.
                    Sturgeon, regarding contact strategy with Plaintiff Counsel and status of Circuit
                    Court case docket; Revise email correspondence to reflect J. Stafford redllnes .

 9/14/21    CAM     Receive and review a large volume of emails and voicemails from over the                   5.50
                    weekend from Investors who are confused by their claims package and respond
                    to each, made necessary adjustments and amendments where necessary and
                    update claims log and file regarding same (5).

 9/14/21    JSS     Office conference with Receiver regarding status of downloading documents                   .25
                    seized by FBI.


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Invoice: 109213                                                                                           May 5, 2022


     Date    Atty    Description                                                                               Hours

  9/15/21   JLR     Receipt and review of responsive email correspondence from Plaintiff Counsel,                 .so
                    M. Valenti, in the Kentucky Appellate/Circuit Court cases involving Receivership
                    Defendants regarding his position as to a temporary stay against the
                    Receivership Defendants; Interoffice conference w ith J. Stafford regarding the
                    proposition offered by M, . Valenti and its failure to comply with the Receivership
                    Order; Draft responsive email to the same for J. Stafford's review.

  9/15/21   CAM     Check in with Philadelphia realtor regarding real properties listed (.1); Receive           5.30
                    call potential buyer for domain and add to list and calendar to follow -up in one
                    year (.2); Continue returning phone calls and responding to em alls from Investors
                    regarding next steps forward and/or requests to amend claims (5).

  9/15/21   PCL     Communications with K. Crawford regarding meet and confer email on motion                   2.20
                    to show cause for Asher and Batashvili and related drafting of same(l.3);review
                    of motion and brief and draft (.9).

  9/16/21   JLR     Pe1form Westlaw research to provide contact information/general counsel                      ,so
                    information for the self-directed IRA custodians Entrust Group, New Direction
                    IRA, and Equity Trust as recent telephone calls with Investors allege the
                    custodians are not providing information as to their accounts or assisting with
                    liquidation because the metals are in Receivership; Contact information
                    necessary to preparing letters to the same correcting the misinformation.

  9/16/21   JLR     Receipt of and listen to voicemail from Investor Victim, W. Eacker, regarding a              ,25
                    correction to Claim Calculation as his supporting documentation has a different
                    amount that he previously remembered; Return the call of same to redo his
                    Claim Calculatlon to the original value.

 9/16/21    CAM     Receive and return calls, amend various claims, update claim amendment log                  4.50
                    sheet and document file (2.5); Receive and respond to email and phone call from
                    Montana State regarding MT investors, and review MT spreadsheets for their
                    investors, conduct an audit of all MT investors, compare to MT State's list, and
                    generate a chart of claim discrepancies and document file regarding sarne (2).

 9/16/21    PCL     Communications with I<. Crawford, D. Baer, et al., regarding 19th St. purchase              2.90
                    related documents/developments(.4); communications with I<. Crawford, G.
                    Besen, A. Spencer, J. Buffa, et al., regarding finalization and/or filing of motion
                    to show cause why Asher and Batashvili should not be held in contempt, meet
                    and confer protocol and related review of motion and /or related brief(2.5).

 9/17/21    WSY     Review ot the Contempt Motion tiled on behalt ot Receiver in anticipation of                 .i'U
                    Response thereto by Defendants, as directed by Peter Lewis.

 9/17/21    JLR     Receipt and review of1nternal email correspondence from P. Lewis requesting                  .25
                    assistance with the Receiver's 9/16 fl ling of his Emergency Motion for Show
                    Cause Hearing as to Defendants Asher and Batashvili Contempt; Draft and send
                    responsive email to the same confirming availability to assist with preparation of
                    the same.




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     Date   Atty    Description                                                                               Hours

  9/17/21   JLR    Answer the call of Investor Victim, R. Rhyne, asking question as to whether                   .25
                   closure of his self-directed IRA would disrupt receipt of his Claim; Answer the
                   same.

  9/17/21   PCL    Communications with K. Crawford, et al., regarding C. Cruz portfolio Insider                 1.70
                   claim and related file review(.4); receipt and review of P. Gomersall
                   correspondence regarding preservation letter to Kixie(.3); communications with
                   F. O'Connor, et al., regarding PipeDrlve inquiry(.2): communications with J. Rolls,
                   W. Young, K. Crawford regarding show cause strategy meeting, etc.(.40);
                   communications with I<. Crawford, L. Kunin regarding lntrinio preservation
                   letter and related file review (.3).

  9/18/21   JLR    Review and analysis of Receiver's Emergency Motion for Show Cause Hearing                   2.00
                   Defendants Asher and Batashvili Contempt, the Appendix of the same with
                   attached respective Declarations, and the CFTC's Brief in Support of the
                   Receiver's Emergency Motion in preparation of meeting with P. Lewis to prepare
                   for hearing (ie preparation of hearing PowerPoint, binders, and script etc).

  9/18/21   PCL    Communications with J. Buffa, K. Crawford, F. O'Connor, et al., regarding                    .30
                   document preservation request.

  9/20/21   JLR    Receipt of and listen to voicemail from Investor Victim, B. Buiskool, regarding              .25
                   telephone call from an Arkansas individual contacting the Investor as it relates to
                   the Receivership; Leave voicemail requesting return of call.

  9/20/21   JLR    Receipt of and listen to voicemail from Investor Victim, M. Strauss, regarding               ,25
                   issue with CllStodian Directed IRA and the misuse use of another Investor's
                   contact Information on her paperwork; Address the same and explain the
                   confusion as to the other Investor.

 9/20/21    JLR    Receipt of and listen to voicernail from Investor Victim, D. Neeley, regarding               .25
                   status as to whether Receiver received anything from the metals company;
                   Return call to explain the process and provide the status of the same; Review of
                   Claim Calculation and confusion as to receipt of metals for objection; Address
                   the same.

 9/20/21    JLR    Receipt of and listen to voicernail from Investor Victim, R. Kolbow, and                     .25
                   subsequent email correspondence from the same regarding status of the
                   Receivership; Return the call of same; Draft and send email correspondence to
                   Investor providing an update as requested.

 9/20/21    JLR    Answer subsequent call from Investor Victim, M. Strauss, regarding recent                    .25
                   communication with custodian Directed IRA and confusion as to liquidation of
                   metals regardless of Receivership being in place.

 9/20/21    JLR    Receipt of and listen to voicemail from Investor Victim, A. Thomason, regarding              .25
                   confusion as to receipt of the Claim Report Information and whether or not she
                   must fill it out; Return the call of the same; Leave voicemail requesting return of
                   call.



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     Date   Atty    \)escrlptlon                                                                                Hours

  9/20/21   JLR     Receipt and review of email correspondence from Investor Victim, J.                            .25
                    Lindenmuth, regarding confusion/questions regarding the total recommended
                    claim; Draft and send responsive email to the same explaining what the total
                    recommended claim value means.

  9/20/21   JLR    Telephone call to the Civil Circuit Clerk of Bullitt County, KY, to ascertain the               ,25
                   status of the respective Judge's entrance of our Proposed Order of Stay of the
                   Circuit Court Case involving Receivership Defendants .

  9/20/21   JLR    Receipt of and listen to volcemall from Investor Victim, L. McMillln, requesting                .25
                   status update; Return the call of the same and provide Total Recommended
                   Claim information and explanation; Send s1.1bsequent email to C. Morris
                   requesting that she provide via email correspondence the Claim Information to L.
                   McMillin.

  9/20/21   JLR    Return the voicemail of Investor Victim, J. Raganswood, to explain the Total                   .25
                   Recommended Claim value and recovery of the same; Answer questions
                   regarding the status of the Receivership.

  9/20/21   JLR    Answer the call of Investor Victim, R. l<olbow, regarding prior email                          .25
                   correspondence as to status update and explaining his Total Recommended
                   Claim value.

  9/20/21   JLR    Answer the return call of Investor Victim, S. Kelly, regarding status of distribution          .25
                   of her total recommended claim value as is needed for husband's medical
                   expenses; Explain the same.

 9/20/21    JLR    Receipt and review of responsive email from Investor Victim, J. Lindenmuth,                    .25
                   regarding his Total Recommended Claim value; Draft and send responsive email
                   to the same confirming receipt and answering.

 9/20/21    JLR    Answer the return call of Investor Victim, B. Buiskool, regarding the                          .25
                   misinformation provided by Directed IRA confusing two (2) Investor Victims;
                   Address problem with Investor Victim, B. Bulskool's, mother, Investor Victim, M.
                   Dedoes, never receiving her Claim Report Information; Draft and send email to C.
                   Morris to address the issue of delivery of Claim Report Information to the same;
                   Provide status update to both.

 9/20/21    PCL    Communications with F. O'Connor, J. B1.1ffa, I<. Crawford, et al., regarding                  2.80
                   Piped rive documents requested and legal basis for same and related file
                   review(1.3);communications with I<. Crawford regarding follow up with C. Cruz,
                   MagicStar counsel regarding requested documents and C. Cruz deposition,
                   draft/revise final formal demand for documents and related file review(l.5).

 9/21/21    WSY    Confer Receivership Team concerning strategy for hearing on Third-Contempt                    1.90
                   Motion against Defendants Asher and Batashvili (.7); Additional review of
                   Contempt Motion, CFTC's Memorandum of Law in support of Contempt Motion
                   (.7); Draft summary of contents of strategy session for Team's review with
                   reference to both Motions and evidence in support (.5).



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     Date   At~y   Description                                                                               Hours

  9/21/21   JLR    Attend interoffice telephonic conference with P. Lewis, I<. Crawford, and W.                1.00
                   Young preparation and strategy session for the upcoming Hearing regarding
                   the Receiver and CFTC's respective Show Cause Briefing as to Contempt.

  9/21/21   JLR    Telephone calls with attorney, J. Brewster, regarding notification that his client           .25
                   Investor Victim, J. Raganswood, regarding confusion as to her contacting the
                   Receiver and his office regarding the Receivership.

  9/21/21   JLR    Answer the call of Investor Victim, A. Thomason, requesting explanation of the               .so
                   Claim Report Information (i.e. her total recommended claim value) and
                   discrepancy in cash reflection on the same; Interoffice conference with C. Morris
                   regarding answering the cash discrepancy and email correspondence to Investor
                   Victim providing copies of the Claim Report Information as requested.

  9/21/21   JLR    Interoffice conference with K. Crawford regarding the drafting of a Notice of              1.50
                   Deposition for C. Cruz; Contact US Legal to ascertain the details of remote
                   deposition conducted at LA Office; Draft Notice of Deposition of Carlos Cruz.

  9/21/21   JLR    Draft Subpoena for Non-party C. Cruz Deposition in Civil Lawsuit; Provide the              1.00
                   same to I<. Crawford and P. Lewis for review.

  9/21/21   JLR    Receipt and review email correspondence from P. Lewis regarding task of                     .25
                   identifying all cites/references to C. Cruz and related entity MagicStar in the
                   recent Receiver's Emergency Motion for Show Cause Hea1'ing and the CFTC's
                   respective briefing in support of the same.

 9/21/21    CAM    Analyze Investor database and extract all Utah investors for Receiver {1.2);               5.60
                   Receive several email requests from Investors to resend claims packages by
                   email and US First Class Mail (1.2); Review information received from MT state in
                   efforts to reconcile investor Initial purchases (.8); Extract all investors from
                   database and organize list of just investor names and forward to Receiver (.8);
                   Receive communication from Philadelphia Water Department regarding 404 N.
                   Wanamaker (.1); Receive and respond to investor who just learned of the
                   receivership and add additional claim, prepare claims package and communicate
                   with investor regarding same (1.5).

 9/21/21    JSS    Telephone conference with KY local counsel regarding a conflict in                          .25
                   representation of Receiver.

 9/21/21    JSS    Conference with Receiver regarding request for conflict waiver from KY counsel.             ,25

 9/21/21    JSS    Strategy conference call with Receiver and P. Lewis regarding claims asserted               .so
                   and most expeditious legal proceeding to address defendants' breaches of SRO.

 9/21/21    PCL    Communications with K. Crawford, et.al., regarding broker complaint defendant               .60
                   communications with W. Vera.




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     Oate   Atty    De~crilJtion                                                                              Hours

  9/21/21   PCL    Communications with K.Crawforcl, J. Rolls, and Walker Fults, regarding                       3.60
                   hearing/strategy on show cause motion against Asher and Batahsvili and related
                   file review(1.5};communications with K. Crawford and G. Besen regarding.
                                                     issues and Related file review(.8); review file
                   materials and continue drafting letter to MagicStar counsel regarding turnover of
                   documents (.9);communications with J. Rolls regarding review of contempt
                   appendix for cite purposes(.4 ).

  9/22/21   JLR    Review the following : (1) Receiver's Emergency Motion for Show Cause Hearing                 .75
                   to Hold Defendants Asher and Batashvili in Civil Contempt; (2) Appendix in
                   Support of the same; and (3) Plaintiffs' Memorandum In Support of Receiver's
                   Emergency Motion for Show Cause to identify and provide to P. Lewis all
                   references to C. Cruz and MagicStar Arrow necessary for email correspondence
                   and upcoming deposition of the same.

  9/22/21   JLR    Perform additional search of provided cite to C. Cruz in Plaintiffs' Memorandum              .25
                   of Law In Support of the Receiver's Emergency Motion to Hold Defendants Asher
                   and Batashvlll In Civil Contempt; Review the at-issue cite and provide the
                   reviewed same to P. Lewis at his request.

  9/22/21   JLR    Revise Subpoena for C. Cruz to reflect the redlines of K. Crawford; Provide to P.            .75
                   Lewis for final review and service of same.

  9/22/21   CAM    Receive and review State of MT report on investor #00283, Interoffice                       7.20
                   conference with J. Stafford regarding same, telephone call with investor to
                   discuss discrepancies in total investment dollars, and telephone call to M.
                   Murray of MTto discuss same (1.2); Telephone call with newly added investor to
                   discuss his investment and to add his claim, research defendants' documents to
                   determine if any purchase invoices were issued, add his claim to the database
                   and prepare claims package to email and mail out (1.5); Sift through emails and
                   documents in DISCO for information related to P. Batashvili and save/print to
                   forward on to Receiver for litigation purposes (2.5); Continue efforts in reviewing
                   and responding to abundance of investor calls and emails and document file
                   regarding same (2.5).

 9/22/21    PCL    Review flle materials and revise, finalize email to Scott Thomas regarding                  4.10
                   obligations of MagicStar to respond to request for documents and related
                   communications with I<. Crawford regarding same(2.5); review C. Cruz deposition
                   notice and subpoena and related Communications with J. Rolls and I<.
                   Crawford(.5); communications with F.O Connor, J. Buffa, I<. Crawford, et al.,
                   regarding Portfolio communications and related follow up(.7); communications
                   with D. Baer, I<. Crawford, et al., regarding Philadelphia properties (.4).

 9/22/21    PCL    Communications with I<. Crawford, J. Rolls, W. Fults regarding preparation for              1.70
                   upcoming hearing on motion for Asher and Batashvili to Show Cause and related
                   file review.

 9/23/21    AEC    Conference with I<. Crawford regardin                             and review                 .60
                   of case information to prepare to draft petition.


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     Date    AttV    Description                                                                                  Hour.s   I
  9/23/21   JLR     Revise Deposition Subpoena of C. Cruz to reflect P. Lewis red line; Prepare and                  .25
                    provide the same to P. Lewis for final review and service of same.

  9/23/21   JLR     Prepare list of all parties' active counsel to be noticed for service via email of the           .so
                    Notice of Deposition of C. Cruz and corresponding subpoena of C. Cruz in
                    accordance with the Rules for coordination of service as requested by P. Lewis.

  9/23/21   JLR     Receipt of voicemail from investor Victim, S. l<elly, regarding her husband                      .25
                    Investor Victim, J. l<elly's, coins and having a discrepancy In the value of the
                    coins; Interoffice conference with C. Morris regarding S. l<elly's
                    frustrations/confusion as to the per value of the coin and lodging an objection to
                    the calculation.

  9/23/21   JLR     Draft transmittal email correspondence to all parties' active designated counsel                .25
                    of record for service of the Notice of Deposition and i'elated Subpoena of C. Cruz.

  9/23/21   PCL     Communications with K. Crawford, D. Baer,et al. regarding Wanamaker                             .30
                    residence contract .

  9/23/21   PCL     Finalize and serve Notice of Deposition on C Cruz on S. Thomas and related                      .60
                    communications with K. Crawford and'J. Rolls(.6).

  9/24/21   PCL     Communications with K. Crawford, et al., regarding Portfolio Insider                           2.40
                    developrnents(.4), communications with C. Jackson and I<. Crawford regarding
                    Portfolio Insider investigation(.4); continue drafting motion to compel MagicStar
                    to produce documents and related file review(.80); Receipt and review of
                    communications from S. Thomas regarding production of MagicStar documents
                    and related communications with I(. Crawford et al(.40);revie
                                    preservation demands (.4).

 9/27/21    JLR     Receipt and review of em all correspondences from, S. Bansal, CA local counsel                  .25
                    regarding Status Report due in stayed CA civil cou1t cases with Receivership
                    Defend ants.

 9/27/21    JLR     Answer call from Investor Victim, L. Burch, regarding misinformation from                       .25
                    custodian New Direction and confusion as to receipt of Receivership Claim funds;
                    Interoffice conference with C. Morris for appropriate answer to Investor
                    question.

 9/27/21    JLR     Receipt of and listen to subsequent voicemail from Investor Victim, D. Burch,                   .25
                    requesting follow -up as to confusion as to receipt of Claim funds; Return the call
                    of same.

 9/27/21    JLR     Return the call of Investor Victim, S. Hammerlund, to review and explain the                    .25
                    Claim Report Information and her specific Total Recommended Claim; Draft and
                    send subsequent email correspondence to Investor Victim with copy of her Claim
                    Report for her review and conference tomorrow.

 9/27/21    PCL     Communications with I<. Crawford, J.Ravean regarding Shenas South Park                          ,40
                    demand.



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     Date   Atty    Description                                                                                :Hours

  9/27/21   DW      Reviewed notice from CA Franchise Tax Board; reviewed relevant materials and                 3.50
                    researched CA tax law; drafted letter to the CA FTB protesting the tax penalty in
                    the notice.

  9/28/21   JLR     Receipt of and listen to volcemall from Investor Victim, S. McCauley, regarding               .25
                    confusion as to Receivership telephone and request for property Information (via
                    the correct telephone number); Return the call of same to address the confusion
                    in telephone numbers.

  9/28/21   JLR    Answer call from Investor Victim, S. Hammerlund, regarding further explanation                 .25
                   of her specific Claim Information and explaining the objection process.

  9/28/21   JLR    Receipt of and listen to voicemail from Investor Victim, W. Hodges, regarding his             .25
                   receipt of the Claim Report Information just now and confusion as to what it
                   means; Return the call of same.

  9/28/21   JLR    Return the call of Investor Victim, D. Burch, to answer his question as to how the            .25
                   Receivership funds will be disbursed back to him as he had concerns over taxes;
                   Answer the same.

  9/28/21   JLR    Receipt and review of email correspondence from, T. Wright, of us Legal                       .25
                   regarding scheduling of non-party deposition of C. Cruz with coordination of LA
                   office space for deponent; Confirm the scheduling.

 9/28/21    JLR    Receipt of and listen to volcemail from L. Lalick spouse of Investor Victim, M .              .25
                   La Ilk, regarding questions as to liquidation of remaining metals with the pending
                   Receivership; Return call to address her questions.

 9/28/21    CAM     Receive and respond to email regarding address correction for investor (.1);                7.20
                    Receive and review formal objection from investor 00567, review and double
                   check all calculations for accuracy, and call Investor to discuss, as well as log in
                   formal claim objection (.5); Receive ~rnd review formal response to claim
                   calculations from Investor 00658, and telephone call to discuss, and memo to file
                   regarding same (.5}; Receive and review PECO billing invoice for Chew property
                   in Philadelphia and log into property detail spreadsheet and request payment
                   (.1); Review requested amendments for claim no. 00028 and make necessary
                   adjustments to database and prepare amended clalm, log into amendment
                   spreadsheet and forward to investor (.8); Confer with J, Rolls regarding future
                   interim distribution and how distribution checks will be made (.1}; Receive email
                   communication from investor 00800 and confirmation of updated address, as
                   well as requested challenges to related claim no. 01299, n1ake appropriate
                   adjustments and prepare and mail out amended claim and document file
                   regarding same (1.5); Email communication with investor No. 01732 and
                   examine wire transfer documents initiated after the date of the receivership and
                   respond accordingly, and email to Receiver regarding same (.8); Review
                   additional documents for investor 01645 and make necessary adjustments to
                   database and prepare and mail out amended claim and document file (.8);
                   Review and return numerous investor calls requestlng status of case and next
                   steps (2).


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     Date   Atty   Descr.iption                                                                               Ho.ufs

  9/28/21   PCL    Receipt and review of Jackson report on•■■■■■■■-and related                                  1.40
                   cotnmunlcations with K. Crawford and C. Plaxton regarding
                                    (LO); communications with C.Koonce, I<. White regarding D.Ned,
                   et al., representation (.4).

  9/29/21   JLR    Interoffice conference with C. Morris regarding discrepancy in Montana Investor               .25
                   Claim and supporting documentation as to the claim; Review of documentation.

  9/29/21   CAM    Receive and respond to an abundance of last minute claim changes from                       6.50
                   investors and prepare amendments accordln3ly, and discuss next steps forward
                   (4.5).

  9/29/21   JSS    Review Receiver's Status report to Texas District Court and prepare Fifth Status            1.50
                   Report to California Federal District Court.

  9/29/21   PCL    Receipt of Winston and Strawn production of Magic Star documents and related                 .80
                   communications with K. Crawford regarding same.

  9/30/21   JLR    Review of Receiver's Fifth Status Report in the Punke v. Chase Metals, LLC et al.            .25
                   the stayed California Federal Court Case Involving Receivership Defendants;
                   Revise and provide to J. Stafford for final review.

  9/30/21   PCL    Communications with K. Crawford and B,Gluck regarding ijortfolio Insider,                    .20

  9/30/21   DW     Reviewed letters and notices from Oregon DOR; researched how to challenge the               2.00
                   tax, penalties, and Interest; drafted letters to the DOR and a complaint to the Tax
                   Court to challenge the taxes, penalties, and interest.

10/01/21    AEC    Draft petition to                      ; Draft exhibits to petition;                        3.00
                   Review·

10/01/21    JLR    Receipt and review of email correspondence from Investor Victim, L. Lalik,                   .25
                   regarding alleged relationship between New Direction and Metals.com.

10/01/21    JLR    Receipt of and listen to voicemail from Investor Victim, A. Thomason, regarding              .25
                   objection and revision to her claim value; Confirm the same with C. Morris.




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     D~te   Atty    De,sorlp~ion                                                                               Hours I

 10/01/21   CAM    Review Philadelphia real property spreadsheet and prepare for updates, review                 6.50
                   all utility bills that arrived and log in and place in line for payment, review all
                   closing statements on the four properties that have closed, and finally, prepare
                   correspondence to Trustee Group to cancel the property insurance on the four
                   sold properties (2.5); Prepare status memo to Receiver regarding conclusion of
                   objection period and additional work to be done (.8); Finalize matters with state
                   of MT regarding Investor monetary discrepancies and forward to Receiver (.5);
                   Finalize matters with state of MT regarding investor monetary discrepancies and
                   forward to Receiver (.5); Finalize matters with state of MT regarding Investor
                   monetary discrepancies and forward to Receiver (.5); Telephone call with
                   Whipple Law Group regarding claim No. 00283, and receive Declaration of
                   Investor and prepare and forward amended claim calculation (.5); Telephone call
                   with investor regarding post-receivership deposit of monies wired and forward
                   to receiver for follow-up (.2); Receive last minute objection and log In and discuss
                   same with investor prior to forwarding to Receiver (.5); Receive and respond to
                   additional investor calls/emails (1.5).

 10/04/21   AEC    Continue to work o              petition and exhibits.                                       1.00

 10/04/21   JLR    Review of three (3) appraisals for each of the five (5) at-issue Receivership                :LOO
                   Properties in Philadelphia; Compute the average appraised value for each of the
                   five (5) at-issue Receivership Properties and provide the same to K. Crawford.

10/04/21    CAM    Work on finalizing all four investor metals spreadsheets and start analyzing data            7.50
                   for additional reporting, compare three different back-up list for quality check,
                   starting comparing July 3oth numbers to September 30th numbers, and start on
                   outlining Receiver's follow-up numbers to report and outlining all objections
                   and proposed responses (.7.5) .

10/04/21    JSS    Communications with Forensics expert regarding images obtained.                               .50

10/05/21    AEC    Respond to email from counsel for Joshua Ferd man regarding service.                          ,20

10/05/21    CAM    Telephone call with attorney for late filed investor and confirm metals and                  6.90
                   Investments and prepare Investor Confirmation form, claim calculatioh and
                   forward claims package to attorney and investor, log into spreadsheet and
                   documet1t file (1.2); Continue analyzing claims data, objections, and
                   amendments and prepare draft responses to ail objections and outline claim
                   numbers for Receiver's reporting (4.5); Started inltial review of MagicStar
                   documents and reconciling with bank records from Receiver (1).

10/05/21    PCL    Communications with K. Crawford, J, Buffa, p. Gomersall, R. Foelber regarding                1.60
                   Portfolio online information and comments (.8) communications with F.
                   O'Connor, I<. Crawford, et. al., regarding PipeDrive response to Portfolio (T.
                   Scott) objection to document disclosure and related file review (.6);
                   communications with K. Crawford regarding Fainche response (.2),




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 10/05/21   DW      Reviewed tax notices and letters/appeals to receivership entitles; shared                   4.80
                    documents with K. Crawford and discussed; researched
                                                                  ; researched


 10/06/21   CAM     Adding additional investors and working claims packages and updating all                    7.40
                    spreadsheets and log sheets (2.1); Finalize Review and analysis of MagicStar
                    Invoices received on Carlos Cruz Production and prepare memo to Receiver on
                    results of same (4); Receive and return calls and emails from additional Investors
                    for status of case (.8); Continue review of defendant's documents In DISCO for
                    litigation purposes (.5).

 10/06/21   JSS    Confer with Receiver regarding review of documents obtained from Receivership                 ,25
                   defendants through computer forensics.

 10/06/21   JSS    E-mail communications with California forensics vertdor regarding video .                     ,25

 10/06/21   PCL    Communications with A. Bernstein and I<. Crawford regarding Bleeden and Kohl                1.90
                   issues (.9)1 communications with F, O'Connor and K. Crawford regarding
                   PipeDrive document request and relatetj file review (.7); communications with B.
                   Gluck and I<. Crawford regarding follow-up (,3),

10/06/21    DW     Oversaw finalization of materials to be sent to the various taxing agencies.                2.20
                   Researched more on potential personal liability of a receiver for unpaid taxes.

10/07/21    CAM    Continue going through Defendant 1s records searching for documents related to              6.80
                   Perez Batshavili (2); telephone call With Wife of investor to notify of investor's
                   passing away (.3); Email from MT State requesting additional information on MT
                   investors and respond to same (.8); Work with two additional investors in
                   creating claims packages and updating log sheets and memo to file (2.2);
                   Investigate addresses for claims packages that were returned undeliverable,
                   call/email investors for updated Information (1.5).

10/07/21    PCL    Communications with I<. Crawford et. al., regarding Pipe Drive response (.3);                 so
                   communications wit C. Hardacre and C. Koonce (.2).

10/07/21    DW     Research on                                                                                 1.60

10/08/21    CAM    Address additional investors who did not file claims and create claims packages             4.20
                   and update all log files and document file (2.4); Receive and respond to investor
                   calls and emails upda~ing addresses, getting case status and Information on what
                   comes next (1.8).

10/08/21    PCL    Communications with K. Crawford regarding Motion for Leave response strategy                1.60
                   (.5); communication with J. Buffa, I<. Crawford and R, Foelber regarding Motion
                   for Leave and related developments (.8); comn1unicatio11s with Court schedule
                   (.3).

10/10/21    PCL    Communications with F. O'Connor and I<. Crawford regarding document request.                 .20




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     D~t~   Attv.   Description                                                                              H9urs

 10/11/21   PCL     Commun ications with S.Thomas, I<. Crawford, et al, regarding Cruz deposition in           4.30
                    light of stay order(.2); review motion for leave and related communications with
                    K.Crawford regarding response to same and related strategy(.6);
                    communications with D.Baer, J. McClay, K. Crawford regarding 5 property
                    package(.4);comrnunications with C.Koonce and I(. Crawford regarding stay order
                    an broker lawsuits(.2); communications with I<. Crawford regarding Bleeden
                    settlement proposal(.3); communications with I(. Crawford regarding response to
                    Quinn Emanuel discovery demand to CFTC and related file
                    review( .S);communications with I(. Crawford regarding Spritzer claim
                    objection(.3)Left message with Michelle regarding motion for leave questions
                    and related docket review and follow up with I<. Crawford(.9);revlew draft of
                    response to motion for leave and related communications with K. Crawford(.5);
                    communications with I<. Crawford, J. Keeton, J. Buffa et al regarding l(ixie
                    document production(.3); communications with K. Crawford, D. Baer regarding
                    Penn property repairs(.1); communications with F. O'Conner, I<. Crawford, et al
                    regarding document request(.3).

 10/12/21   JLR     Receipt of and listen to volcemall from Investor Victim Couple, C. & M . Harris,            .so
                    requesting return call regarding undisclosed Receivership question; Return call
                    with the same.

10/12/21    PCL     Communications with K. Crawford, B. Gluck and T. Douglas regarding Portfolio              2.00
                    lnslder(.9); communications with I<. Crawford regarding stay order and related
                    file review( .5); review Motion for Leave and stay order and related
                    communications with I<. Crawford{.5); communications with D. Baer, K.
                    Crawford, J.Harnrnel, regarding Rhawn property(.3); communications with
                    J.Buffa, R. Foelber, K. Crawford regarding latest developments In In light of the
                    stay(.8).

10/12/21    PCL     Receipt of email from L. l<uhn regarding intrinlo and related communications               .30
                    with K.Crawford regarding inability to respond.

10/12/21    PCL     Communications with F.O'Connor, et al., regarding document request and                     .40
                    related file review(.4).

10/14/21    PCL     Communications with K. Crawford, D. Baer regarding ability to close on Rhawn               .40
                    street(.3);review Brannon letter regarding Kyle Sanna.

10/15/21    PCL     Communications with K. Crawford, D.Baer et al., regarding question on ability to           .60
                    close on 827 Rhawn Street(.4); communications with K. Crawford and B. Cluck
                    and/or related file review (.2).

10/18/21    ow      Conference with l<elly; read documents relevant to the motion to hold                     2. 90
                    Receivership Defendants in civil contempt; began researching caselaw on the

                    Receivership Defendants Response to our motion for civil contempt.

10/19/21    PCL     Receipt and review of letter from CFTC to Bradley Arant regarding discovery                .30
                    request and stay issuance.


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     Date   t.\tW    Description                                                                              Hours

 10/19/21   ow       Researched                                                                                 2.30
                    •      I ; drafted section of reply arguing that the contempt proceeding we
                     moved for is civil.

 10/20/21   PCL      Review and revise draft response to Reply to Receivers' contempt motion and                2.30
                     related file review, related communications with I<. Crawford regarding same and
                     pending motions strategy(l.9); communications with K. Crawford, et al.,
                     regarding Portfolio Insiders communications with NASOAQ(.4).

 10/20/21   ow      Edited the Reply lh suppo1t of our motion for civil contempt; added two                    1.00
                    footnotes and made some minor deletions.

 10/21/21   PCL     Communications with I<. Crawford regarding hearing discovery request (,3);                 1.30
                    review and revise draft reply to defendants' Opposition to Motion to Show Cause
                    and related communications with K. Crawford (1.0).

10/21/21    PCL     Communications with K. Crawford regarding reply response and related                       1.00
                    review(.6); communications with K. Crawford regarding T. Scott activities(.4).

10/22/21    PCL     Continue preparation for hearings on Portfolio Insider; motion for contempt                 .70
                    and/or related communications with I<. Crawford,

10/22/21    DW      Researche
                    researched

10/23/21    PCL     Review Portfolio Insider Motion to prevent receiver from recovering Portfolio              1.40
                    Insider Assets and related communications with I<. Crawford (1.0);
                    communications with K. Crawford, Plaintiff's, et. al., regarding discovery request
                    and need for court order (.4),

10/25/21    PCL     Communications with K. Crawford, et. al., regarding Portfolio Insider/ contempt            2.20
                    motions/ responses and related review and revisions.

10/25/21    DW      Researched caselaw tha                                                                     2.20


                    .,       16
10/26/21    PCL     Communications with K. Crawford regarding proposed revisions to response to                 .50
                    Portfolio Insider motion and related file review .

10/26/21    ow      Researched case showing that the Receiver                                                   .90


10/29/21    DW      Researched whether a receiver's                                                             .90


11/04/21    PCL     Communications with A. Raimondo and I<. Crawford regarding Zack's data issues               .90
                    and related file review.




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     Date    Atty    Description                                                                              Ho!.lrs

 11/04/21    PCL     Communications with K. Crawford regarding pending motions and strategy (,9);               1.30
                     communications with D. Wills and 1<. Crawford regarding evidence, etc.; conduct
                     research needed (.4).

 11/04/21   PCL      Review of Portfolio lmider response and related communications with I<.                     .so
                     Crawford.

 11/08/21


 11/09/21


 11/10/21
            PCL


            DW


            PCL
                    Communications with K. Crawford regarding status inquiry from potential
                    Receiver witness and related file review.

                    Begin research regarding th )


                    Continue preparation for upcoming contested hearings.
                                                                                              ..                 .30


                                                                                                                 .30


                                                                                                                 .80

 11/10/21   DW      Researched                                                                                 4.10
                                                             ; begin drafting memorandum that will
                    address


11/11/21    DW       Researched and analyzed federal rules of evldenc                                          1.00
                    --completed section of the memorandum addressin

11/14/21    PCL     Continue preparation for upcoming hearings on motion for contempt, etc. and                 .90
                    related review of D. Wills memo regardin

11/15/21    PCL     Continue pleadings and document review and related                                         1.00
                    preparation/communications with K. Crawford regarding upcoming contempt, et
                    al hearings.

11/18/21    PCL     Communications with K. Crawford regarding strategy for pending motions.                     .40

11/29/21    JLR     Receipt of and listen to voicemall from financial advisor, R. Lamore, of Investor           .25
                    Victim, M. Gary, regarding the potential to make a late claim; Draft and send
                    subsequent email to R. Lamore providing contact information and details of
                    potentially making a late claim .

11/29/21    JLR     Receipt and review of email correspondence from Investor Victim, B. Hunt,                   .25
                    requesting status update; Draft and send responsive email to the same providing
                    a status update of the Receivership and claims .

11/29/21    JLR     Receipt of and listen to voicemail from Investor Victim, L. Van Overschelde,                .25
                    requesting Information on selling her metals; Answer return call from Investor
                    Victim, L. Van Overschelde, requesting information on selling her metals; Answer
                    those questions as the Receiver cannot opine where to sell.

11/29/21    JLR     Receipt of and listen to voicemail from Investor Victim, I<. Dallimore, requesting          .25
                    status update of the Receivership; Return the call of same, provide status
                    update, and answer his questions.




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      Date   Atty   Description                                                                               Ho1,1rs

 11/29/21    JLR    Answer return call from Investor Victim, L. Van Overschelde, requesting                      .25
                    information on selling her metals; Answer those questions as the Receiver
                    cannot opine where to sell.

 11/29/21    JLR    Receipt of responsive email from Investor Victim, B. Hunt, regarding the status              ,25
                    update; Draft and send responsive email to the same.

 11/29/21    PCL    Communications with D. Baer, I<. Crawford, J. Mcclay regarding case stay status              .40
                    and contracts received .

 11/30/21    ow     Drafted the reply to the order issued by the Oregon Tax Court which required               1.70
                    reply.

 12/01/21    PCL    Communications with K. Crawford regarding stay impact on service of                          .40
                    Defendants in broker lawsuit and related file review.

 12/01/21    ow     Conference with secretary regarding filing the response in the Oregon Tax Court.             .30

 12/02/21    PCL    Communications with C. Koonce and I<. Crawford regarding Motion for Leave.                   .20

 12/06/21    JLR    Receipt of and listen to multiple voicemails from Investor Victim, D. Burch,                 .25
                    requesting status update and address confusion over Interim distribution of
                    monies to Investors pending the stay; Telephone call to D. Burch and answer the
                    same.

12/07/21     PCL    Review and revise draft Motion for Leave pleadings regarding broker lawsuit                1.40
                    service deadline extensions and order thereon, revise same and related
                    communications with 'K. Crawford and/or C. Koonce regarding same and related
                    file review.

12/08/21     PCL    Communications with K. Crawford, D. Baer and J. McClay regarding the stay                   .60
                    status and Philadelphia properties issues and related file review.

12/08/21     PCL    Communications with C, l(oonce and I<. Crawford regarding Order granting                    .20
                    Motion for Leave.

12/09/21     PCL    Draft Motion for Leave regarding Philadelphia propetties sale, related file review         1.80
                    and communications with I<. Crawford regarding same.

12/10/21     JLR    Answer call from Investor Victim, B. Revere, to addr ess her concerns regarding             .25
                    her claim value and fears over receipt of the same before the holidays/new year;
                    Address the same; Pa5s to C. Morris for further questioning and details.

12/10/21     PCL    Revise Motion for leave and/or related communications with I<. Crawford (.6);               .80
                    communications with I<. Crawford regarding D. Vince email (.2).

12/13/21     PCL    Follow up communications with K. Crawford regarding Motion for Leave                        .30
                    regarding Philadelphia properties.




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     Date    Atty    Descr,iption                                                                              Hours

 12/14/21   JLR     Receipt and review of email correspondence from P. Lewis regarding assistance                 .25
                    with filing Receiver 1s Motion for Leave to File Motion to Sell Remaining
                    Philadelphia Properties; Draft and send responsive email to the same confirming
                    assistance.

 12/16/21   PCL     Communications with K. Crawford regarding Motion for Leave regarding                          .40
                    Philadelphia properties related for Philadelphia properties.

 12/20/21   JLR     Receipt of and listen to multiple voicemails from Investor Victim, L. Minehart,               .25
                    requesting status update as to the Receivership and receipt of his Claim Value;
                    Inform Mr. Minehart of the Court 1s current stay.

 12/20/21   JLR     Receipt and review of two email correspondences from Investor Victim, M.                      .25
                    Radney, requesting status update as to the Receivership; Draft and send
                    responsive email correspondence to the same notifying her of the present stay
                    of Receivership.

 12/20/21   JLR     Receipt of and listen to volcemail from Investor Victim, C. Snyder, requesting               ,25
                    status update as to the Receivership; Return the telephone call of Ms. Snyder;
                    Provide update as to pending Receivership stay.

12/20/21    JLR     Receipt of and listen to two voicemails from Investor Victim, C. Richardson,                 .50
                    requesting status of Receivership; Make return calls to the same; Provide
                    status update as to the present Stay of the Receivership.

12/20/21    JLR     Receipt of and listen to voicemail from Investor Victim, M. Peden, requesting                .50
                    status update as to the Receivership; Return the call of same and send
                    subsequent email correspondence providing status update.

12/20/21    JLR     Receipt of and listen to voicemall from Investor Victim, C. Harris, regarding claim          .25
                    status for both M. Harris and his wife's respective claims; Return call.

12/20/21    JLR     Receipt of and listen to voicemail from Investor Victim, D. Burch, requesting call           .25
                    regarding the Receivership; Return the call.

12/20/21    PCL     Communications with D. Baer, I<. Crawford, G. Besen and A. Spencer regarding                1.70
                    Motion for Leave to file Motion to Sell Philadelphia properties and related
                    drafting and/or revisions of same (1.5); communications with C. l<oonce and K.
                    White regarding extension of deadline to response to complaint against D. Ned
                    (.2).

12/21/21    PCL     Draft/ revise/ flnallze Motion for Leave to file motions to sell Philadelphia               1.50
                    properties and related emails to and from Plaintiffs' counsel.

12/27/21    JLR     Receipt and review of email correspondence from Investor Victim, N. Hyde,                    .25
                    providing updated address information; Provide to C. Morris for Receivership
                    records .

12/27/21    JLR     Receipt and review of email correspondence from Investor Victim, M. Radney,                  .25
                    regarding status update of the Receivership; Draft and send responsive email to
                    the same.


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     Date    Atty    Descdption                                                                                    Hours

 12/27/21   JLR     Receipt and review of email correspondence from Investor Victim, R. l<olbow,                      .25
                    requesting current status update; Draft and send responsive email to the same
                    providing status of the Receivership.

 12/28/21   JLR     Receipt and review of email correspondence from son of deceased Investor                          .25
                    Victim, J. Rodriguez, requesting a status update and asking several questions
                    regarding the interim distribution to his Father's Estate; Draft and send
                    responsive email correspondence to the same; Interoffice office email to C.
                    Morris requesting her assistance in answering the Estate questions.

 12/28/21   JLR     Receipt of and listen to voicemail from Investor Victim Couple, C. Harris,                        .25
                    requesting return call; Return the call of same.

 12/29/21   PCL     Communications with V. Northern, K. Crawford, C. Morris regarding Motion for                     .80
                    Leave for return of money Invested post-receivership and related file review.

 12/29/21   DW      Researched whether investor-victims have priority over unsecured creditors in         a         2.00
                    receivership distribution plan; drafted paragraph for brief summarizing my
                    findings.

  1/05/22   PCL     Communications with J. Mcclay, D. Baer and I<. Crawford regarding 443                            .30
                    Roosevelt offer.

  1/06/22   JLR     Answer call from Investor Victim, D, Burch, requesting status update on the                      .25
                    Receivership; Provide update.

  1/11/22   PCL     Communications with I<. Crawford regarding checks received during stay.                          .20

  1/12/22   JLR     Receipt of and listen to voicemail from Investor Victim, D. Mendenhall, regarding                .25
                    status of the Receivership; Return telephone call.

  1/13/22   JLR     Interoffice conference with C. Morris regarding forwarding of Investor Victim                    .25
                    related issues to her for review and return of questions.

 1/13/22    JLR     Receipt of and listen to two voicemails from Investor Victim, D. Mendenhall,                     .25
                    regarding questions and request for status update; Return those calls; Draft and
                    send subsequent ema il to same providing status update.

 1/13/22    JLR     Answer the call of Investor Victim, S. Kelly, to address questions regarding                     .25
                    Investor Victim husband, J. l<elly, and S. Kelly's claim and provide status update.

 1/13/22    JLR     Receipt and review of email correspondence from Investor Victim, D. Mesch,                       .25
                    requesting documentation/status update and updating contact Information;
                    Draft and send responsive email correspondence to the same,

 1/13/22    JLR     Receipt and review of€mail correspondence from investor Victim, J. Ihrke,                        ,25
                    requesting a Receivers hip status update; Draft and send responsive email to th€
                    sa,ne.

 1/18/22    JLR     Return call from Investor Victim, D. Mendenhall, regarding questions and request                 .25
                    for status update.



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     Date    Atty    Description                                                                                Hours

  1/18/22   JLR      Receipt of and listen to volcemail from Investor Victim, J. Gearhart, regarding               .25
                     status update and recovery of his claim; Return the call and speak with same.

  1/18/22   JLR     Receipt of and listen to voicemail from Investor Victim, D. Neeley, regarding                  .25
                    status update; Return the call of same.

  1/18/22   PCL      Review Gary Wasden claim letter received from T. Hussln .                                     .40

  1/19/22   JLR     Return call from Investor Victim, D. Mendenhall, regarding questions and request               .25
                    for status update; Spoke with Investor and his wife to address the
                    aforementioned .

  1/19/22   JLR     Receipt of and listen to voicemail from Investor Victim, S. McCauley, regarding               .25
                    stay of Receivership and claim status; Return the call of same.

  1/19/22   JLR     Receipt of and listen to voicemall from Investor Victim, C. Graffunder, requesting            .25
                    status update.

  1/19/22   JLR     Receipt of and listen to voicehrnil from Investor Victim, B. Buiskool, requesting             .25
                    status update as to the Receivership; Speak with Investor regarding the same.

  1/20/22   PCL     Communications with D. Baer, K. Crawford et al., regarding new house bid(s).                  .20

  1/21/22   JLR     Receipt of and listen to voicemail from Investor Victim, S. Kelly, regarding follow-          .25
                    up question with the Receivership; Return call of same.

 1/24/22    JLR     Receipt of and listen to voicemail from Estate of now deceased Investor Victim,               .25
                    W. Eacl~er, regarding his pending claim in the Receivership; Return call of
                    daughter as Executor of the Estate.

 1/24/22    JLR     Receipt and review of email correspondence from daughter of now deceased                      .25
                    Investor Victim, W. Eacker, providing updated contact information; Draft and
                    send responsive email to same.

 1/25/22    JLR     Receipt of and listen to voice mail from Investor Victim, M . Peden, requesting               .25
                    status update regarding the Receivership and his claim; Return the call of same.

 1/26/22    PCL     Communications with K.Crawford and V. Norther regarding S. Austin request for                 .so
                    return of funds and related file review.

 1/27/22    JLR     Receipt of and listen to voicemall from Investor Victim, D. Burch, regarding                  .25
                    Receivership; Return the call of same.

 1/28/22    JLR     Receipt of and listen to voicemall from Investor Victim, J. Okraski, requesting               .25
                    status update on the Receivership and questions regarding claim; Return the call
                    of same; Draft and send subsequent email correspondence to the same.

 1/31/22    JLR     Receipt of and listen to voicemail from Investor Victim, M. Peden, requesting                 .25
                    status update as to the Receivership and his claim; Return the call and send
                    subsequent email correspondence to same.




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     Date    Atty    Description                                                                                Ho1.1rs

  1/31/22   JLR      Receipt and review of email correspondence from Investor Victim, P.                           .25
                     Rosenbaum, requesting status update; Draft and send responsive email
                     correspondence to the same.

  1/31/22   JLR      Receipt of and listen to volcemail from Investor Victim, J. Okraskl, regarding need           .25
                     for repeat transmittal of email correspondence with Receivership information;
                     Return the call of sam e and send requested email corresl)ondence.

  1/31/22   PCL     Communicatiot1s with l<.Crawford,V. Northern, et al., regarding turnover funds                 .60
                    motion of S. Austin and related file review (.4); communications with I<. Crawford
                    and J. Okraski regarding case status (.2).

  2/01/22   JLR     Answer call from Investor Victim, M. Peden, regarding frustration with recovery                .25
                    of claim value and stay of Receivership; Interoffice conference with C. Morris to
                    assist in explaining the same to Investor Victim.

  2/01/22   JLR     Answer call from Investor Victim, M . Smith, requesting a status update as to the              .25
                    Receivership; Provide the same.

  2/01/22   JLR     Answer telephone call from Investor Victim, L. Minehart, requesting status                    .25
                    update as to his claim and the Receivership; Answer the same.

  2/02/22   JLR     Answer call from Investor Victim, B, Revere, to provide status update and several             .25
                    concerns related to the Receivership; Draft and send subsequent email
                    correspondence to the same providing copy of Complaint and Claim Calculation.

  2/02/22   JLR     Receipt of and listen to voicemail from Investor Victim, B. Buiskool; Return the              .25
                    call of same.

 2/04/22    JLR     Receipt of and listen to multiple voicemails from Investor Victim, I<. Schwab;                .25
                    Return the call of same; Draft and send subsequent mall to Investor providing
                    requested claim Information.

 2/04/22    PCL     Communications with D. Baer regarding property intruder Issue.                                .20

 2/07/22    PCL     Communications with K. Crawford regardin                                                      .30

 2/07/22    PCL     Communications with I<. Crawford regarding stay status inquiry strategy.                      .30

 2/08/22    JLR     Receipt and review of multiple email correspondences from Investor Victim,                    .25
                    Steve McCauley, regarding request for return of Claim monies.

 2/08/22    JLR     Answer coll from Investor Victim, C. Harris, regarding status of his and wife                 ,25
                    Investor, M. Harris, claim in the Receivership; Draft and send subsequent email
                    correspondence to C, Harris providing requested Complaint.

 2/08/22    JLR     Receipt of and listen to voicernail from Investor Victim, D. Grady, requesting                .25
                    status update and claim Information; Return the call of same.

 2/08/22    JLR     Receipt of and listen to voicemail from Investor Victim, B. Buiskool, regarding               ,25
                    status of the Receivership and her and her Investor Victim Mother's claim in the
                    Receivership; Return the call of same.


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     Date    Atty    Descriptibn                                                                                Hours

  2/08/22   JLR      Receipt of and listen to voicemall from Investor Victim, I(. Perry; Return the call           .25
                     of same.

  2/08/22   JLR      Receipt of and listen to voicernail from Investor Victim, E. Kay Beaver, regarding            ,25
                     the Receivership; Return the call of same.

  2/09/22   JLR     Answer call from Investor Victim, C. Harris, regarding resending of email                      ,25
                    correspondence with attached Complete; Draft and resend aforementioned
                    email to Investor.

  2/09/22   JLR     Receipt and review of email correspondence with attached from local retained                   .25
                    counsel, T. Sturgeon, providing copies of Order Dismissing Appeal and Civil
                    Docket in the Commonwealth of Kentucky involving Receivership Defendants.

  2/09/22   JLR     Receipt of and listen to voicemall from Investor Victihl, C. Savello, requesting              .25
                    status update regarding the Receivership; Return the call of the same. .

  2/09/22   JLR     Receipt of and listen to subsequent voicemails from Investor Victim, D. Grady,                ,25
                    requesting status update and Receivership claim information; Return the call of
                    same.

  2/09/22   JLR     Receipt of and listen to voicemail from Investor Victim, J. Siefker, requesting               .25
                    status update regarding the Receivership.

  2/09/22   JLR     Receipt of and listen to voicemail from Investor Victim, S. Palmer, regarding                 .25
                    Receivership questions; Return the call of same.

 2/09/22    PCL     Communications with K.Crawford regarding receipt of Morgan Stanley check.                     .20

 2/10/22    JLR     Receipt of and listen to voice mail from Investor Victim, A. Reibert, requesting              .25
                    status update; Return the call of same.

 2/10/22    JLR     Receipt of and listen to return voicemail from Investor Victim, J. Siefker,                   .25
                    requesting status update regarding the Receivership; Return the call of same.

 2/10/22    JLR     Return the call of Investor Victim, S. Palmer, regarding questions with his                   .25
                    Receivership claim and custodian Entrust.

 2/10/22    JLR     Answer return call from Investor Victim, S. Palmer, regarding claim value and                 .25
                    custodian Entrust Information; Interoffice conference with Receiver regarding
                    the same.

 2/11/22    JLR     Receipt and review of email correspondence from Investor Victim, D, Palmer,                  1.25
                    regarding Receivership claim and custodian document attachment; Interoffice
                    conference with J. Stafford regarding review of the attachment; Telephone
                    conference with J. Stafford and state of Montana regarding the same.

 2/11/22    JLR     Receipt of and listen to voicemall from Investor Victim, L. l<onseck, requesting              .25
                    status update as to the Receivership; Return the call of same.

 2/11/22    PCL     Review opinion dismissing broker lawsltit and related communications with                     .80
                    l<.Crawford .


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     Date   Atty    Description                                                                                Hours
  2/13/22   PCL     Continue review of J. Lindsay order dismissing brokers lawsuit.                               .60

  2/15/22   JLR     Receipt of and listen to voicemail from financial advisor, B. Scott, on behalf of             .25
                    Investor Victim, W. Heims, regarding acceptance of claim status; Research status
                    of respective Investor's claim; Return the call of same.

  2/15/22   JLR    Receipt of and listen to volcemail from Investor Victim, D, Neeley, requesting                 .25
                   status update; Return the call of same.

  2/15/22   PCL    Continue review of Broker Lawsuit and related communications with !<.Crawford.               1.30

  2/16/22   JLR    Receipt of and listen to voicemail from Investor Victim, M. McKinney, requesting               .25
                   Receivership status update; Return the call of same.

  2/16/22   JLR    Receipt of and listen to voicemail from Investor Victim, C. Harney, requesting                 .25
                   update on the Receivership; Return the call of same; Draft and send subsequent
                   email correspondence to same providing Receivership claim information.

  2/17/22   JLR    Answer call from Investor Victim, M. Peden, regarding Receivership Stay and hi~               .25
                   claim in the Receivership.

  2/17/22   JLR    Answer call from Investor Victim, D. Burch, regarding Receivership Status update.             .25

  2/17/22   JLR    Answer call from Lawyer, T. Moss, on behalf of Investor Victim, S. Palmer,                   1.00
                   regarding Receivership Claim and potential changes to the same; Receipt and
                   review of subsequent email from T. Moss regarding responsive custodian
                   information; Draft and send email correspondence to the same.

 2/17/22    JLR    Receipt of and listen to voice mail from Investor Victim, M. McKinney, regarding              .25
                   the Receivership; Return the call of same.

 2/17/22    JLR    Receipt of and listen to voicemail from Investor Victim, B. Garvin, regarding                 .25
                   status of the Receivership and his claim; Return the call of same.

 2/17/22    CAM    Receive and respond to investors regarding status of case, and discussions with              2.50
                   team members regarding status letter to go out and specifics on individual
                   investor Issues.

 2/18/22    JLR    Receipt and review of email correspondence from Investor Victim, R. Beatty,                   ,25
                   requesting status update; Draft and send responsive email to the same.

 2/18/22    CAM    Return investor calls regarding status of case (1); conference call with investor D.         1.70
                   Stcvcn!i regarding claim (.7).

 2/21/22    CAM    Receive and return phone calls from investors regarding status of case.                      1.20

 2/21/22    PCL    Communications with K. Crawford regarding motion for new trial issues and                     .80
                   related file research.

 2/22/22    PCL    Communications with I< Crawford regarding rights, claims, etc. issues and related             .60
                   file review as to motion for new trial.




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                                                                                          SCHEEF & STONE, LLP
                                                                                                                     '
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     Date   Atty    Description                                                                              Hours

  2/23/22   PCL     Communications with I<. Crawford regarding motion for new trial brief and                  1.20
                    related caselaw research.

  2/24/22   CAM    Receive and respond to investors' calls and emails, and work with several new               1.50
                   claimants in getting necessary information.

  2/24/22   PCL    Lengthy communicatloils with K. Crawford, J. Buffa, et. al., regarding response to          2.90
                   Judge Lindsay's sua sponte order dismissing the broker lawsuit and related
                   review of motion for new trial.

  2/25/22   CAM    Receive and respond to various Investors regarding status of the case and what             1.50
                   the stay h1eans.

  2/25/22   PCL    Review of motion for new trial and related research,                                       1.00

  2/27/22   PCL    Continued review of motion for new trial, related research and follow up                   1.50
                   communications with K. Crawford.

  2/28/22   KEW    Review Custodial Agreement with East West Bank regarding receivership                      1.50
                   account.

  Z/28/22   PCL    Continued review of motion for new trial, related research and follow up                   1.20
                   communications with K. Crawford.

  2/28/22   PCL    Communications with I<. Crawford regarding Motion for New Trial issues and                  .80
                   strategy aild related review, revisions and/or research.

 3/01/22    CAM    Return phone calls from investors related to their claim and notices received of           1.50
                   additional Investor who recently passed away.

 3/02/22    JLR    Receipt of and listen to voicemall from Investor Victim, S. Derby, regarding what           .25
                   a "stay" means; Return the call and answer same.

 3/02/22    JLR    Receipt of and listen to volcemail from Investor Victim, B. Ellison, requesting             .25
                   Receivership status update; Return the call of same.

 3/02/22    CAM    Receive and respond to investor emails and phone calls regarding status and                1.80
                   changes in contact information.

 3/03/22    CAM    Receive and respond to metals investors on claim information and case status.              1.80

 3/03/22    PCL    Review and revise Mot ion for New Trial, communications with I<. Crawford                  3.50
                   regarding same and related research/file review.

 3/03/22    DW     Researched whether                                                                         3.50


 3/04/22    CAM    Receive and respond to many metals investors with address changes and provide              1.20
                   general case status.




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                                                                                         SCHEEF & STONE, LLP
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     Date   Atty    Description                                                                          Ho1.1rs
  3/04/22    PCL   Review and revise Motion for New Trial, communications with K. Crawford                 2.00
                   and/or C.l(oonce regarding same and related research/file revlew(l.8);
                   communications with J.McClay, K. Crawford,D. Baer regarding Hunting Park
                   contract status(.2).

  3/05/22   PCL    Communications with K. Crawford and/or C. Koonce regarding motion for new                .90
                   trial and/or related ;·eview/research regarding same.

  3/07/22   JLR    Answer call from Investor Victim, M. Peden, regarding sale/loan of his Total             .25
                   Recommend Receivership Claim to third -party and incomine fax as to the same.

  3/07/22   PCL    Continue review and revisions to motion for new trial, related communications          1.80
                   with I<. Crawford and related research .

  3/07/22   PCL    Continue review and/or revise Motion for New Trial, related research and               2.20
                   communications with K. Crawford regarding same.

  3/07/22   ow     Review and revise the Motion for New Trial.                                            1.00

  3/08/22   JLR    Receipt and review of email correspondence from Investor Victim, L. Lalik,              .25
                   regarding confusion as to New Direction Trust Company and Receivership
                   metals; Draft and send responsive email to the same.

  3/08/22   JLR    Receipt of and listen to volcemall from Investor Victim, T. Case, regarding             .25
                   confusion over receipt of the Stay Letter; Return the call of same.

  3/10/22   JLR    Receipt of and listen to voicemall from Investor Victim, D. Burch, regarding            .25
                   Receivership Stay; Return the call of same and explain the stay.

  3/14/22   JLR    Receipt of and listen to voicemail from Investor Victim, T. Case, regarding             .25
                   correcting identified error in Claim; Return the call of same.

 3/16/22    JLR    Answer call from Investor Victim, M. Peden, regarding status of third-party             .25
                   Interested in purchasing his Receivership clam and requiring Information from
                   the Receiver; Interoffice conference with C. Morris regarding the same.

 3/16/22    CAM    Receive and respond to various emails and voicemails from investors on the             1.20
                   status of metals case.

 3/17/22    CAM    Receive and respond to newly added metals investors and provide status of case
                   to other investors.

 3/17/22    PCL    Communications with D. Baer regarding status of sale contract ·approval.                .20

 3/21/22    CAM    Receive and respond to investors regarding status of case, as well as spending          .80
                   time with two newly added investors who just learned of the case.

 3/22/22    CAM    Communicate with additional investors on status of case.                                .90

 3/23/22    JLR    Answer call from Investor Victim, D. Burch, to address frustration over                 .25
                   Receivership Stay Order; Address the same.




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                                                                                            SCHEEF & STONE, LLP
                                                                                                                       '
Invoice: 109213                                                                                          May 5, 2022


     Date    Atty    Description                                                                              Hours

  3/28/22   JSS      Telephone conference With L. Slaves (forensics expert) regarding transfer of data           .25
                     to physical drives .

  3/29/22   CAM      Review all newly added investors and organize same for entering into the                   2.00
                     Receiver's final claims report (.5); meet with L. Thompson on status of new
                     investor claims (.5).

  3/30/22   CAM     Review and input all added claims into database and receiver's final report detail         1.80
                    report (1.8).

  3/31/22   JSS     Draft Receiver's 7th Status Report to the California District Court.                         .25

  4/08/22   JLR     Answer call from Investor Victim, D. Burch, requesting status update as to                   .25
                    Receivership and address concerns over the length of the Court's stay.

  4/12/22   JLR     Receipt of and listen to voicernail from Investor Victim, I<. Tomshek, requesting           ,25
                    Receivership status for non-metals update; Return the call of same.

  4/12/22   JLR     Receipt of and listen to voicemail from Investor Victim, M. Peden, regarding                .25
                    question as to Receivership Claim value/confusion over market variability;
                    Return the call of same.

 4/12/22    JLR     Receipt of and listen to voicemail from Investor Victim, M. Hughes, regarding the           .25
                    Receivership status; Return the call of same and draft and send subsequent
                    email to Investor Victim.

 4/12/22    JLR     Interoffice conference with I<. Crawford regarding specifics of an Investor Victim          .25
                    Call, B. Hunt; Return the call of Investor Victim, B. Hunt, to answer withdrawal
                    questions.

 4/13/22    JLR     Receipt of and listen to voicemail from Investor Victim, R. Stearns, asking if she          .25
                    can sell her metals pending the Receivership; Return the coll of some.

 4/19/22    CAM     Receive and respond to Investors and the status of the metals case.                        1.20

 4/19/22    PCL     Communications wjth K.Crawford regarding motion for appointment of appraiser                .60
                    regarding Rosemar property and related case developments.

 4/19/22    PCL     Communications with K. Crawford regarding motion for leave order from                       .70
                    J.Llndsay, filing of notice of withdrawal of motion for leave as to 9 properties
                    and related file review.

 IJ/20/22   JLR     Receipt of and listen to voicemail from Investor Victim, D, Burch, requesting               .25
                    Receivership status update.

 4/20/22    CAM     Receive and respond to all investors who requested address updates and update              5.50
                    all databases (1.2); receive, review, analyze and enter six newly added investors
                    and forward claim calculations to the Investors and update the final reporting
                    numbers for all (4.5) .

 4/20/22    PCL     Communications with D.Baer, !<.Crawford regarding Rosemar property.                         .40




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                                                                                         SCHEEF & STONE, LLP

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     Date   Atty    Description                                                                               Hours

  4/20/22   PCL    Communications with I<. Crawford regarding show cause orders and related                     1.20
                   developments and related file and/or docket review.

  4/21/22   JLR    Receipt and review of email correspondences with K. Crawford and C. Morris                    .so
                   regarding Rosemar Receivership property and notice of the same; Interoffice
                   conference with C. Morris regarding the same.

  4/21/22   JLR    Receipt of and listen to voicemail from Investor Victim, M. Peden, requesting                 ,25
                   Receivership status update and questions; Return the call of same.

  4/21/22   JLR    Receipt of and listen to voicemail from Investor Victim, S. McCauley, regarding               .25
                   Receivership Claim; Return the call of same.

  4/21/22   CAM    Continue updating newly added investors who recently learned of the                         3,00
                   metals.com receivership and enter all data and forward claim calculations after
                   adding and updating reporting numbers (2.5); prepare Notice of Sale for
                   publication of the real property located at Rosemar in Philadelphia (.5).

  4/22/22   CAM    Emails to and from Philadelphia Inquirer regarding publishing notice of sale of             4.10
                   real property located on Rosemar in Philadelphia and arrange for publication for
                   April 25-27 (,8); review all calls on the Receiver's voicemall and return all that
                   have not been responded to and create log sheet of all callers (2.1); add
                   additional investor to the claims and update all spreadsheets, and prepare
                   calculations and update final totals and forward claim calculations to the investor
                   (1.2).

  4/22/22   PCL    Communications with K.Crawford regarding service of show cause order in BOA                  .20
                   litigation.

 4/25/22    JLR    Receipt and review of email correspondence from Investor Victim Couple, M.                   .25
                   and K. Smith, requesting Receivership update and distribution questions; Draft
                   and send responsive em all to the same.

 4/25/22    JLR    Receipt of and listen to voicemail from Investor Victim Couple, M. and K. Smith,             .25
                   regarding adding his wife to his Receivership claim; Return the call of same.

 4/25/22    JLR    Receipt of and listen to voicemaii from Investor Victim, T. Corum, regarding                 .25
                   Receivership status update; Return the call of same.

 4/25/22    JLR    Receipt of and listen to voicemail from Investor Victim, P. Porter, regarding                .25
                   Receivership questions; Send subsequent email correspondence to the same
                   with the attached requested stay letter.

 4/25/22    CAM    Review all final reporting numbers for Receiver's final report on added,                    4.10
                   amended, corrected claims and add all spreadsheets to come up with total
                   numbers of claim categories, and examine to find the source of numbers
                   discrepancies (3); follow-up with Investors on added claims ill metals.com
                   receivership and add to totals for reporting purposes (1.1).

 4/25/22    PCL    Communications with K. Crawford regarding case status and developments.                      .so


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       Date   Atty   Description                                                                                  Hours

    4/27/22   JLR    Answer call from Investor Victim, D. Burch, regarding the Receivership Stay lifting             .25
                     and providing new point of contact; Schedule follow-up call tomorrow 4/28.

    4/27/22   PCL    Communications with D. Baer and I<. Crawford regarding squatter in Chew                         .20
                     property and related utility bills issues.

    4/28/22   JLR    Answer call from Investor Victim, D. Burch, regarding new point of Receivership                 .25
                     contact.

    4/28/22   PCL    Communications with K. Crawford regarding Portfolio Insider counsel's                           .20
                     withdrawal motion.

    4/28/22   PCL    Conference call with D. Baer, K. Crawford, J. Mcclay regarding Philadelphia                   1.00
                     properties status and Issues.

    4/29/22   CAM    Contact PECO for real property located on Chew Avenue to have service canceled                2.10
                     due to squatters and report same to Receiver (,3); telephone call with G. Johnson
                     of the California Tax Department on their claim and the general status of case
                     (.2); telephone call with K. Kendall of CA Franchise Tax Board on their newly
                     added claim and add to the creditor database (.6); review utility bills received for
                     real propetty In Philadelphia and forward to L. Thompson for payment (.2);
                     receive and respond to investors regarding status of the case and where we go
                     from here (.8).

    4/29/22   PCL    Communications with K. Crawdord regarding Portfolio Insider counsel's                          .50
                     withdrawal motion and related file review.


                                    TOTAL PROFESSIONAL SERVICES                                             $156,622.75




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SUMMARY OF PROFESSIONAL SERVICES

Name                                          Hours        Rate                   Total

David Wills                                   57.90      225.00              13,027.50
Priya K. Jesani                                1.70      300.00                 510.00
Andrea Elizabeth Cook                         25.45      320.00               8,144.00
Walker S. Young                                2.80      265.00                 742.00
Becca Skupin                                   4.00      265.00               1,060.00
Mark Simon                                       .40     435.00                 174.00
Jessica L. Rolls                             108.25      225.00              24,356.25
Cynthia A. Morris                            303 .15     125.00              37,893.75
James Stafford                                 6.50      400.00               2,600.00
Katherine Whitlock                             1.50      225.00                 337.50
Alicia Echavarria                             34.75      125.00               4,343.75
Peter Lewis                                  143.60      440.00              63,184.00
Avi Steinberg                                  4.50       75.00                 337.50
Total                                        694.50                        $ 156,710.25




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                                                                                        SCHEEF & STONE, LLP

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COSTS ADVANCED

     Dat~   Description                                                                               Amount !
  7/27/21   Courier service (670) Special Delivery Service, Inc.                                        38.70
  7/28/21   Courier service, Special Delivery Service, Inc., 8/7/2021, 646416                          233.50
  8/02/21   Google suite subscription (bkc firm cc)                                                    252.00
  8/03/21   FedEx Delivery                                                                              23.88
  8/03/21   FedEx Delivery                                                                              61.82
  8/04/21   FedEx Delivery                                                                              21.60
  8/04/21   FedEx Delivery                                                                              14.28
  8/04/21   FedEx Delivery                                                                              14.28
  8/05/21   FedEx Delivery                                                                              14.28
  8/07/21   Microsoft - Monthly Subscription (bkc firm cc)                                             250.00
  8/09/21   FedEx Delivery                                                                              27.53
  8/12/21   FedEx Delivery                                                                              39.63
  8/13/21   FedEx Delivery                                                                              24.43
  8/13/21   FedEx Delivery                                                                              24.43
  8/13/21   FedEx Delivery                                                                              24.43
  8/13/21   FedEx Delivery                                                                              12.45
  8/13/21   FedEx Delivery                                                                              24.43
  8/13/21   FedEx Delivery                                                                              19.03
  8/13/21   FedEx Delivery                                                                              24.43
  8/13/21   FedEx Delivery                                                                              24.43
  8/13/21   FedEx Delivery                                                                              15.64
  8/13/21   FedEx Delivery                                                                              24.43
  8/13/21   FedEx Delivery                                                                              24.43
  8/13/21   FedEx Delivery                                                                              24.43
  8/13/21   FedEx Delivery                                                                              24.43
  8/13/21   FedEx Delivery                                                                              24.43
  8/13/21   FedEx Delivery                                                                              24.43
  8/13/21   FedEx Delivery                                                                              19.03
  8/13/21   FedEx Delivery                                                                              24.43
  8/13/21   FedEx Delivery                                                                              24.43
  8/13/21   FedEx Delivery                                                                              42.43
  8/13/21   FedEx Delivery                                                                              37.03
  8/13/21   FedEx Delivery                                                                              30.81
  8/13/21   FedEx Delivery                                                                              24.43
  8/13/21   FedEx Delivery                                                                              24.43
  8/13/21   FedEx Delivery                                                                              21.04
  8/13/21   FedEx Delivery                                                                              19.84
  8/16/21   FedEx Delivery                                                                              18.94
  8/16/21   FedEx Delivery                                                                              24.31
  8/16/21   Postage*                                                                                     1.02
  8/16/21   Postage*                                                                                     2.20
  8/17/21   FedEx Delivery                                                                              12.39
  8/18/21   FedEx Delivery                                                                              36.93




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     Date     IDescription                                                                                 Amount
  8/18/21     FedFx Oellvery                                                                                  34.08
  8/19/21     FedEx Delivery                                                                                 29.25
  8/19/21     Postage*                                                                                         .51
  8/20/21     Postage *                                                                                        .51
  8/23/21     Postage*                                                                                        8.25
  8/24/21     Document Services- EDD HOSTING, Computer Forensic Services,, 8/24/2021, 5064                  594.20
  8/25/21     FedEx Delivery                                                                                 42.52
  8/2 5/21    Filing fe e, Meter inspection for real prope r ty at 404 N. Wanamaker, Philadelphia,          100.00
              Morris/Cynthia, 08/25/2021, WE 082521 000137307
  8/26/21     BKC CC- Renewal: metals receiversh ip domain                                                   41.99
  8/26/21     Fed Ex Delivery                                                                                23.41
  8/27 /21    Courier service                                                                                27.25
  8/27 /21    FedEx Delivery                                                                                 23.88
  8/31/21    Filing fee, Meter re -inspection after repairs for real property at 404 N. Wanamaker,          100.00
             Philadelphia, Morris/Cynthia, 08/31/2021, WE 083121 000137308
 9/01/21     FedEx Delivery                                                                                  23 .31
 9/02/21     BKC CC- Online Storage Subscription JS3                                                        252.00
 9/02/21     FedEx Delivery                                                                                  29.12
 9/02/21     FedEx Delivery                                                                                  50.37
 9/03/21     FedEx Delivery                                                                                  39.97
 9/05/21     Document Services, Computer Forensic Services,, 9/5/2021, 5124                                 661.85
 9/05/21     Document Services, Data Hosting, 09/05/2021, 5124                                              661.85
 9/06/21     BKC CC- Rec_   u rring Microsoft Subcription for Metals                                        250.00
 9/10/21     Computerized legal research                                                                    122.70
 9/13/21     Renewal                                                                                         66.09
 9/13/21     Filing Clawbacks                                                                               402.00
 9/20/21     FedEx Delivery                                                                                  56.36
 9/30/21     Filing fee, Pacer Service Center, 10/10/2021, 2639662-Q32021                                     4.00
10/01/21     FedEx Delivery                                                                                 161.75
10/03/21     BKC CC - Onllne Storage Subscription JS3                                                       252.00
10/04/21     FedEx Delivery                                                                                  24.10
10/06/21     BKC CC · Recurring Microsoft Subscription for Metals                                           100.00
10/06/21     FedEx Delivery                                                                                  29.52
10/07/21     Bl<C CC - Recurring Microsoft Subscription for Metals                                          150.00
10/10/21     Document Services, 16125.102- Document Services, Computer Forensic Services,,                3,416.81
             10/10/2021, 5185
10/13/21     Compute rized legal research westlaw                                                           488.15
10/22/21     FedEx Delivery                                                                                  15.13
10/23/21     Document Services Pacer document search: 36 pages x ,10 ::: $3 .60                               3.60
11/01/21     Online Storage Subscription JS3 - (BKC Firm CC)                                                252.00
11/01/21     Document Services, Computer Forensic Services, Inc. Invoice 5245 11.01.2021,                   594.20
             Computer Forensic Services,, 11/01/2021, 5245
11/02/21     Postage*                                                                                           .53
11/04/21     Document Services Pacer document search : 163 pages x .10 = $16.30                              16.30
11/06/21     Recurring Microsoft Subscription - (BKC Firrn CC)                                              100.00
11/07/21     Recurring Microsoft Subscription for Metals - (Bl<C Firm CC)                                   150.00
11/09/21     Postage                                                                                          :t.06




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                                                                                          SCHEEF & STONE, LLP

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     Date   Description                                                                                Amount
 11/30/21   FedEx Delivery                                                                               15.30
 12/01/21   Online Storage Subscription JS3- BKC Firm CC                                                252.00
 12/05/21   Document Services, Computer Forensic Services, Inc., Computer Forensic Services,,           594.20
            12/05/2021,5291
 12/06/21   Recurring Microsoft Subscription for Metals - BKC Firm CC                                   250,00
 12/30/21   Document Services Pacer document search: 37 pages x .10 = $3.70                               3.70
 12/31/21   Filing fee, Pacer Service Center, 1/6/2022, 2639662-Q42021                                   15.00
  1/03/22   Document Services, Computer Forensic Services, Inc., Computer Forensic Services,,           729.51
            01/03/2022, 5337
  1/07/22   Dropbox Metals - KMC Firm CC                                                                127.79
  2/09/22   2 Courier service, Federal Express, 2/16/2022, 7-662-53829                                   38.48
  2/09/22   Courier service, Federal Express, 2/16/2022, 7-662-53829                                     31.92
  4/29/22   Courier service, Federal Express, 5/4/2022, 7-744-54608                                      25.60

                                      TOTAL COSTS ADVANCED                                         $13,179.59




                                                   APP00066
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                         Brown Fox PLLC
                         8l 'l 1 Preston Road, Suite 300
                         Dallas, Texas 75225
                         Phone: (214) 327-5000
                                                                                                      INVOICE
                         Fax: (214) 327-5001                                                                 Invoice 112680 I
                                                                                                            Date: 09/ I 0/2021



Kelly Crawford
Receiver
Scheef & Stone
500 North Akard Street, Suite 2700
Dallas, Texas 75201

Statement of Account




For professional fees and expenses incurred.

Kelly Crawford v. Walter Vera, et al.

Date          Initials         Description                                                 Hours          Rate        Totnl

08/12/2021    CCK              Continue drafting Receiver's Original Complaint               6.70    $425.00     $2,847.50
                               against Broker Defendants.

08/13/2021    CCK              Continue drafting and editing Receiver's Original             2.00    $425.00       $850.00
                               Complaint against Broker Defendants; brief
                               telephone conference with K. Crawford regarding

                               s I Illf
                                      ·esearch regarding
                           -       UFTA claims.

08/20/2021    CCK              Telephone conference with Receiver regarding                  0.20    $425.00        $85.00
                               facts for inclusion in Broker complaint and strategy
                               regarding same.

                                                                                      Quantity Subtotal                 8.9

                                                                                              Subtotal           $3,782.50


Bank of America Subpoena

Dute          Initials     Description                                                     Hours          Rnte       Total



                                                                                                           EXHIBIT

                                                                                                          C
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08/11/2021   CCT   Correspondence with receiver regarding additional          0.20      $405.00      $81,00
                   records needed from Bank of America;
                   correspondence with counsel to Bank of America
                   regarding same.

08/16/2021   CCT   Correspondence with counsel to BOA regarding               0.10      $405.00     $40,50
                   requested supplemental production;
                   correspondence with Receiver regarding same,

                                                                       Quantity Subtotal                0.3


                                                                                Subtotal           $121.50




                                                                            Hours Total                 9.2

                                                                               Subtotal           $3,904.00

                                                                                     Total        $3,904.00




                   Current Statement payable upon receipt and due within 30 days.

                                    Federal Tax ID XX-XXXXXXX
  Case 3:20-cv-02910-X Document 429 Filed 06/20/22                                  Page 69 of 99 PageID 7393
                         Brown Fox PLLC
                         8111 Preston Road, Suite 300
                         Dallas, Texas 75225
                         Phone: (214) 327-5000
                                                                                                   INVOICE
                         Fax: (214) 327-5001                                                              Invoice# 27235
                                                                                                         Date: 10/11/2021



Kelly Crawford
Receiver
Scheef & Stone
500 North Akard Street, Suite 2700
Dallas, Texas 75201

Statement of Account




For proress10na1 rees and expenses mcurred.

Metals.com and Barrick Capital Receivership

Date          Initials     Description                                                  Hours          Rate       Total

 09/16/2021   CCK          Telephone conference with Receiver regarding                   0.40    $425.00      $170.00
                           strategy related to discoveiy from and a lawsuit
                           against entity that received multiple millions of
                           dollars from the defendant entities and has operated
                           in concert with Defendants.

 09/23/2021   CCK          Strategy discussion with Receiver regarding                    0.20    $425.00       $85.00
                           persons and entities against whom claims may be
                           asserted regarding specific transfers and activities,
                           good faith basis for same, etc.

                                                                                   Quantity Subtotal                0.6


                                                                                            Subtotal           $255.00


Kelly Crawford v. Walter Vera, et al.

Date          Initials     Description                                                  Hours          Rate      Total

09/08/2021    CCT          Review working draft of complaint;                             0.40    $405.00      $162.00
                           correspondence with C. Koonce regarding same.




                                                      Pa_ge I of 4
                                                     APP00069
 Case 3:20-cv-02910-X Document 429 Filed 06/20/22                         Page 70 of 99 PageID 7394



 09/09/2021   CCK    Review Receiver's edits to draft Complaint and            3.60    $425.00   $1,530.00
                     further revisions to same; confer with Receiver
                     regarding remaining questions and information to
                     include; forward redline and clean version for
                     Receiver's review, with lengthy email regarding
                     adding detail.

09/09/2021    CCT    Conference with C. Koonce regarding working              0.40    $405.00     $162.00
                     draft of complaint; correspondence with Receiver
                     regarding same.

09/13/2021    CCK   Review edits and confer with Receiver regarding           1.20    $425.00     $510.00
                    strategy regarding


09/14/2021    CCK   Review filed Complaint [no charge]; confer with           0.20    $425.00      $85.00
                    Receiver regarding requesting reassignment from
                    Scholer's court to Lindsay's; calendar calling
                    chambers regarding reassignment if not done
                    automatically.

09/16/2021    CCK   Confer with Receiver regarding filing notice of           0.20    $425.00      $85.00
                    related case, status of summons, etc.; review and
                    revise notice of related case.

09/16/2021    CCT   Correspondence with C. Koonce regarding need for          0.20      $0.00       $0.00
                    certificate of interested persons, notice ofrelated
                    case, and issuance of summons; correspondence
                    with Receiver regarding same.

09/21/2021    CCK   Review and recommend change to cert of                    0.20    $425.00      $85.00
                    interested persons and provide status regarding
                    strategy for requesting reassignment.

09/21/2021    CCK   Telephone conference with counsel for Walter              1.10    $425.00    $467.50
                    Vera regarding request for discovery, negotiations/
                    factual contentions underlying fraudulent transfer
                    claim against his client, etc.; provide update
                    regarding same to Receiver.

09/22/2021    CCK   Call Judge Scholer's chambers regarding                   0.20    $425.00     $85.00
                    reassignment.

09/28/2021    CCK   Review email from counsel for Deric Ned                   0.40    $425.00    $170.00
                    defendants and schedule call; discuss case with
                    Ned's counsel and agree to waiver; confer with
                    Receiver regarding additional information.

09/29/2021    CCK   Review waivers of service for 3 defendants and            0.50    $425.00    $212.50
                    respond to attorney who requested them; email
                    Receiver regarding strategy for managing status of
                    each defendant, including discove1y and related




                                             Page 2 of 4
                                             APP00070
 Case 3:20-cv-02910-X Document 429 Filed 06/20/22                           Page 71 of 99 PageID 7395



                        matters; telephone conference with Receiver
                        regarding strategy related t

                                            respond to email regarding
                        same from Defendant's counsel.

                                                                           Quantity Subtotal                   8.6


                                                                                    Subtotal            $3,554.00


Bank of America Subpoena

Date         Initials   Description                                             Hours            Rate       Total

09/23/2021   CCT        Review order setting hearing on motions to show           0,30       $405,00      $121.50
                        cause; correspondence with Receiver regarding
                        same; correspondence with counsel to Bank of
                        America regarding same.

09/24/2021   CCT        Telephone conference with E. Moeller (counsel to          0,20       $405,00       $81.00
                        Bank of America) regarding order on show cause
                        motion; correspondence K. Crawford regarding
                        same.

09/29/2021   CCT        Review order setting show cause hearing;                  0.40      $405,00       $162.00
                        correspondence with Receiver regarding same;
                        correspondence wit.h E. Moeller regarding same;
                        conference with counsel regarding same.

                                                                           Quantity Subtotal                  0.9


                                                                                   Subtotal              $364.50




                                                                                Hours Total                  10.1

                                                                                   Subtotal             $4,173.50

                                                                                         Total          $4,173.50




                                                Page 3 of 4
                                                APP00071
  Case 3:20-cv-02910-X Document 429 Filed 06/20/22                                  Page 72 of 99 PageID 7396
                          Brown Fox PLLC
                          8111 Preston Road, Suite 300
                          Dallas, Texas 75225
                          Phone: (214) 327-5000
                                                                                                   INVOICE
                          Fax: (214) 327-5001                                                            Invoice# 27743
                                                                                                        Date: 11/09/2021



Kelly Crawford
Receiver
Scheef & Stone
500 North Akard Street, Suite 2700
Dallas, Texas 75201

Statement of Account




ru1 pw1c~~1u11a1 rne8   anu expenses incurred.

General Legal Advice

              Initials       Description                                                JIours         Rate      Total

 10/06/2021    CCT            Correspondence with Receiver regarding order                0.40    $405.00     $162.00
                              staying case and
                              L         F
                                                                                   Quantity Subtotal               0.4

                                                                                            Subtotal          $162.00


Metals.com and Barrick Capital Receivership

Date                        ·Description ..                                             Hours          Rate      Total

10/18/2021    CCK            Telephone conference with K. Crawford regarding              0.20    $425.00      $85.00
                             strategy for his reply in support of Motion to Show
                             Cause related to Portfolio Insider activities.

10/19/2021    CCK            Review Receiver's Motion to Show Cause and                   1.00    $425.00     $425.00
                             Response filed by Defendants in anticipation of
                             reviewing and editing Reply in Support of Motion
                             to Show Cause.
 Case 3:20-cv-02910-X Document 429 Filed 06/20/22                               Page 73 of 99 PageID 7397



 10/20/2021     CCK         Review and revise Receiver's Reply in Support of           1.00      $425.00      $425.00
                            Motion to Show Cause; telephone conference with
                            K. Crawford regarding same and strategy for
                            hearing.

                                                                               Quantity Subtotal                   2.2


                                                                                        Subtotal              $935.00


Kelly Crawford v. Walter Vera , et al.

Date            Initials   :Description                                              Hours           Rate       Total

 10/12/2021     CCK        Telephone conference with K. Crawrford regarding           0.20       $425.00       $85.00
                           recent orders in underlying case and strategy
                           regarding same.

 10/13/2021     CCK        Telephone conference with counsel for Kyle Sanna                      $425.00      $170.00
                           regarding his request to discuss settlement and
                           waiver ofse1vice.

                                                                               Quantity Subtotal                  0.6


                                                                                        Subtotal              $255.00


Bank of America Subpoena

Date          · Initials   Dllscription.                                            Hours            Rate       Total

10/04/2021     CCT         Correspondence with E. Moeller regarding show              0.20      $405.00        $81.00
                           cause hearing.

10/05/2021     CCT         Telephone conference with E. Moeller regarding             0.50      $405.00       $202.50
                           upcoming hearing on motions to show cause;
                           correspondence with Receiver regarding same.

                                                                               Quantity Subtotal                  0.7

                                                                                        Subtotal             $283.50




                                                                                    Hours Total                   3.9

                                                                                       Subtotal             $1,635.50

                                                                                             Total          $1,635.50




                                                   Pag_e 2 of3
                                                   APP00073
  Case 3:20-cv-02910-X Document 429 Filed 06/20/22                              Page 74 of 99 PageID 7398
                         Brown Fox PLLC
                         8111 Preston Road> Suite 300
                         Dallas, Texas 75225
                         Phone: (214) 327-5000
                                                                                                 INVOICE
                         Fax: (214) 327-5001                                                            Invoice# 28208
                                                                                                       Date: 12/09/2021



Kelly Crawford
Receiver
Scheef & Stone
500 North Akard Street, Suite 2700
Dallas, Texas 75201

Statement of Account




For protessional fees and expenses incurred.

Kelly Crawford v. Walter Vera, et al.

Date          Initials     Description                                              Hours            .Rate      Total

 11/10/2021    CCK         Telephone conference w/counsel for D, Ned                  0.40      $425.00      $170,00
                           regarding requested extension and related matters
                           in underlying lawsuit; confer with K. Crawford
                           regarding same, calculate deadline for service on
                           all defendants; and confer with D. Ned's counsel
                           regarding extension.

 11/11/2021   CCK          Email exchanges with counsel for D. Ned and                0.20      $425.00       $85,00
                           Receiver regarding prior settlement discussions,

 11/12/2021   CCK          Email exchanges with counsel for D, Ned                    0.20      $425.00       $85.00
                           regarding settlement.

                                                                               Quantity Subtotal                  0.8




                                                                                    Hours Total                   0.8

                                                                                       Subtotal              $340.00

                                                                                             Total           $340.00




                                                    Pag_e 1 of2
                                                     A~P00074
        Case 3:20-cv-02910-X Document 429 Filed 06/20/22                                      Page 75 of 99 PageID 7399
                                     Brown Fox PLLC
                                     8111 Preston Road, Suite 300
                                     Dallas, Texas 75225
                                     Phone: (214) 327-5000
                                                                                                            INVOICE
                                     Fax: (214) 327-5001                                                          Invoice # 28807
                                                                                                                 Date: 02/02/2022



 Kelly Crawford
 Receiver
 Scheef & Stone
 500 North Akard Street, Suite 2700
 Dallas, Texas 75201

 Statement of Account




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Kelly Crawford v. Walter Vera, et al.

   Date                   Initials     Description .                                             Hours          Rate      Total

       12/01/2021         CCK          Telephone conference with K. Crawford regarding             0.20     $425.00      $85,00
                                       preparing and filing motion to extend deadline to
                                       serve all defendants.

       12/03/2021         CCK          Draft motion for leave to file and motion for               0,80    $425.00     $340,00
                                       extension of time to serve all defendants; forward
                                       same to K. Crawford; confer with assistant
                                       regarding preparing draft orders.

       12/07/2021         CCK          Review PCL edits to motion for leave; emails                0.30    $425.00     $127.50
                                       regarding same and conform.

   12/13/2021             CCK          Brief review of K. Sana's answer.                           0.20    $425.00      $85.00
--·•    ,----· --------

   12/20/2021             CCK          Telephone conference with counsel for D. Ned                0,30    $425.00     $127.50
                                       regarding request for further extension to answer/
                                       respond; respond to email confirming same.

                                                                                            Quantity Subtotal               1.8




                                                                                                 Hours Total                1.8

                                                                                                    Subtotal           $765.00



                                                                 Page 1 of2
                                                                 APP00075
  Case 3:20-cv-02910-X Document 429 Filed 06/20/22                                   Page 76 of 99 PageID 7400
                             Brown Fox PLLC
                             8111 Preston Road, Suite 300
                             Dallas, Texas 75225
                             Phone: (214) 327-5000
                                                                                                 INVOICE
                             Fax: (214) 327-5001                                                      Invoice# 29292
                                                                                                     Date: 03/03/2022



Kelly Crawford
Receiver
Scheef & Stone
500 North Ncard Street, Suite 2700
Dallas, Texas 75201

Statement of Account




For   p1v1v~~1vuu11v1,:; uuu   t:xpenses mcurrea.

Kelly Crawford v. Walter Vera, et al.

Date             Initials.      Description                                            Hours       Rate       Total

 02/04/2022      CCK            Review email from counsel for D. Ned regarding           0.20   $435.00      $87.00
                                further extension to answer while underlying case
                                is stayed; confer with K. Crawford regarding same
                                and email D. Ned's counsel regarding agreement
                                that he answer 21 days after court lifts the stay.

02/10/2022       CCK            Review memorandum opinion and judgment                   0.50   $435.00    $217.50
                                dismissing claim; research regarding
                                rt       I
                                               I
                                                    II
                                                     f                 I•   11
                                telep one conference with K. Crawford regarding
                                strategy for addressing order and judgment.

02/11/2022       CCK            Research regarding                                       0.60   $435.00    $261.00

                                with K. Crawford regarding same; review appellate
                                timetable given impending Motion for New Trial.

02/14/2022      CCK             Telephone conference with K. Crawford regarding         0.80    $435,00    $348.00
                                strategy for challenging dismissal; research
                                regarding cases supporting various arguments in
                                support of same.




                                                         Pag_e 1 of 3
                                                         Al-'P00076
 Case 3:20-cv-02910-X Document 429 Filed 06/20/22                        Page 77 of 99 PageID 7401



02/15/2022   CCK   Begin drafting Motion for New Trial, building on             2.70       $435.00   $1,174.50
                   draft/outline provided by K. Crawford and confer
                   with K. Crawford regarding same; research
                   regarding authorities demonstrating ancillary
                   jurisdiction.

02/16/2022   CCK   Continue drafting Motion for New Trial, including           4.70        $435.00   $2,044.50
                   research for authorities regarding


02/17/2022   CCK   Continue drafting Motion for New Trial.                     2.00       $435.00      $870.00

02/18/2022   CCK   Confer with K. Crawford regarding discussion of             2.40       $435.00    $1,044.00
                   issues related to Underlying Lawsuit in Motion for
                   New Trial and continue drafting same; forward
                   draft to K. Crawford; conference with NAFER
                   board members regarding potential amicus brief in
                   support of motion for new trial.

02/20/2022   CCK   Review K. Crawford edits and continue drafting              3.10       $435.00    $1,348.50
                   Motion for New Trial.

02/21/2022   CCK   Conference with K. Crawford regarding latest                0.30       $435.00      $130.50
                   version of the Motion for New Trial and brief
                   review of same.

02/22/2022   CCK   Review edits received from K. Crawford and                  2.60       $435.00    $1,131.00
                   continue drafting Motion for New Trial adding
                   comments and additional authorities, particularly
                   addressing merits vs ripeness, Scholes discussion,
                   and evidence supporting fraudulent intent.

                                                                        Quantity Subtotal                 19.9




                                                                             Hours Total                  19.9

                                                                                 Subtotal            $8,656.50

                                                                                       Total         $8,656.50
  Case 3:20-cv-02910-X Document 429 Filed 06/20/22                                  Page 78 of 99 PageID 7402
                          Brown Fox PLLC
                          8111 Preston Road, Suite 300
                          Dallas, Texas 75225
                          Phone: (214) 327-5000
                                                                                                     INVOICE
                          Pax: (214) 327-5001                                                              Invoice# 29663
                                                                                                          Date: 04/06/2022



Kelly Crawford
Receiver
Scheef & Stone
500 North Akard Street, Suite 2700
Dallas, Texas 75201

Statement of Account




.t<or proress10na1 rees anct expenses mcurrect,

Kelly Crawford v. Walter Vera, et al.

Date           Initials      Description                                                Hours            Rate       Total

 03/06/2022    CCK           Review further edited Motion for New Trial, and              2.10       $435,00      $913.50
                             extensive edits to same; email conference with K,
                             Crawford regarding same,

 03/0712022    CCT           Review working draft of Motion for New Trial;                0,90      $405.00       $364.50
                             correspondence with Receiver and C, Koonce
                             regarding same.

 03/14/2022    CCK           Confer with K. Crawford regarding timing for                 0.30      $435.00      $130,50
                             court to rule on Motion for New Trial, and strategy
                             related to additional claims and stay in underlying
                             lawsuit.

                                                                                   Quantity Subtotal                  3.3




                                                                                        Hours Total                   3.3

                                                                                           Subtotal             $1,408.50

                                                                                                 Total          $1,408.50




                                                      Pa_ge 1 of2
                                                      APP00078
  Case 3:20-cv-02910-X Document 429 Filed 06/20/22                              Page 79 of 99 PageID 7403
                                         Brown Fox PLLC
                                         Billing Department
                                         8111 Preston Road, Suite 300
                                         Dallas, Texas 75225
                                         Telephone: 214-327-5000                               INVOICE
                                         Fax: 214-327-5001
                                                                                                     Invoice# 30033
                                                                                                    Date: 05/04/2022



Kelly Crawford
Receiver
Scheef & Stone
500 North Akard Street, Suite 2700
Dallas, Texas 75201

Statement of Account




For pro1ess1ona1 rees ana expenses mcurrect.

Metals.com and Barrick Capital Receivership

Date          Initials     Description                                              Hours          Rate      Total

 04/18/2022    CCT         Telephone conferences and correspondence with              0.90     $405,00    $364.50
                           Judge Lindsay's chambers regarding status of
                           receivership; telephone conferences with K.
                           Crawford and C. Koonce regarding same,

 04/19/2022   CCT          Telephone conferences with chambers regarding              0.50    $405.00     $202.50
                           pending motions; telephone conference with
                           Receiver regarding same; correspondence with
                           counsel to BOA regarding acceptance of service.

04/20/2022    CCT          Draft Notice of Acceptance of Service;                     0.90    $405.00     $364.50
                           correspondence with Receiver regarding same;
                           coordinate filing of same; correspondence with E.
                           Moeller regarding same; telephone conference with
                           chambers regarding status of receivership;
                           telephone conference with Receiver regarding
                           same.

04/22/2022    CCT          Telephone conference with chambers regarding               0.30    $405.00     $121.50
                           outstanding receivership issues.

                                                                               Quantity Subtotal               2.6




                                                    Pa_g_e 1 of3
                                                    APP00079
 Case 3:20-cv-02910-X Document 429 Filed 06/20/22                               Page 80 of 99 PageID 7404



                                                                                        Subtotal            $1,053.00


Kelly Crawford v. Walter Vera, et al.

Date         Initials   Description                                                 Hours            Rate       Total

04/18/2022   CCK        Telephone conference with C. Thomas and K.                    0.20      $435.00        $87.00
                        Crawford regarding status update and related
                        questions.

04/19/2022   CCK        Confer with C. Thomas and K. Crawford regarding               0.50      $435.00      $217.50

                                                                         and
                        research for additional authorities regarding same.

                                                                               Quantity Subtotal                  0.7


                                                                                        Subtotal             $304.50




                                                                                    Hours Total                   3.3

                                                                                       Subtotal             $1,357.50

                                                                                             Total          $1,357.50




                                                 Pag_e 2 of3
                                                  APP00080
     Case 3:20-cv-02910-X Document 429 Filed 06/20/22                   Page 81 of 99 PageID 7405




                                                            ATTORNEYS
                                               P.O. Box 70087
                                          Louisville, KY •I0270-0087
                                                 (502) 589-5400
                                             Fncsimllc (502) 581-1087
                                             www.frostbrowntodd .com
        Kelly Crnwford                                                                Fed # 61-072200 I
        500 North Akard Street, Suite 2700                                          September 14, 2021
        Dnllns, TX 75201                                                               Bill# 210230548
                                                                             Account# 0148401.0748198

 Reference: n/a
 RE: Local Counsel




               For Professional Services Rendered Through August 31, 2021                     2,966.00
                                    Other Charges Through August 31, 2021                       126.46

                                                        TOTAL THIS BJLL:                      3,092.46




All amounts arc in USO
Please st:nd remittance information to AccouutsReceivable@FBTLaw.com
Wire Transfer {nfonnation:
Account Name: Frost Brown Todd LLC
Bank Name: US Bank, 425 Walnut Street, Cincinnati, OH 45202
Account Number: 821609195 - Routing Number: 042000013 - Swift Number: USBKUS44IMT
                                                                                            EXHIBIT


                                                APP00081
                                                                                              Q
   Case 3:20-cv-02910-X Document 429 Filed 06/20/22                   Page 82 of 99 PageID 7406

 Account 0148401.0748198                                                                     Page 2



Date       Tmkr       Narrative                                                     Hours   Amount

08/25/21   GT         Participate in conference call re need to file receivership    1.00    550.00
                      and stay orders with Kentucky Court of Appeals; analyze
                      trial court draft of Notice of Receivership and Related
                      Stay and exhibits including complaint and multiple
                      orders; telephone conference with K. Morgan at
                      Kentucky Court of Appeals.

08/26/21   GT         Telephone conference with Court of Appeals staff;              1.20    660.00
                      telephone conference with J. Stafford and J. Roll re
                      filings suggested by Court of Appeals; revise draft trial
                      comt filing to reflect proper exhibits and for filing with
                      Court of Appeals.

08/27/21   ATS        Review and revise filings, corresponding with M.               0.50    192.50
                      O'Grady regarding same; circulate proposed filings to J.
                      Stafford and J. Rolls.

08/27/21   MCO        Prepare entry of appearance for G. Sumner and T.               0.80    200.00
                      Sturgeon then forward to G. Sumner for review.

08/27/21   MCO        Revise Notice of Receivership then forward to G.               0.40    100.00
                      Sumner for review.

08/27/21   MCO        Revisions to Notice of Receivership and Entry of               0.20     50.00
                      Appearance then forward to T. Sturgeon.

08/27/21   GT         Attention to further revisions to Notice of Receivership       0,60    330.00
                      and Stay; attention to Entry of Appearance; emails with
                      J. Stafford and J, Roll re same; confer with T. Sturgeon
                      re same.

08/30/21   ATS        Correspond with G. Terry Sumner regarding                      0.30    115.50
                      communications with adverse counsel; email M. Valenti
                      regarding scheduling call; participate on call with G.
                      Terry Sumner, J. Rolls, and J, Stafford regarding
                      upcoming calls; receive update from G. Terry Sumner
                      regarding call with Breetz and national counsel for New
                      Direction Trust.

08/30/21   GT         Communications with J. Stafford re conversations with          0.70   385.00
                      counsel for New Direction Trust; participate in
                      conference call with counsel for New Direction Trust re
                      filing of stay~related pleadings with appellate court;
                      attention to finalizing and filing Notice of Receivership
                      and Stay with Kentucky Court of Appeals.



                                             APP00082
   Case 3:20-cv-02910-X Document 429 Filed 06/20/22                    Page 83 of 99 PageID 7407

Account 0 148401.0748198                                                                           Page 3


Date       Tmkr          Narrative                                                      Hours    Amount

08/30/21   MCO          Email to S. Ayers with Notice of Receivership and Entry          0.30       75.00
                        of Appearance for filing with the Court.

08/31/21   ATS          Email M. Valenti with copies of the pleadings; review            0.80     308.00
                        voice mail from M. Valenti and forward same to J.
                        Stafford; respond to M. Valenti and schedule call;
                        participate on call with M. Valenti and J. Sheets, with M.
                        Valenti expressing potential objections; follow up call
                        with J. Sheets.

                                                                           Total:       6.80    $2,966.00

                                     ITEMIZED DISBURSEMENTS

Date           Descri~tion                                                                      Amount
08/31/21       Postage                            Postage                                          1.46

               TOTAL                                                                               $1.46

                                SUMMARIZED DISBURSEMENTS

Descri~tion                                                 Qty             Per Unit            Amount
Reproduction                                            1,020.00                0.10             102.00

Color Copies                                                50.00                0.30              15.00

Tabs                                                        40.00                0.20               8.00

               TOTAL                                                                             $125.00




                                              APP00083
    Case 3:20-cv-02910-X Document 429 Filed 06/20/22                        Page 84 of 99 PageID 7408




                                                              ATTORNEYS

                                                     P.O. Box 70087
                                               Louisville, KY 40270-0087
                                                     (502) 589-5400
                                                Facsimile (502) 581-1087
                                                www.frostbrowntodd.com
        Kelly Crawford                                                                    Fed# XX-XXXXXXX
        500 North Akard Street, Suite 2700                                                 October 14, 2021
        Dallas, TX 75201                                                                  Bill# 210237151
                                                                                 Account# 0148401.0748198

 Reference: n/a
 RE: Local Counsel




             For Professional Services Rendered Through September 30, 2021                          242.00
                                  Other Charges Through September 30, 2021                           13.21

                                                           TOTAL THIS BILL:                         255.21

 Outstanding Bills (see page 2 for details - if already paid please disregard)                    3,092.46

                                                     TOTAL AMOUNT DUE:                            3,347.67




All amounts are in USD
Please send remittance information to AccountsReceivable@FBTLaw.com
Wire Transfer Info1·mation:
Account Name: Frost Brown Todd LLC
Bank Name: US Battle, 425 Walnut Street, Cincinnati, OH 45202
Account Number: 821609195 -Routing Number: 042000013 -Swift Number: USBKUS44IMT
                                                                                                   Doc ID 21523




                                                   APP00084
   Case 3:20-cv-02910-X Document 429 Filed 06/20/22                   Page 85 of 99 PageID 7409

Account 0 148401.0748198                                                                     Page 3



Date       Tmkr       Narrative                                                    Hours   Amount

09/01/21   ATS        Update G. Terry Sumner re call with M. Valenti and            0.20      77.00
                      potential trajectories of arguments and briefing,
                      including considerations to present to co-counsel re trial
                      court and potential filings needed with trial court.

09/02/21   GT         Review order entered by Court of Appeals; emails with         0.30     165.00
                      J. Stafford re same.

                                                                          Total:   0.50    $242.00

                                  ITEMIZED DISBURSEMENTS

Date        Description                                                                    Amount
08/30/21    Next Day Air                         to Kate Morgan, Clerk, Kentucky             13.21
                                                 Court of Appeals

            TOTAL                                                                           $13.21




                                            APP00085
    Case 3:20-cv-02910-X Document 429 Filed 06/20/22                        Page 86 of 99 PageID 7410




                                                              ATTORNEYS
                                                    P.O. Box 70087
                                               Louisville, KY 40270-0087
                                                    (502) 589-5400
                                               Facsimile (502) 581-1087
                                                www.frostbrowntodd.com
        Kelly Crawford                                                                    Fed # XX-XXXXXXX
        500 North Akard Street, Suite 2700                                                December 9, 2021
        Dallas, TX 75201                                                                   Bill# 210249629
                                                                                 Account# 0148401.0748198

 Reference: n/a
 RE: Local Counsel




             For Professional Services Rendered Through November 30, 2021                           929.50

                                                           TOTAL THIS BILL:                         929.50

 Outstanding Bills (see page 2 for details - if already paid please disregard)                    3,347.67

                                                     TOTAL AMOUNT DUE:                            4,277.17




All amounts are in USD
Please send remittance information to AccountsReceivable@FBTLaw.com
Wire Transfer Information:
Account Name: Frost Brown Todd LLC
Bank Name: US Bank, 425 Walnut Street, Cincinnati, OH 45202
Account Number: 821609195 -Routing Number: 042000013 - Swift Number: USBKUS44IMT
                                                                                                  Doc ID 21523




                                                   APP00086
   Case 3:20-cv-02910-X Document 429 Filed 06/20/22                 Page 87 of 99 PageID 7411

Account 0148401.0748198                                                                    Page 3



Date       Tmkr      Narrative                                                   Hours   Amount

10/15/21   ATS       Review order denying stay; review prior order regarding      0.30    115.50
                     prehearing conference; discuss same with G. Terry
                     Sumner and forward copy of order to J. Stafford.

10/15/21   GT        Analyze order received from Court of Appeals; advise T.      0.20    110.00
                     Sturgeon re potential Motion for Reconsideration.

10/20/21   ATS       Discuss with G. Terry Sumner status of potential             0.20     77.00
                     response in appeal and/or trial court and reaching out to
                     J. Stafford regarding same.

10/20/21   GT        Analyze email from D. Welker at Court of Appeals re          0.50    275.00
                     scheduling prehearing conference; emails with J.
                     Stafford re same; email from B. Breetz re expected
                     settlement of case by co-defendant; emails with J.
                     Stafford re same.

10/21/21   GT        Emails and call with J. Stafford re whether to challenge     0.40    220.00
                     Court of Appeals refusal to stay appellate proceedings.

11/03/21   ATS       Review motion to dismiss appeal and forward same to J.       0.20     77.00
                     Stafford and J. Rolls.

11/03/21   GT        Analyze motion to dismiss appeal filed by appellant.         0.10     55,00

                                                                        Total:   1.90    $929.50




                                           APP00087
         Case 3:20-cv-02910-X Document 429 Filed 06/20/22                                 Page 88 of 99 PageID 7412
                                                                                                                    Invoice #7631

                                                                                                               Due: 10/21/2021
         ', ~ Ahuja & Clark, PLLC
               l_          CtrllOttl l'uhlk ,\ccouulunl•
         ,    _J      YnlfArcnmlt4,tsulw.u\'1l~   ,llt-ll"C uh..1mv1• /ro1
                                                                                                       Total: $1,208.33
   469-467-4660
   ddenison@ahujaclark.com                                                                                           Tax: $0.00
   2901 N. Dallas Parkway Ste, 320 Plano, TX 75093



   Invoice for Scheef & Stone, LLP
  Attention: Linda Thompson


  Please contact Deborah Denison for any queries about this invoice.



  Invoice Items


  Services                                                                                                                      Total

  Services rendered during Quarter 3: July 1, 2021 - September 30, 2021 for the preparation of the 2020 Form 1120        $
  _ SF                                                                                                                       1,208.33



  Work Detail

   Date: 07/06/2021

  Date              Subject I Description                                                  Owner       Hours      Rate       Amount

  07/06/2021        Review of documents                                                    Madhu A.    1h Om   $250.00       $250.00

                    Review documents received

  07/06/2021        Client Communication                                                   Divya S.    1h Om   $250.00       $250.00

                    Communication with client via email with detailed list of needed
                    documents to prepare 2020 tax return.

   Date: 07/14/2021

 Date               Subject I Description                                                 Owner        Hours      Rate   Amount

 07/14/2021         Follow up on Document Requests                                        Carolyn B.    30m    $250.00       $125.00

                    Follow up with Signature Bank and PayPal on court ordered documents
                    relating to accounts

   Date: 07/19/2021

 Date               Subject I Description                                                 Owner        Hours     Rate    Amount

 07/19/2021         Assisting In document collectlon                                      Carolyn B.    20m    $250.00        $83.33

                    Call and follow up email with Signature attorney to request account
                    documentation

   Date: 09/29/2021
                                                                                                                 EXHl81:T
I Date              Subject/ Description
                                                                             APP00088
                                                                                           Owner
                                                                                                                   E
    Case 3:20-cv-02910-X Document 429 Filed 06/20/22                              Page 89 of 99 PageID 7413

              Review of documents received from client and communication with client
              regarding the documents.



                                                                                       Sub-total    $1,208.33

                                                                                            Tax        $0.00

                                                                                         Total     $1,208.33




Please click on the link below to submit payment.


Credit Card   B(v,sA]'~~.~,O<SS~~




                                                       APP00089
       Case 3:20-cv-02910-X Document 429 Filed 06/20/22                                             Page 90 of 99 PageID 7414
                                                                                                                                   Invoice #7800
                                                                                                                        Created Date: 12/31/2021
       /,~).
          '\ Ahuja & Clark, PLLC                                                                                              Due: 01/21/2022
       ·i?         1..              Ccrtlfle<I l'ubllei\crounlunt•
       :,, ~ ·: > _- ·}     'n, & A««1Ulr.,•bi,lc.cJJ. \\lw.tki.t~J1"1lti(,o l~n\lfi~
              ,.

 469-467-4660                                                                                                     Total: $3,761.85
 ddenlson@ahujaclark.com
                                                                                                                                    Tax: $0.00
 2901 N. Dallas Parkway Ste. 320 Plano, TX 75093



 Invoice for Scheef & Stone, LLP
 Attention: Linda Thompson


 Please contact Deborah Denison for any queries about this invoice.



Invoice Items


Services                                                                                                                                     Total

Services rendered during Quarter 4 2021 for the preparation of the Kelly Crawford as a Receivership for TMTE &                          $3,702.09
Chase Metals Form 1120-SF



Expenses                                                                                                         Qty     Price Per Unit     Total

Certified Mail of 1120 SF                                                                                        1.00             $6.96     $6.96

Courier                                                                                                          1.00           $52,80     $52.80



Work Detail

  Date: 10/02/2021

Date                      Subject/ Description                                                      Owner          Hours         Rate     Amount ,

10/02/2021                Preparation                                                               Divya   s.    2h 33m      $250.00     $637.50

                          Preparation of Form 1120-SF, including organize source documents,
                          summarize assets received by the Receivership, break up K-1
                          investments for 6 K-1's, preparation of related schedules and forms.

 Date: 10/04/2021
                           •-•   -••-•••-•HS-•




Date                      Subject/ Description                                                       Owner         Hours         Rate     Amount

10/04/2021                Internal Discussion                                                        Dlvya S.           36m   $250.00     $150.00

                          Staff discussion regarding questions on Tower Equity LLC, Chase Metals
                          and TMTE Inc

 Date: 10/05/2021

Date                      Subject I Description                                                     Owner          Hours        Rate      Amount

10/05/2021                Preparation                                                               Divya   s.    3h 15m      $250.00     $812.50

                          Preparation of Form 1120-SF, including organize source documents, data
                          i~put, a_nd prepa~ation of_related schedules                  ~~W618oso
       Case 3:20-cv-02910-X Document 429 Filed 06/20/22                                Page 91 of 99 PageID 7415
 Date: 10/06/2021

Date         Subject/ Description                                                         Owner       Hours       Rate    Amount ·

10/06/2021   Preparation                                                                  Divya S.      46m     $250.00   $191.67

             Preparation of Form 1120-SF, including update data input for K-1 's and
             related schedules and forms.

 Date: 10/07/2021

Date         Subject/ Description                                                         Owner       Hours       Rate    Amount    i




10/07/2021   Review                                                                       Stella Y.     53m     $250.00   $220.83

             Review Form 1120-SF, including verifying source documents and amounts,
             review of schedules, and annotate review notes

 Date: 10/08/2021

Date         Subject/ Description                                                        Owner        Hours       Rate    Amount

10/08/2021   Review                                                                      Stella Y.    2h 30m    $250.00   $625.00

             Review Form 1120-SF, including verifying source documents and amounts,
             review of schedules, and annotate review notes. Verify tax return
             based off of review notes.

10/08/2021   Preparation                                                                 Divya S.       16m     $250.00    $66.67

             Clear review notes

 Date: 10/12/2021

Date         Subject/ Description                                            Owner                    Hours       Rate    Amount

10/12/2021   Review                                                          Madhu A.                 2h 30m    $250.00   $625.00

             Review Form 1120-SF, including verifying source documents and amounts,
             review of schedules, and notate review notes. Staff discussion
             regarding questions on Tower Equity LLC, Chase Metals and TMTE Inc

10/12/2021   Internal Discussion                                             Divya S.                   46m     $250.00   $191.67

             Staff discussion regarding questions on the preparation of federal and
             state returns.

10/12/2021   Internal Coordination                                           Jeanne-Marie B.            15m      $85.00    $21.25

             Staff coordination regarding extension filing.

10/12/2021   Tax return release                                              Stella Y.                  18m     $250,00    $75.00

             Release tax return

 Date: 10/13/2021

Date         Subject/ Description                                              Owner                   Hours      Rate    Amount

10/13/2021   Send Draft Return                                                 Jeanne-Marie B.          1h Om    $85.00    $85.00

             Sent mailing copy of 2020 federal tax return to Receiver for review and
             signature.



                                                              APP00091
    Case 3:20-cv-02910-X Document 429 Filed 06/20/22           Page 92 of 99 PageID 7416
                                                                   Sub-total     $3,761.85

                                                                        Tax          $0.00

                                                                     Total     $3,761.85




Credit Card   -~r
Please click on the link below to submit payment.


                    V/SAlffllll<lS,:;:j




                                                    APP00092
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                                                 Computer Forensic Services, Inc
                                                 2807 Allen St
                                                 Dallas, TX 75204
                                                 (214)306-6470x801
                                                 info@cfsiusa.com
                                                 http://www.cfsiusa.com




BILL TO                                                            INVOICE 5337
Scheat & Stone LLP
2600 Network Boulevard, Suite
400                                                                DATE 01/03/2022    TERMS Net 30
Frisco, TX 75034 USA
Metals
                                                                   DUE DATE 02/02/2022




DATE        ACTIVITY                                              QTY                 RATE       AMOUNT      ··

            12/10/2021
12/10/2021 CF Consultation/Meeting                               0:30                250.00      125.00T
           Call with CFTC and James. Metals. - Stephen
           Watson
            01/03/2022                                                                              - ---
01/03/2022 EDD-Hosting                                         15.683                35.00       548.91T
           EDD-Data Hosting Metals January


Federal Tax ID is #XX-XXXXXXX.                            SUBTOTAL                                673.91
                                                          TAX (8 .25%)                               55.60
                                                          TOTAL                                   729.51

                                                          TOTAL DUE                            $72~.51       '




                                                                                              EXHIBIT

                                                                                       I J=
                                               APP00093
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                                                     Computer Forensic Services, Inc
                                                     2807 Allen St
                                                     Dallas, TX 75204
                                                     (214)306-6470x801
                                                     info@cfsiusa.com
                                                     http://www.cfsiusa.com




      BILL TO                                                           INVOICE 5398 . · .                 · ·       ·        .
      Scheef & Stone LLP
      2600 Network Boulevard, Suite
      400                                                               DATE 02/04/2022 TERMS Net 30                     .
      Frisco, TX 75034 USA
      Metals
                                                                        DUE DATE 03/06/2022                                   .




      DATE       ACTIVITY         .   ,        '                       QTY                      RATE      AMOUNT'        ':
                 01/13/2022
  01/13/2022 CF Project Management:CF Project                          0:15                    150.00      37.50T
             Management
             Metals / Package ext hd's and prepare shipment
             with Chain of Custody to Jeremy Christianson
             via Fedex. Deliver package to FedEx for
             overnight delivery. Send Attorneys email update
             with shipping label. Project Management -
_______      S_um_m_er_A~ala, Inc ·-·--·-
-------      02/04/2022
      02/04/2022 EDD•Hosting                                      15.683                       35.00      548.91T
                 EDD-Data Hosting Metals Feb

     Federal Tax ID is #XX-XXXXXXX.                            SUBTOTAL                                    586.41
                                                               TAX (8.25%)                                  48.38
                                                               TOTAL                                       634.79
                                                                                                                 ,        .

                                                               TOTAL DUE               '   ,            $634.1:~ · ·.




                                                   APP00094
   Case 3:20-cv-02910-X Document 429 Filed 06/20/22                          Page 95 of 99 PageID 7419

                                                    Computer Forensic Services, Inc
                                                    2807 Allen St
                                                    Dallas, TX 75204
                                                    (214 )306-64 70x801
                                                    info@cfsiusa.com
                                                    http://www.cfsiusa.com




BILL TO
Scheef & Stone LLP
2600 Network Boulevard, Suite
400                                                                   DATE 03/03/2022 TERMS Net 30                             ,
Frisco, TX 75034 USA

                                                                      DUE DATE 04/02/2022                            .              0




DATE       ACTIVITY                .        .   .                   QTY      .             ·. RATE        . · ·.AMOUNT·:,··~:{

02/03/2022 EDD-Hosting                                            15.683                     35.00            548.91T
           EDD-Data Ho1>J!Qg Metals March


Federal Tax ID is #XX-XXXXXXX.                                SUBTOTAL                                          548.91
                                                              TAX (8.25%)                                        45.29
                                                              TOTAL                                             594,20

                                                              TOTAL DUE          .   . .       ·     ·:    $594.20_· . . ·-,~-
                                                                                                                           .   ,,




                                                APP00095
         Case 3:20-cv-02910-X Document 429 Filed 06/20/22                               Page 96 of 99 PageID 7420

                                                              Computer Forensic Services, Inc
                                                              2807 Allen St
                                                              Dallas, TX 75204
                                                              (214 )306-64 70x801
                                                              info@cfsiusa.com
                                                              http://www.cfsiusa.com




      BILL TO                                                                      INVOICE 5523 . · .                                               -
      Scheef & Stone LLP
      2600 Network Boulevard, Suite
      400                                                                         DATE 04/06/2022 TERMS Net 30                              ~   _
      Frisco, TX 75034 USA
      Metals
                                                                                  DUE DATE- 05/06/2022
                                                                                                - --   -        -
                                                                                                                    .   -
                                                                                                                                  ·        --   -   ~




                                                                                                                             .'                     .
      DATE       ACTIVITY      '                                        . ·      QTY           ..      ·RATE.               AMOUNT .·:-~


     03/28/2022 EDD-Management                                                   1:00                 250.00                250.00T
                Metals - Archive Disco Database to Server.
                Download Productions. Transfer/store onto
                backup drive. (106GB Project Manager -
   _ _ _ _ _S_u_m_m_e_r_A}'ala, Inc _____
                 04/01/2022
--------'--'----'----'-----        ------·--·-----------------·------·-----·---- ·-··-----------------------------·------ .. -        ..

      04/01/2022 EDD-Hosting                                                  15.683                   35.00                548.91T
                 EDD-Data Hosting Metals April

     Federal Tax ID is #XX-XXXXXXX.                                      SUBTOTAL                                            798.91
                                                                         TAX (8.25%)                                          65.91
                                                                         TOTAL                                               864.82




                                                            APP00096
   Case 3:20-cv-02910-X Document 429 Filed 06/20/22                   Page 97 of 99 PageID 7421



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                        §
  U.S. COMMODITY FUTURES TRADING                        §
  COMMISSION, et al.                                    §
                                                        §
                        Plaintiffs,                     §
                                                        §             CIVIL ACTION NO.
     v.                                                 §               3:20-CV-2910-L
                                                        §
  TMTE, INC. a/Ida METALS.COM, CHASE                    §
  METALS, INC., CHASE METALS, LLC,                      §
  BARRICK CAPITAL, INC., LUCAS THOMAS                   §
  ERB a/Ida LUCAS ASHER a/Ida LUKE ASHER,               §
  and SIMON BATASHVILI,                                 §
                                                        §
                        Defendants,                     §
                                                        §
  TOWER EQUITY, LLC,                                    §
                                                        §
                        Relief Defendant.               §
                                                        §

                   DECLARATION OF RECEIVER KELLY                    M. CRAWFORD

          My name is Kelly M. Crawford, I am over 18 years of age, have never been convicted

  of any crime involving moral turpitude and I am fully competent to make this Declaration.

          l.    I am the Receiver appointed by this Court by an Order Granting Plaintiffs'

 Emergency Ex Parte Motion for Statuto,y Restraining Order, Appointment of Receiver, and

  Other Equitable Relief (the "SRO'1 entered on September 22, 2020 in the case styled above

 and I have personal knowledge of each of the facts stated below.

          2.    I reviewed the invoices for my fees billed for the period from July 26, 2021 through

 April 30, 2022. My standard hourly rate increased from $450 to $490, but I am continuing to bill

 the receivership at my discounted rate of $390 - a discount of more than 20 percent from my


DECLARATION OF RECEIVER KELLY M. CRAWFORD                                                    Page 1
                                                                           EXHIBIT

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  standard rate For the time period of July 26, 2021 through April 30, 2022, I further discounted my

  fees by 20%. This resulted in a discount of more than 40% from my standard hourly rate.

          3.        I reviewed the invoices from Scheef & Stone for the legal fees charged for the

  period from July 26, 2021 through April 30, 2022. I discounted the fees by 15%, which reduced

  the blended hourly rate to $ I 50 and reduced the fees billed to the estate by Scheef & Stone by

  more than $23,000.

         4.     The total fees charged to the receivership estate for the period from July 26, 2021

  through April 30, 2022 were for work allocated as follows:

                •      Claims Handling (25%)

                •      Claims Against Salespersons to Recover Commissions (25%)

                •      Contempt Actions Against the Defendants (22%)

                •      Sale of Philadelphia Properties (10%)

                •     Investigate Claims Against Carlos Cruz (5%)

                •     General receivership issues (5%)

                •     IRS/tax issues (2%)

                •     Accounting/records (2%)

                •     Actions in Other States (2%)

                •     Recovery of Other Assets (1 %)

                •     Investigate Source of Retainer Paid to Defendant's Counsel (1%)

         5.     Due to the stay of the case, neither Scheef & Stone, my ancillary counsel nor I have

                received payment for any services provided to the receivership since July 26, 2022.




DECLARATION OF RECEIVER KELLY M. CRAWFORD                                                         Page2


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           6.       I declare under penalty of pe1jury that the foregoing is trne and correct and is within

   my personal knowledge.


  Dated:        June, 2022




DECLARATION OF RECEIVER KELLY M. CRAWFORD                                                          Page3


                                                 APP00099
